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27                 LOS ANGELES COUNTY / HARBOR-UCLA MEDICAL CENTER
28                         PROFESSIONAL STAFF ASSOCIATION
29                                      BYLAWS
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55                            Revised and approved: March 16, 2016
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57                 LOS ANGELES COUNTY / HARBOR-UCLA MEDICAL CENTER
58                      PROFESSIONAL STAFF ASSOCIATION BYLAWS
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66                                                  PREAMBLE
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68   .
69
70   These Bylaws are adopted in order to provide for the organization of the medical staff of Los Angeles
71   County Harbor/UCLA Medical Center and to provide a framework for self-government in order to permit
72   the medical staff to discharge its responsibilities in matters involving the quality of medical care, and to
73   govern the orderly resolution of those purposes, subject to the ultimate authority of the Hospital Governing
74   Body. These bylaws provide the professional and legal structure for medical staff operations, organized
75   medical staff relations with the Governing Body, and relations with applicants to and members of the
76   medical staff.
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 78                                         DEFINITIONS
 79
 80   1.    2113-CERTIFIED PHYSICIAN means a physician who has been granted a
 81         Section 2113 certificate by the State of California.
 82
 83   2.    ADMINISTRATIVE RESIDENT means a resident who has successfully completed
 84         his/her residency program and is working an additional year in an administrative
 85         capacity.
 86
 87   3.    ALLIED HEALTH PROFESSIONAL means an advanced practice provider, other
 88         than a physician, podiatrist, dentist, or clinical psychologist, who exercises
 89         independent judgment within the areas of his/her professional competence and
 90         the limits established by the department, Association, and applicable law; who is
 91         qualified to render direct or indirect patient care under the supervision of an
 92         Association member; and who is licensed and has been accorded privileges, or
 93         works under standardized procedures, to provide such care in the Medical Center.
 94
 95   4.    ASSOCIATE MEDICAL DIRECTOR means an individual appointed by the Chief
 96         Medical Officer who reports to the Chief Medical Officer and whose position in the
 97         Medical Center is to assist the Chief Medical Officer in providing administrative
 98         support for the Association.
 99
100   5.    ASSOCIATION means the formal organization of licensed or Section 2113
101         certified physicians, dentists, podiatrists, and clinical psychologists at the Medical
102         Center which is known formally as the Professional Staff Association of the Los
103         Angeles County Harbor-UCLA Medical Center.
104
105   6.    ASSOCIATION YEAR means the period from the first day of July to the last day of
106         June, inclusive.
107
108   7.    CHIEF EXECUTIVE OFFICER or ADMINISTRATOR means the person, whose
109         title is Chief Executive Officer, appointed by the Governing Body to act on behalf
110         of the Governing Body in the overall management of the Medical Center.
111
112   8.    CHIEF MEDICAL OFFICER means the physician, whose title is Chief Medical
113         Officer, appointed by the Director with concurrence of the Dean of the UCLA
114         School of Medicine.
115
116   9.    CHIEF MEDICAL OFFICER OF HEALTH SERVICES means the person, whose
117         title is Chief Medical Officer of the Department of Health Services.
118
119   10.   CHIEF NURSING OFFICER means the nurse, whose title is Chief Nursing Officer,
120         appointed by the Hospital Chief Executive Officer.
121
122   11.   CLINICAL PRIVILEGES or PRIVILEGES means the permission granted to a
123         practitioner or allied health professional to render specific diagnostic, therapeutic,
124         medical, dental, podiatric, surgical, or clinical psychological services at the
125         Medical Center.
126




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127   12.    CLINICAL PSYCHOLOGIST means an individual who holds a doctoral degree in
128          psychology conferred by an approved school and who is licensed to practice
129          clinical psychology in the State of California.
130
131   13.    COUNTY means Los Angeles County unless otherwise stated.
132
133   14,    COUNTY CIVIL SERVICE CLASSIFIED EMPLOYEE means an individual serving
134          Los Angeles County with compensation by Los Angeles County.
135
136   15.    COUNTY CIVIL SERVICE UNCLASSIFIED EMPLOYEE means an individual
137          serving Los Angeles County without compensation by Los Angeles County.
138
139   16.    DAY(S) means calendar day(s) and not business or working day(s), unless
140          otherwise indicated.
141
142   17.    DENTIST means an individual who is a graduate of an approved school of
143          dentistry and who is licensed to practice dentistry in the State of California or who
144          has been granted a special permit by the Dental Board of California.
145
146   18.    DEPARTMENT means an administrative unit representing a medical specialty
147          recognized by the American Board of Medical Specialties and granted
148          departmental status under these bylaws. These usually correspond to similar
149          Professional School departments. A department may include one (1) or more
150          divisions. Chair of the Department refers to the role approved by the Executive
151          Committee to fulfill the duties of chair as designated in these bylaws.
152
153   19.    DIRECTOR means the Director of the Los Angeles County Department of Health
154          Services who serves as the administrator of the Department of Health Services
155          and its hospitals, including the Medical Center.
156
157   20.    DIVISION means a subdivision of a department which may or may not be
158          recognized as a subspecialty by the American Board of Medical Specialties.
159
160   21.    EXECUTIVE COMMITTEE means the Executive Committee of the Association as
161          described in these bylaws.
162
163   22.    EX-OFFICIO means a person who is entitled by these bylaws to a position on a
164          committee, for as long as he or she holds a certain office, and shall not have
165          voting rights, except as otherwise provided by these bylaws.
166
167   23.    GOVERNING BODY means the Board of Supervisors of Los Angeles County
168
169   24.    HOSPITAL or MEDICAL CENTER means the Los Angeles County Harbor-UCLA
170          Medical Center (or Harbor-UCLA Medical Center) including all inpatient and
171          outpatient locations, clinics, associated health centers and services operated
172          under the auspices of the Medical Center’s license.
173
174   .25.   IN GOOD STANDING means a member is currently not under suspension or
175          serving with any limitation of voting or other prerogatives imposed by operation of
176          the bylaws, rules and regulations or policy of the Association.
177


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178   26.   LIMITED LICENSE PRACTITIONERS means dentists, clinical psychologists, and
179         podiatrists.
180
181   27.   MEMBER means, unless otherwise expressly limited, any physician, dentist,
182         podiatrist or clinical psychologist holding a current license to practice within the
183         scope of that license who is a member of the Association.
184
185   28.   NOTICE shall be (1) in writing, properly sealed, and through the United States
186         Postal Service, first-class postage prepaid, (2) by electronic mail; or (3) posted on
187         a website dedicated to communications with Association members.
188
189   29.   PHYSICIAN means an individual who is a graduate of an approved school of
190         medicine or osteopathy and who is licensed or certified under Business and
191         Professions Code Section 2113 to practice medicine in the State of California.
192
193   30.   PODIATRIST means an individual who holds a D.P.M. degree conferred by an
194         approved school of podiatric medicine and who is licensed to practice podiatry in
195         the State of California.
196
197   31.   PRACTITIONER means, unless otherwise expressly limited, any physician,
198         dentist, podiatrist, or clinical psychologist who is applying for or exercising clinical
199         privileges in the Medical Center.
200
201   32.   PRESIDENT means the President of the Association who, as chief officer of the
202         Association elected by members of the Association, serves as chief of staff.
203
204   33.   PROFESSIONAL SCHOOL(S) means the Schools of Medicine and/or Dentistry of
205         the University of California at Los Angeles.
206
207   34.   SPECIAL NOTICE shall be in writing and delivered by personal delivery with an
208         acknowledgment of receipt or by certified mail, return receipt requested.
209
210   35.   WRITING means any recorded information, regardless of medium or format; i.e.,
211         written, audio, visual, electronic, etc.
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213                                                   ARTICLE I
214
215                                                     NAME
216
217   The name of this organization shall be the Professional Staff Association of the Los
218   Angeles County Harbor-UCLA Medical Center.
219
220
221                                                   ARTICLE II
222
223                                               MEMBERSHIP
224
225   2.1 NATURE OF MEMBERSHIP
226
227   2.1-1 Eligibility: Membership in the Association is a privilege which shall be extended
228       only to professionally competent and licensed or 2113-certified practitioners who
229       continuously meet the qualifications, standards and requirements set forth in these
230       bylaws. No practitioner, including those in a medical administrative position by virtue
231       of a contract with the Medical Center, shall admit or provide medical or health-related
232       services to patients in the Medical Center unless the practitioner is a member of the
233       Association or has been granted temporary privileges in accordance with the
234       procedures set forth in these bylaws.
235
236   2.1-2 Membership Distinction: Membership in the Association is separate and distinct
237       from any individually granted clinical privileges, and Association membership shall
238       not automatically confer any clinical privileges.
239
240   2.1-3 Employees: Practitioners employed by the Medical Center in a purely
241       administrative capacity with no clinical duties are subject to the regular personnel
242       policies of the Medical Center and need not become members of the Association.
243       Practitioners employed by the Medical Center whose duties include clinical
244       responsibilities or functions involving their professional capabilities must apply for
245       membership in the Association and the appropriate clinical privileges. Persons in
246       medico-administrative positions who desire Association membership and/or
247       privileges are subject to the same requirements as all other applicants for
248       Association membership or privileges.
249
250   2.1-4 Non-Eligibility: Interns or residents enrolled in a core specialty residency
251       program, allied health professionals, and students shall not be eligible for
252       membership in the Association. Core specialty residency training does not include
253       subspecialty training as Fellows or appointment as administrative residents as
254       defined in these bylaws.
255
256   2.1-5 Post-Graduate Physician Trainees: In accordance with these bylaws, a post-
257       graduate physician trainee (administrative resident, fellow), who is employed at the
258       Medical Center as a County Civil Service employee, whether classified or
259       unclassified, to provide health services as a licensed independent practitioner
260       outside of his or her training program, may apply for Association membership,
261       provided that the Association membership and clinical privileges of such person shall
262       automatically terminate on the date of termination of his or her training program and
263       such person shall not be entitled to a hearing and appellate review under Article VII,


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264      provided that the practitioner may retain his/her Association membership and clinical
265      privileges, with change in category of membership if requested in writing to the
266      Executive Committee by the chair of the practitioner’s department and with
267      concurrence of the practitioner prior to the termination of the contract.
268
269   2.1-6 Determination of Need
270
271      Medical practice at the Medical Center is different than community hospital practice,
272      with Association members generally assigned Medical Center patients, rather than
273      treating patients from their individual, private practices at the Medical Center. For this
274      and other practice reasons applicable to the Medical Center, there are times when
275      there is no need for additional practitioners in certain fields and with certain skills and
276      talents. Processing applications for membership and privileges for applicants for
277      which there is no need is an unnecessary drain on medical staff resources.
278
279           2.1-6.1 Closing Applications.
280
281              If a determination is made under this Section 2.1-6, the Executive
282              Committee may decline to accept application for Association membership
283              and/or clinical privileges, notifying prospective applicants of the lack of need.
284
285           2.1-6.2 Process.
286
287              Department Chair may notify the Executive Committee of their belief that no
288              need exists for further practitioners in a certain field of practice in their
289              Department. The Executive Committee, in cooperation with the Chief
290              Medical Officer and the Medical Center Chief Executive Officer may
291              commission an evaluation of need for such services for the next twelve
292              month period. If that evaluation demonstrates a lack of need, the matter may
293              be presented to the Executive Committee for decision. Any person may
294              appear at the Executive Committee session where this is to be considered to
295              provide their view as to need.
296
297           2.1-6-3 Duration of Closing and Termination.
298
299              Any decision to decline to accept applications based on need shall expire
300              automatically at the end of twelve months from such decision. The decision
301              may thereafter be renewed using the same process as the initial decision.
302              The executive committee may, at any properly noticed special or any regular
303              session, vote by simple majority to terminate the decision to not accept
304              applications.
305
306           2.1-6.4 No Hearings.
307
308              The decision to not accept applications based on need is a quasi-legislative
309              action of the Executive Committee. It is not a decision based on any medical
310              disciplinary cause or reason. Potential applicants are not denied based on
311              any element of their application, qualities or qualifications. For these
312              reasons, no hearing rights under the Hearing and Appellate Review
313              Procedures of Article VII of these Bylaws applies to any person who is
314              denied an application based on need.


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315
316   2.1-7 Contracted Practitioners: Contract with County or Non-County Entity:
317       Notwithstanding any other provision of these bylaws, the Association membership
318       and clinical privileges of any practitioner who has any contract with the County to
319       provide health services at the Medical Center, or who provides health services at the
320       Medical Center under the contract of a non-County entity, unless a change in
321       category is requested and granted, shall automatically terminate on the date of
322       expiration or termination of such contract, and the practitioner shall not be entitled to
323       a hearing and appellate review under Article VII.
324
325




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326   2.2 QUALIFICATIONS FOR MEMBERSHIP
327
328   2.2-1 Basic Requirements: Membership and clinical privileges shall be granted,
329       revoked or otherwise restricted or modified based only on professional training,
330       current experience and current competence criteria as set forth in these bylaws.
331
332   2.2-2 Qualifications: Except for members of the Honorary Staff, in which case these
333       criteria shall only apply as deemed individually applicable by the Association, only
334       practitioners licensed to practice in the State of California or certified under Business
335       and Professions Code Section 2113 who
336
337             2.2-2.1 can document the following:
338
339                  2.2-2.1-a their background;
340                  2.2-2.1-b their current California licensure or Section 2113 certification;
341                  2.2-2.1-c their adequate experience, education, and training;
342                  2.2-2.1-d their current Drug Enforcement Administration certification, if
343                      applicable;
344                  2.2-2.1-e their current professional competence and good judgment;
345                  2.2-2.1-f their current adequate physical and mental health status,;
346                  2.2-2.1-g possession of insurance coverage as indicated in Article XVII, if
347                      applicable; and
348                  2.2-2.1-h their status as not excluded or suspended as a provider of
349                      services to Medicare, Medi-Cal or other federally-reimbursed health
350                      services programs
351
352                 with sufficient adequacy to demonstrate to and assure the Association and
353                 the Governing Body that they are professionally competent and qualified
354                 and that any patient treated by them in the Medical Center can reasonably
355                 expect to receive quality medical care;
356
357             2.2-2.2 are determined to adhere to the ethics of their profession, to maintain
358                 a good reputation, to be able to work cooperatively with others so as not to
359                 adversely affect patient care, and to keep as confidential, as required by
360                 law, all information or records received in the physician-patient
361                 relationship; and
362
363
364             2.2-2.3 except for clinical psychologists and dentists practicing general
365                 dentistry only, practitioners shall have graduated from a residency training
366                 program accredited by the Accreditation Council on Graduate Medical
367                 Education and/or the Commission on Dental Accreditation and, at the time
368                 of initial appointment, be certified by a specialty board that is under the
369                 purview of the American Board of Medical Specialties or be determined to
370                 possess the equivalent qualifications from another country or be an active
371                 specialty board candidate and have the recommendation of their
372                 department chair for such status, provided that this requirement will not be
373                 applied to persons employed by the County as Civil Service employees on
374                 an hourly basis
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376      shall be qualified for membership in the Association. Persons not fulfilling the third
377      requirement, including, without limitation, board certification, may apply for special
378      consideration and must demonstrate that their education, training, experience,
379      demonstrated ability, judgment and medical skills are equivalent to or greater than
380      the level of proficiency evidenced by this requirement and otherwise meet the
381      requirements of Association membership.
382
383      Medical staff membership or clinical privileges shall not be conditioned or determined
384      on the basis of an individual’s participation or non-participation in a particular medical
385      group, surgery center, or other outpatient service facility, IPA, PPO, PHO, hospital-
386      sponsored foundation, or other organization or in contracts with a third party which
387      contracts with this hospital. Association membership or clinical privileges shall not be
388      revoked, denied, or otherwise infringed upon based on the member’s professional or
389      business interests.
390
391   2.2-3 Nondiscrimination: No applicant shall be denied Association membership or
392       clinical privileges on the basis of age, gender, race, color, religion, ancestry, national
393       origin, creed, disability, physical or mental impairment, marital status, sexual
394       orientation, or any other criterion other than professional qualifications that do not
395       pose a threat to the quality of patient care.
396
397   2.2-4 Economic credentialing: Association membership and privileges may be
398       granted, continued, modified or terminated by the Governing Body only according to
399       the procedures set forth in these bylaws. Under no circumstances shall economic
400       criteria unrelated to quality of care be used to determine qualification for initial or
401       continuing Association membership or privileges.
402
403   2.3 PARTICULAR QUALIFICATIONS
404
405   2.3-1 Physicians. An applicant for physician membership, except for the Honorary
406       Staff, must hold an MD or DO degree or their equivalent and a valid and
407       unsuspended certificate to practice medicine or Section 2113 certificate issued by
408       the Medical Board of California or the Board of Osteopathic Examiners of the State
409       of California. For the purpose of this section 2.3-1, “or their equivalent” shall mean
410       any degree (i.e., foreign) recognized by the Medical Board of California or the
411       California Board of Osteopathic Examiners.
412
413   2.3-2 Dentists. An applicant for dental membership in the Association, except for the
414       Honorary Staff, must hold a DDS, DMD or equivalent degree and a valid and
415       unsuspended certificate to practice dentistry issued by the Dental Board of
416       California.
417
418   2.3-3 Podiatrists. An applicant for podiatric membership in the Association, except for
419       the Honorary Staff, must hold a DPM degree and a valid and unsuspended certificate
420       to practice podiatry issued by the California Board of Podiatric Medicine.
421
422   2.3-4 Clinical Psychologists. An applicant for clinical psychologist membership in the
423       Association, except for the Honorary Staff, must hold a doctorate degree in
424       psychology, have not less than two (2) years clinical experience in a multidisciplinary
425       facility licensed or operated by this or another state or by the United States to



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426      provide health care, and hold a valid and unsuspended certificate to practice clinical
427      psychology issued by the California Board of Psychology.
428
429   2.4 BASIC RESPONSIBILITIES OF ASSOCIATION MEMBERSHIP
430
431   Except for members of the Honorary Staff, the ongoing responsibilities of each member
432   of the Association shall include, but are not limited to:
433
434   2.4-1 Providing patients with continuing care and quality of care meeting the
435       professional standards of the Association;
436
437   2.4-2 Abiding by the Association bylaws, rules and regulations, and policies,
438       departmental rules and regulations, Medical Center policies and procedures, and
439       Department of Health Services applicable policies and procedures approved by the
440       Executive Committee;
441
442   2.4-3 Discharging in a responsible and cooperative manner such reasonable
443       responsibilities and assignments imposed upon the member by virtue of Association
444       membership, including, but not limited to, committee assignments and quality
445       improvement and risk management activities;
446
447   2.4-4 Preparing and completing in a timely fashion medical records for all the patients to
448       whom the member provides care in the Medical Center;
449
450   2.4-5 Abiding by the lawful ethical principles of the California Medical Association
451       and/or the member's professional association;
452
453   2.4-6 Participating in any Association approved educational programs actively supervising
454       (including, without limitation, providing direct supervision) resident physicians or dentists
455       in the course of his/her responsibilities and assignments as a member of the
456       Association to ensure that the health services provided by residents are safe, effective,
457       compassionate, and within the scope of the knowledge and documented competence of
458       residents as required by Department of Health Services and Medical Center policies as
459       approved by the Association;
460
461   2.4-7 Working cooperatively so as not to adversely affect patient care;
462
463   2.4-8 Making appropriate arrangements for coverage for his/her patients as determined
464       by the Association;
465
466   2.4-9 Refusing to engage in improper inducements for patient referral and adhering to
467       County policy regarding "running and capping";
468
469   2.4-10 Participating in continuing education programs as determined by the Association;
470
471   2.4-11 Serving as a proctor or other peer reviewer, and otherwise participating in
472       medical staff peer review as reasonably requested;
473
474   2.4-12 Participating in such emergency service coverage or consultation panels as may
475       be determined by the Association;
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477   2.4-13 Providing information to and/or testifying on behalf of the Association, the County,
478   or any practitioner under review, regarding any matter under review pursuant to Articles
479   VI or VII;
480
481   2.4-14 Notifying, in writing, the President and his/her department chair immediately after,
482   but in no event later than ten (10) days after, the occurrence of any of the following:
483
484             2.4-14.1 the practitioner is notified in writing by the Medical Board of California
485                 or other appropriate State licensing agency that an investigation regarding
486                 the practitioner is being conducted;
487
488              2.4-14.2 the practitioner is served with an accusation by the Medical Board of
489                 California or other appropriate State licensing agency;
490
491              2.4-14.3 the practitioner is served with a statement of issues by the Medical
492                 Board of California or other appropriate State licensing agency;
493
494              2.4-14.4 the practitioner has been convicted of a misdemeanor or felony that
495                 relates to the qualifications, functions or duties of the practitioner;
496
497              2.4-14.5 exclusion or suspension from a federally-reimbursed health services
498                 program;
499
500              2.4-14.6 the practitioner's membership and/or clinical privileges are
501                 voluntarily or involuntarily revoked, suspended, reduced, or relinquished at
502                 any hospital or health care facility;
503
504              2.4-14.7 the practitioner's Drug Enforcement Administration certificate, or
505                 his/her license to practice any profession in any jurisdiction, are voluntarily
506                 or involuntarily revoked, suspended, reduced, not renewed, or
507                 relinquished;
508
509              2.4-14.8 the practitioner's membership in any local, state, or national medical
510                 society is involuntarily revoked, suspended, reduced or not renewed;
511
512              2.4-14.9 any professional liability litigation involving the practitioner is
513                 commenced and/or;
514
515              2.4-14.10 the practitioner is aware of any other information that would correct,
516                 change, modify or add to any information provided in the application or
517                 most recent reapplication when such correction, change, modification or
518                 addition may reflect adversely on current qualifications for membership or
519                 privileges;
520
521   2.4-15 Possessing insurance coverage as indicated in Article XVII, if applicable; and
522
523   2.4-16 Discharging such other obligations as may be lawfully established from time to
524       time by the Association.
525
526   2.5 MEMBERS’ CONDUCT REQUIREMENTS
527


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528   As a condition of membership and privileges, an Association member shall continuously
529   meet the requirements for professional conduct established in these bylaws. Non-
530   members with privileges will be held to the same conduct requirements as members.
531
532   2.5-1 Acceptable Conduct
533
534      Acceptable Association member conduct is not restricted by these bylaws and
535      includes, but is not limited to:
536
537          2.5-1.1 Advocacy on medical matters;
538          2.5-1.2 Fulfilling duties of Association membership or leadership;
539          2.5-1.3 Making recommendations or criticism intended to improve care;
540          2.5-1.4 Expressing concern about a patient’s care and safety;
541          2.5-1.5 Exercising rights granted under the Association bylaws, rules and
542              regulations and policies;
543          2.5-1.6 Expressing dissatisfaction with policies through appropriate grievance
544              channels or other civil non-personal means of communication;
545          2.5-1.7 Professional comments to any professional, managerial, supervisory or
546              administrative staff, or to members of the Governing Body about patient care
547              or safety;
548          2.5-1.8 Seeking legal advice or the initiation of legal action for cause; and
549
550      Acceptable conduct is not subject to discipline under these bylaws.
551
552   2.5-2 Disruptive and Inappropriate Conduct
553
554      Disruptive and inappropriate conduct by an Association member may lead to investigative
555      actions as set forth in Articles VI and VII. Disruptive and inappropriate Association
556      member conduct at the Medical Center affects or could affect the quality of patient
557      care at the Medical Center and includes:
558
559          2.5-2.1 Harassment by an Association member against any individual involved
560              with the Medical Center (e.g., against another Association member, house
561              staff, trainee, Medical Center employee or patient) on the basis of race,
562              religion, color, national origin, creed, ancestry, physical disability, mental
563              disability, medical disability, age, marital status, gender or sexual orientation
564              which has the purpose or direct effect of unreasonably interfering with a
565              person’s work performance or which creates an offensive, intimidating or
566              otherwise hostile work environment.
567
568          2.5-2.2 “Sexual harassment” defined as unwelcome verbal or physical conduct of
569              a sexual or gender-based nature which may include verbal harassment (such
570              as epithets, derogatory comments or slurs), physical harassment (such as
571              unwelcome touching, assault, or interference with movement or work), and
572              visual harassment (such as the display of derogatory cartoons, drawings, or
573              posters). Sexual harassment includes unwelcome advances, requests for
574              sexual favors, and any other verbal, visual, or physical conduct of a sexual
575              nature when (a) submission to or rejection of this conduct by an individual is
576              used as a factor in decisions affecting hiring, evaluation, retention, promotion,
577              or other aspects of employment; or (b) this conduct substantially interferes
578              with the individual’s employment or creates and/or perpetuates an


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579             intimidating, hostile, or offensive work environment. Sexual harassment also
580             includes conduct which indicates that employment and/or employment
581             benefits are conditioned upon acquiescence in sexual activities.
582
583         2.5-2.3 Deliberate physical, visual or verbal intimidation or challenge, including
584             disseminating threats or pushing, grabbing or striking another person
585             involved in the Medical Center;
586
587         2.5-2.4 Inappropriate conduct reasonably interpreted to be demeaning or
588             offensive including, but not limited to:
589
590                 2.5-2.4-a belittling or berating statements;
591                 2.5-2.4-b name calling;
592                 2.5-2.4-c use of profanity or disrespectful language;
593                 2.5-2.4-d writing inappropriate comments in the medical record;
594                 2.5-2.4-e blatant failure to respond to patient care needs or staff
595                     requests;
596                 2.5-2.4-f deliberate refusal to return phone calls, pages or other
597                     messages concerning patient care or safety;
598                 2.5-2.4-g deliberate lack of cooperation without good cause; and
599                 2.5-2.4-h making degrading or demeaning comments about patients and
600                     their families, nurses, physicians, Medical Center personnel and/or
601                     the Medical Center.
602
603             Such conduct when persistent can become a form of harassment;
604
605         2.5-2.5 Carrying a gun or other weapon in the Medical Center; and
606
607         2.5-2.6 Refusal or failure to comply with these member conduct requirements.
608
609   2.5-3 Association Conduct Complaints
610
611      All complaints or reports of conduct issues will be discussed and decisions made in
612      executive session of the Executive Committee. Complaints or reports of disruptive
613      and/or inappropriate conduct by Association members are subject to review whether
614      or not the witness or complainant requests or desires action to be taken. Complaints
615      or reports must be in writing and will be transmitted to the Department Chair and the
616      President, or to the Association officer designated by either the President or
617      Executive Committee to handle the complaint, and must include, to the extent
618      feasible:
619
620         2.5-3.1 The date(s), time(s) and location of the alleged inappropriate or disruptive
621             conduct;
622         2.5-3.2 A factual description of the alleged inappropriate or disruptive conduct;
623         2.5-3.3 The circumstances which precipitated the alleged incident;
624         2.5-3.4 The name and medical record number of any patient or patient’s family
625             member who was involved in or witnessed the alleged incident;
626         2.5-3.5 The names of other witnesses to the alleged incident;
627         2.5-3.6 The consequences, if any, of the alleged inappropriate or disruptive
628             conduct as it relates to patient care or safety, or Medical Center personnel or
629             operations; and


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630         2.5-3.7 Any action taken to intervene in, or remedy, the alleged incident, including
631             the names of those intervening.
632
633      Complaints are shared with the subject member who will be given the opportunity to
634      respond in writing. The Department Chair, in consultation with the President, shall
635      refer the matter immediately to the Well Being of Practitioners Committee for
636      evaluation and monitoring and treatment if needed, if there is any indication that the
637      member’s health is implicated. The Department Chair, in consultation with the
638      President, shall determine if the complaint or report is obviously specious and
639      warrants no further action. If the Department Chair, in consultation with the
640      President, determines no action is warranted, the decision is reported at the next
641      Executive Committee meeting and may be discussed and acted upon at the request
642      of any Executive Committee member with the support of the majority of the
643      Executive Committee members present at that meeting.
644
645      Complaints not referred to the Well Being of Practitioner’s Committee or not
646      dismissed by the Department Chair, in consultation with the President, are referred
647      to the appropriate department for peer review committee evaluation and
648      investigation, if needed. The decision will be forwarded to the Executive Committee.
649      Any action taken shall be commensurate with the nature and severity of the conduct
650      in question. Interventions should initially be non-adversarial in nature, if possible,
651      with the focus on restoring trust, placing accountability on and rehabilitating the
652      offending Association member, and protecting patient care and safety. The
653      Association supports tiered, non-confrontational intervention strategies, starting with
654      collegial discussions of the matter with the appropriate division chief and/or
655      department chairperson. Further interventions can include an apology directly
656      addressing the problem, a letter of admonition, a final written warning, or corrective
657      action pursuant to Article VI, if the behavior is or becomes disruptive. The use of
658      summary suspension should be considered only where the member’s disruptive
659      behavior presents an imminent danger to the health of any individual. At any time
660      rehabilitation may be recommended. If corrective action is decided by the Executive
661      Committee, the member will be afforded hearing rights per Article VII. If the
662      Executive Committee decides no further action is necessary, the complaint will be
663      closed and filed in the member’s Peer Review File.
664
665      If the Department Chair is the subject of the complaint, then the Department Chair
666      shall be recused, and the role defined in this section 2.5-3 for the Department Chair
667      shall be performed by the Department Vice Chair. If the President is the subject of
668      the complaint, then the President shall be recused, and the role defined in this
669      section 2.5-3 for the President shall be performed by the Vice President.
670
671   2.5-4 Medical Center Staff Conduct Complaints
672
673      Association members’ reports or complaints about the conduct of any Medical Center
674      administrator, nurse or other employee, contractor, Governing Body member or
675      others affiliated with the Medical Center must be reduced to writing and submitted to
676      the President or any Association officer. The President shall forward the complaint
677      or report to the appropriate Medical Center authority for action. Reports and
678      complaints regarding Medical Center staff conduct will be tracked through the
679      Association Office which will report results of such reports and complaints to the
680      Executive Committee.


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681
682   2.5-5   Abuse of Process
683
684      Retaliation or attempted retaliation against complainants or those who are carrying
685      out Association duties regarding conduct will be considered inappropriate and
686      disruptive conduct and could give rise to evaluation and corrective action pursuant to
687      these bylaws.
688
689
690
691                                                  ARTICLE III
692
693                              CATEGORIES OF ASSOCIATION MEMBERSHIP
694
695   3.1 MEMBERSHIP CATEGORIES
696
697   The Association membership shall be divided into:
698
699   3.1-1   The Honorary Staff
700   3.1-2   The Active Staff
701   3.1-3   The Associate Staff-Compensated and Volunteer
702   3.1-4   The Provisional Staff
703   3.1-5   The Ad-Hoc Staff
704   3.1-6   The Medico-administrative Staff
705
706   3.2 THE HONORARY STAFF
707
708   3.2-1 Qualifications: The Honorary Staff shall consist of practitioners who do not
709       actively practice in the Medical Center but who are recommended for membership by
710       the Executive Committee. They may have retired from active hospital practice or are
711       deemed deserving of membership by virtue of their outstanding reputation, their
712       noteworthy contributions to the health or medical sciences, or their previous long-
713       standing service to the Medical Center, and they continue to exemplify high
714       standards of professional and ethical conduct.
715
716   3.2-2 Prerogatives: Honorary Staff members shall not be eligible to admit or attend
717       patients, to vote, or to hold office, nor are they required to attend Association and
718       department meetings. They may serve on committees with or without vote at the
719       discretion of the Executive Committee, and they may attend staff and department
720       meetings including open committee meetings and educational programs.
721
722   3.3 THE ACTIVE STAFF
723
724   3.3-1 Qualifications
725
726      The Active Staff shall consist of practitioners who
727
728           3.3-1.1 meet the general qualifications for membership set forth in Section 2.2,
729
730           3.3-1.2
731


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732                3.3-1.2-a are employed at least twenty (20) hours per week as County Civil
733                    Service employees, whether classified or unclassified, at the Medical
734                    Center,
735
736                3.3-1.2-b provide health services at the Medical Center at least twenty (20)
737                    hours per week under a contract which he/she has entered into with the
738                    County, or
739
740                3.3-1.2-c provide health services at the Medical Center at least twenty (20)
741                    hours per week under a contract of a non-County entity,
742
743         3.3-1.3 regularly admit or attend patients in the Medical Center,
744
745         3.3-1.4 assume all the functions and responsibilities of membership in the
746             Association including, where appropriate, teaching and/or consultation
747             assignments, and
748
749         3.3-1.5 have completed the required period as provisional staff as set forth in
750             Section 3.5 below.
751
752   3.3-2 Prerogatives
753
754      Members of the Active Staff who are in good standing shall
755
756         3.3-2.1 be entitled to admit and/or attend patients in the Medical Center, exercise
757             only those clinical privileges clearly delineating their scope of practice and
758             health services in the Medical Center, and assume all the functions and
759             responsibilities of membership in the Association including, where appropriate,
760             teaching and/or consultation assignments; and
761

762         3.3-2.2 be appointed to a specific department, and, except as otherwise specified
763             in these bylaws, be eligible to vote, to hold office, and to serve on Association
764             committees.

765   3.3-3 Transfer of Active Staff Members
766
767      After two (2) consecutive years in which a member of the Active Staff fails to
768      regularly care for patients in the Medical Center or be regularly involved in
769      Association functions as determined by the Association, that member shall be
770      automatically transferred to the appropriate category, if any, for which the member is
771      qualified.
772
773   3.4 THE ASSOCIATE STAFF-COMPENSATED AND VOLUNTEER
774
775   3.4-1 Qualifications
776
777      The Associate Staff shall consist of practitioners who
778
779         3.4-1.1 meet the general qualifications for membership set forth in Section 2.2
780             except that this requirement shall not preclude an out-of-state practitioner from


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781             membership as may be permitted by law if that practitioner is otherwise
782             deemed qualified by the Executive Committee,
783
784         3.4-1.2 are not eligible for Active Staff membership,
785
786         3.4-1.3 have completed the required period as provisional staff as set forth in
787             Section 3.5 below, and
788
789         3.4-1.4 admit or attend patients at the Medical Center.
790
791   3.4-2 Compensated and Volunteer Categories
792
793      Associate Staff members who receive compensation related to services provided at
794      the Medical Center are deemed Associate Staff-Compensated. Associate Staff
795      members whose services at the Medical Center are entirely voluntary are deemed
796      Associate Staff-Volunteer.
797
798   3.4-3 Prerogatives
799
800      Members of the Associate Staff who are in good standing shall
801
802         3.4-3.1 be entitled to admit and attend patients in the Medical Center, exercise
803             only those clinical privileges clearly delineating their scope of practice and
804             health services in the Medical Center, and assume all the functions and
805             responsibilities of membership in the Association assigned to them including,
806             where appropriate, teaching and/or consultation; and
807
808         3.4-3.2 be appointed to a specific department and shall be eligible to serve on
809             Association committees with the right to vote. They shall not be eligible to
810             vote at Association and department meetings or to hold office, nor are they
811             required to attend Association and department meetings, although they are
812             encouraged to do so.
813
814   3.4-4 Change in Status
815
816   Associate Staff members who meet the requirements for Active Staff shall, upon review
817   of the Executive Committee, be obligated to seek membership in the Active Staff
818   category. Associate Staff members whose status as receiving or not receiving
819   compensation for services provided in the Medical Center changes shall, upon review of
820   the Executive Committee, be obligated to seek membership in the appropriate Associate
821   Staff category.
822
823   3.5 THE PROVISIONAL STAFF
824
825   3.5-1 Qualifications
826
827      The Provisional Staff shall consist of practitioners who
828
829         3.5-1.1 meet the general qualifications for membership set forth in Section 2.2,
830
831         3.5-1.2 have provisional status as described in Section 4.1-3, and


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832
833         3.5-1.3 immediately prior to their application were not members of the
834            Association.
835
836   3.5-2 Prerogatives
837
838      Members of the Provisional Staff who are in good standing shall
839
840         3.5-2.1 be entitled to admit and attend patients in the Medical Center, exercise
841             only those clinical privileges clearly delineating their scope of practice and
842             health services in the Medical Center, and assume all the functions and
843             responsibilities of membership in the Association including, where appropriate,
844             teaching and consultation assignments;
845
846         3.5-2.2 be appointed to a specific department, but, except for department
847             chairpersons and division chiefs, not be eligible to hold office in the
848             Association or vote at Association, department or division meetings; and
849
850         3.5-2.3 Serve on Association committees without the right to vote unless the right
851             to vote is specified at the time of appointment.
852
853   3.5-3 Observation of Provisional Staff Member
854
855      Provisional Staff members shall undergo a period of observation (proctoring) by
856      designated Association members from each department wherein the Provisional
857      Staff member has been granted privileges. The purpose of such observation is to
858      evaluate the Provisional Staff member's: (1) proficiency in the exercise of clinical
859      privileges initially granted; and (2) overall eligibility for continued Association
860      membership and advancement within Association staff membership categories.
861      Such observation and proctoring shall follow whatever format each department
862      deems appropriate in order to adequately evaluate the Provisional Staff member and
863      determine suitability to continue to exercise the clinical privileges granted in that
864      department and shall include at least the first six (6) cases consisting of a sufficient
865      variety and number of cases monitored and evaluated to be representative of the
866      entire scope of requested privileges. Proctoring includes, but is not limited to,
867      concurrent or retrospective chart review, mandatory consultation, and/or direct
868      observation. Appropriate records shall be maintained by the department. The
869      results of the proctoring and observation shall be submitted by the department chair
870      to the Credentials Committee.
871
872   3.5-4 Term of Provisional Staff Status
873
874      A Provisional Staff member shall remain in the Provisional Staff membership
875      category for a maximum period of six (6) months, unless the Governing Body, upon
876      recommendation of the Executive Committee, based on a report from the Credentials
877      Committee, determines to extend such status for an additional six (6) month period
878      upon a finding of good cause, which determination shall not be subject to a hearing
879      and appellate review pursuant to Article VII.
880
881   3.5-5 Action at Conclusion of Provisional Staff Status
882


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883      If the Provisional Staff member has satisfactorily demonstrated his/her ability to
884      exercise the clinical privileges provisionally granted and otherwise appears qualified
885      for continued Association membership, the Provisional Staff member shall be eligible
886      for appointment by the Governing Body as an Active Staff or Associate Staff
887      member, as appropriate, upon recommendation by the Executive Committee. The
888      failure to obtain approval under observation and proctoring for any requested clinical
889      privilege shall not, by itself, preclude advancement in Association membership
890      category. If such advancement is granted absent such approval, continued
891      observation and proctoring on the unapproved clinical privilege shall continue for the
892      time period specified by the Governing Body, upon recommendation of the
893      department chair and the Executive Committee.                 If advancement is not
894      recommended, the appropriate department chair shall advise the Credentials
895      Committee, which shall make its report to the Executive Committee, which, in turn,
896      shall make its recommendation to the Governing Body, for a determination regarding
897      any modification or termination of clinical privileges and Association membership.
898
899   3.6 THE AD-HOC STAFF
900
901   The Ad-hoc Staff shall consist of practitioners who do not actively practice at the Medical
902   Center but are important resource individuals for Association quality assessment and
903   improvement activities. Such persons shall be qualified to perform the functions for
904   which they are made temporary members of the Association.
905
906   Ad-hoc Staff members shall be entitled to attend all meetings of committees to which
907   they have been appointed for the limited purpose of carrying out quality assessment and
908   improvement functions. They shall have no clinical privileges. They may not admit
909   patients to the Medical Center or hold office in the Association. They may, however,
910   serve on designated committees with or without vote at the discretion of the Executive
911   Committee. Finally, they may attend Association meetings outside of their committees,
912   upon invitation. Their membership term shall be no longer than 120 days, although they
913   may be granted additional terms of up to 120 days if recommended by the Executive
914   Committee and approved by the Governing Body.
915
916   3.7 THE MEDICO-ADMINISTRATIVE STAFF
917
918   3.7-1 General
919
920      The Medico-administrative Staff category membership shall be held by any physician
921      who is not otherwise eligible for another staff category and who is retained by the
922      Medical Center or Association solely to perform ongoing medical administrative
923      activities.
924
925   3.7-2 Qualifications
926
927      The Medico-administrative staff shall consist of members who
928
929         3.7-2.1 meet the general qualifications for membership set forth in Section 2.2
930            and
931
932         3.7-2.2 are charged with assisting the Association in carrying out medical-
933            administrative functions.


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934
935   3.7-3 Prerogatives
936
937      The Medico-administrative Staff shall be entitled to attend open meetings of the
938      Association and various departments and educational programs but shall have no
939      right to vote at such meetings. Medico-administrative Staff members shall not be
940      eligible to hold office in the Association, admit patients or exercise clinical privileges.
941
942   3.8 THE CHIEF MEDICAL OFFICER AND ASSOCIATE MEDICAL DIRECTORSHIPS
943
944   3.8-1 General
945
946      The Chief Medical Officer and individuals holding titles as Associate Medical
947      Directors in the Medical Center shall be members of the Medico-Administrative Staff
948      if they have no clinical privileges or shall be members of another category if they hold
949      clinical privileges.
950
951   3.8-2 Responsibilities of the Chief Medical Officer
952
953         3.8-2.1 The Chief Medical Officer’s duties shall be delineated by the Governing
954             Body in keeping with the general provisions set forth in subparagraph 2 below.
955             Executive Committee approval shall be required for any Chief Medical Officer
956             duties that relate to authority to perform functions on behalf of the Association
957             or directly affect the performance or activities of the Association.
958
959         3.8-2.2    In keeping with the foregoing, the Chief Medical Officer shall:
960
961                3.8-2.2-a Serve as administrative liaison among Medical Center
962                    administration, the Governing Body, outside agencies and the
963                    Association;
964
965                3.8-2.2-b Assist the Association in performing its assigned functions and
966                    coordinating such functions with the responsibilities and programs of the
967                    Medical Center; and
968
969                3.8-2.2-c In cooperation and close consultation with the President and the
970                    Executive Committee, supervise the day-to-day performance of the
971                    Association Office and Medical Center’s quality improvement personnel.
972
973   3.8-3 Selection, Review and Removal of Chief Medical Officer
974
975          The Executive Committee will participate in the identification of candidates for the
976   Chief Medical Officer position by inclusion of members on the Search Committee, in the
977   interview process, and by submission of candidate evaluations to the Director, or his
978   representative. The Chief Executive Officer shall coordinate candidate interviews with
979   representatives of Association leadership, who shall participate in the interview and
980   review of candidates for position of Chief Medical Officer in the Medical Center. The
981   input and recommendation of the Executive Committee regarding the candidate
982   selection shall be considered by the Chief Executive Officer and Governing Body when
983   making a selection.
984


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 985   The Executive Committee shall provide the Chief Executive Officer and the Governing
 986   Body with its input into the performance review of its Chief Medical Officer periodically
 987   and transmitting the results of the review for their consideration.
 988
 989   The Executive Committee, by a majority vote of the voting members, can request the
 990   termination of an individual in the Chief Medical Officer position. The Governing Body
 991   shall give weight to the recommendation of the Medical Executive Committee. Prior to
 992   removing the CMO, the Governing Body or its designee shall meet and discuss the
 993   action with the Executive Committee.
 994
 995   3.8-4   Selection, Review and Removal of Associate Medical Directors
 996
 997      A listing of all Associate Medical Director positions in the Medical Center shall be
 998      made available to any Association member upon request.
 999
1000      The Executive Committee shall ensure that the Medical Staff participate in the
1001      identification of candidates for Associate Medical Director by the inclusion of
1002      members of a Search Committee and in the interview process, and by the
1003      submission of candidate evaluations to the Chief Medical Officer.
1004
1005   3.8-5 Prerogatives
1006
1007      The Chief Medical Officer and individuals holding associate medical director
1008      positions in the Medical Center shall be entitled to the prerogatives of the Association
1009      staff category to which they belong except that they shall not be eligible to hold office
1010      in the Association or vote at Association, department or committee meetings.
1011      He/she may admit patients or otherwise provide patient care services only if he/she
1012      holds clinical privileges and only to the extent of those clinical privileges.
1013
1014   3.9 LIMITATION OF PREROGATIVES
1015
1016   The prerogatives set forth under each membership category are general in nature and
1017   may be subject to limitation by special conditions attached to a particular membership,
1018   by other sections of these bylaws and by Association Rules and Regulations.
1019   Regardless of the category of membership in the Association, limited license members:
1020
1021   3.9-1 shall only have the right to vote on matters within the scope of their licensure. In
1022       the event of a dispute over voting rights, that issue shall be determined by the chair
1023       of the meeting, subject to final decision by the Executive Committee; and
1024
1025   3.9-2 shall exercise clinical privileges only within the scope of their licensure and as set
1026       forth in Sections 5.1-8, 5.1-9 and 5.1-10.
1027
1028   3.10 MODIFICATION OF MEMBERSHIP
1029
1030   On its own, upon recommendation of the Credentials Committee, or pursuant to a
1031   request by a member under Section 4.5, the Executive Committee may recommend a
1032   change in the Association category of a member consistent with the requirements of the
1033   bylaws.
1034
1035                                          ARTICLE IV


                                                   23
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1036
1037                 PROCEDURE FOR APPOINTMENT AND REAPPOINTMENT
1038
1039   4.1 CONDITIONS AND DURATION OF APPOINTMENT
1040
1041   4.1-1 General: By applying to the Association for initial membership or renewal of
1042       membership (or, in the case of members of the Honorary Staff, by accepting
1043       membership in that category), the applicant acknowledges responsibility to first
1044       review these bylaws, Association Rules and Regulations – if any, Association
1045       policies and Medical Center policies approved by the Executive Committee, and
1046       agrees that throughout any period of membership that person will comply with the
1047       responsibilities of Association membership and with Association bylaws, Rules and
1048       Regulations and policies and Medical Center policies approved by the Executive
1049       Committee as they exist and as they may be modified from time to time.
1050
1051
1052   4.1-2 Authority of the Governing Body: Initial appointments and reappointments to the
1053       Association shall be made by the Governing Body. The Governing Body shall act on
1054       appointments, reappointments, or suspension or revocation of appointments only
1055       after there has been a recommendation from the Executive Committee as described
1056       in these bylaws, provided that in the event of unwarranted delay on the part of the
1057       Executive Committee, the Governing Body may act without such recommendation on
1058       the basis of documented evidence of the applicant’s or Association member’s
1059       professional and ethical qualifications obtained from reliable sources other than the
1060       Executive Committee, but the Governing Body may never grant full membership or
1061       privileges unilaterally.
1062
1063
1064   4.1-3 Duration: Except as otherwise provided in these bylaws, initial appointments when
1065       clinical privileges are granted shall be provisional for a period of not less than six (6)
1066       months nor more than twenty-four (24) months. Prior to the conclusion of the
1067       provisional period, the appropriate department chair shall recommend to the
1068       Credentials Committee, which shall recommend to the Governing Body through the
1069       Executive Committee, the removal of provisional status and appointment to the
1070       Active Staff or Associate Staff as appropriate, or the extension or termination of the
1071       appointment. Initial appointments and any reappointments shall each be for a period
1072       of not more than twenty-four (24) months.
1073
1074   4.2 APPLICATION FOR APPOINTMENT
1075
1076   4.2-1 Application Form: All applications for appointment to the Association shall be in
1077   writing, shall be completed (or accompanied by an explanation of why answers are
1078   unavailable) and signed by the applicant. The application form shall be approved by the
1079   Executive Committee and shall require detailed information including, but not limited to,
1080   the following:
1081
1082         4.2-1.1 the applicant's professional training and experience, current California
1083             licensure or section 2113 certification, board certification status, current Drug
1084             Enforcement Administration (DEA) certification (for practitioners, in order to
1085             qualify for certain privileges to prescribe restricted medications), verification of



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1086             identity, clinical privileges requested, and, if applicable, current insurance
1087             coverage as indicated in Article XVII, and other professional qualifications;
1088
1089         4.2-1.2 the names of at least three (3) persons who have had extensive
1090             experience in observing and working with the applicant and who can provide
1091             adequate references pertaining to the applicant's current professional
1092             competence, ethical character, and adequate physical and mental health
1093             status;
1094
1095         4.2-1.3 past or pending professional disciplinary action and whether the
1096             applicant's membership status and/or clinical privileges have ever been
1097             voluntarily or involuntarily denied, revoked, suspended, reduced, not renewed,
1098             or relinquished at any hospital or health facility;
1099
1100         4.2-1.4 whether the applicant's Drug Enforcement Administration certificate or
1101             his/her license to practice any profession in any jurisdiction, has ever been
1102             voluntarily or involuntarily revoked, suspended, not renewed, reduced, or
1103             relinquished;
1104
1105         4.1-1.5 whether any professional liability litigation involving the applicant has been
1106             to final judgment, has been settled, or is in progress;
1107
1108         4.2-1.6 whether the applicant has been or is currently excluded or suspended, or
1109             is pending exclusion or suspension, as a provider of services to Medicare,
1110             Medicaid or any other federally-reimbursed health services program;
1111
1112         4.2-1.7 whether the applicant's membership in local, state or national medical
1113             societies has ever been involuntarily revoked, suspended, reduced or
1114             relinquished; and
1115
1116         4.2-1.8 requested membership category, department assignment and clinical
1117             privileges.
1118
1119   4.2-2 Burden of Producing Information: In connection with all applications for
1120       appointment, the applicant shall have the burden of producing adequate information
1121       for a proper evaluation of the applicant’s qualifications and suitability for the
1122       membership category and clinical privileges requested, for resolving any doubts
1123       about these matters, and for satisfying all requests for information. The applicant's
1124       failure to fulfill this requirement, the applicant's withholding of any relevant
1125       information, or the applicant's submission of any inaccurate or misleading
1126       information, shall be grounds for denial of the application. In addition, to the extent
1127       consistent with law, the applicant may be required to submit to a medical or
1128       psychological examination in order to assure that the practitioner will practice safely,
1129       at the applicant’s expense, if deemed appropriate by the Executive Committee. The
1130       applicant may select the examining physician from an outside panel of three (3)
1131       physicians chosen by the Executive Committee. The Association Office shall
1132       promptly notify the applicant of any problems in obtaining any information required or
1133       if any of the information obtained from primary sources varies from that provided by
1134       the applicant.
1135



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1136   4.2-3 Effect of the Application: In addition to the matters set forth in Section 4.1-1, by
1137       applying for appointment to the Association, each applicant thereby
1138
1139          4.2-3.1 signifies his/her willingness to appear for interviews in regard to his/her
1140             application;
1141
1142         4.2-3.2 authorizes representatives of the County of Los Angeles, the Association,
1143             and/or the professional schools, to consult with members of medical staffs of
1144             other hospitals or health facilities with which the applicant has been
1145             associated and with others who may have information bearing on his/her
1146             current competence, ethical character, adequate physical and mental health
1147             status, and other qualifications and authorizes such individuals and
1148             organizations to candidly provide such information;
1149
1150         4.2-3.3 consents to an inspection and copying by the above of all records and
1151             documents that may be material to an evaluation of his/her professional
1152             qualifications and current competence to carry out the clinical privileges
1153             he/she requests, as well as of his/her moral and ethical qualifications for
1154             membership, and further authorizes all persons and organizations in custody
1155             of such records and documents to permit such inspection and copying;
1156
1157         4.2-3.4 releases from any liability the County of Los Angeles, the Association, the
1158             professional schools, and their respective officers, employees or agents, for
1159             any of their acts performed in good faith and without malice in connection with
1160             evaluating the applicant and his/her credentials and other qualifications; and
1161
1162         4.2-3.5 releases from any liability all individuals and organizations that provide
1163             information to the County of Los Angeles, the Association, the professional
1164             schools, and their respective officers, employees or agents in good faith and
1165             without malice concerning the applicant's current competence, ethical
1166             character, adequate physical and mental health status, and other
1167             qualifications for Association membership and clinical privileges, including
1168             otherwise privileged or confidential information.
1169
1170      The initial application form shall include a statement that the applicant has received
1171      and read the bylaws of the Association and any rules and regulations applicable
1172      thereto, and that he/she agrees to be bound by the terms thereof, as they may be
1173      amended from time to time, without regard to whether or not he/she is granted
1174      membership and/or clinical privileges in all matters relating to consideration of his/her
1175      application.
1176
1177   4.2-4 Requests for Additional Information: Any committee or individual charged
1178       under these bylaws with responsibility of reviewing the appointment application
1179       and/or request for clinical privileges may request further documentation or
1180       clarification. If the applicant fails to respond within thirty (30) days, the application or
1181       request shall be deemed withdrawn, and processing of the application or request will
1182       be discontinued. Unless the circumstances are such that a report to the Medical
1183       Board of California is required, such a withdrawal shall not give rise to hearing and
1184       appeal rights pursuant to Article VII.
1185



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1186   4.2-5 Acceptance of Membership In Association: Acceptance of membership in the
1187       Association shall constitute the member’s agreement that:
1188
1189         4.2-5.1 he/she pledges to be bound by the Association bylaws, Rules and
1190             Regulations and policies, and Medical Center policies approved by the
1191             Executive Committee;
1192
1193         4.2-5.2 he/she will strictly abide by the Guiding Principles For Physician-Hospital
1194             Relationships of the California Medical Association as well as the Code of
1195             Medical Ethics of the American Medical Association, the Code of Ethics of the
1196             American Osteopathic Association, the Principles of Ethics and Code of
1197             Professional Conduct of the American Dental Association, the Code of Ethics
1198             of the American Podiatric Medical Association, or the Ethical Principles of
1199             Psychologists and Code of Conduct of the American Psychological
1200             Association, whichever is applicable;
1201
1202         4.2-5.3 he/she will maintain an ethical practice, including, without limitation,
1203             refraining from illegal inducements for patient referral, providing for the
1204             continuous care of his/her patients, seeking consultation whenever necessary,
1205             refraining from failing to disclose to patients when another surgeon will be
1206             performing the surgery, and refraining from delegating health services
1207             responsibility to non-qualified or inadequately supervised practitioners or
1208             residents;
1209
1210         4.2-5.4 he/she will report to the Association office within 10 days any and all
1211             information that would otherwise correct, change, modify or add to any
1212             information provided in the application or most recent reapplication when such
1213             correction, change, modification or addition may reflect adversely on current
1214             qualifications for membership or privileges; and
1215
1216         4.2-5.5 if a requirement exists for Association dues or assessment, he/she
1217             acknowledges responsibility for timely payment.
1218
1219
1220   4.2-6 Dual Appointments: An application for membership shall not be accepted for a
1221       primary appointment to a department or for clinical privileges in a department other
1222       than that representing the primary specialty in which the applicant possesses
1223       credentials and qualifications, provided that this prohibition shall not exclude the
1224       granting of clinical privileges in two or more departments if the privileges are
1225       recommended by the chairs of the departments.
1226
1227   4.3 INITIAL APPOINTMENT PROCESS
1228
1229   4.3-1 Verification of Information: The applicant shall submit a completed application,
1230       including desired membership category and a specific list of desired clinical
1231       privileges, to the President and an advance payment of Association dues and/or fees
1232       paid to the Association, as required, to the Association Office, which shall verify, with
1233       primary sources whenever possible, the references, licensure status and other
1234       information submitted or in support of the application. The Medical Center’s
1235       authorized representative shall query the Medical Board of California and National
1236       Practitioner Data Bank. The Association Office shall promptly notify the applicant of


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1237      any problems in obtaining any information required or if any of the information
1238      obtained from primary sources varies from that provided by the applicant. It shall be
1239      the applicant's responsibility to obtain all required information.
1240
1241   4.3-2 Department Action: When collection and verification is accomplished, the
1242       Association Office shall transmit the application and all supporting materials to the
1243       department chair where the applicant would be assigned who may consult with the
1244       appropriate department chair of the appropriate Professional School and the
1245       appropriate Dean of the Professional School. The chair, or appropriate committee of
1246       each department to which the application is submitted, shall review the application
1247       and supporting documentation and may conduct a personal interview with the
1248       applicant at the chair’s or committee’s discretion. The chair or appropriate
1249       committee shall evaluate all matters deemed relevant to a recommendation,
1250       including information concerning the applicant’s provision of services within the
1251       scope of privileges granted, his/her clinical and technical skills and any relevant
1252       information available regarding his/her performance and shall transmit to the
1253       Association Office a written report and recommendation as to membership and, if
1254       membership is recommended, as to membership category, department affiliation,
1255       clinical privileges to be granted, and any special conditions to be attached. The chair
1256       may also request that the Executive Committee defer action on the application. If the
1257       recommendation is adverse to the applicant, such recommendation shall state the
1258       reason for such.
1259
1260   4.3-3 Credentials Committee Action: The Association Office shall transmit the
1261       application with the department chair’s recommendation and all supporting materials
1262       to the Credentials Committee for evaluation. Within ninety (90) days after receipt of
1263       the completed application for membership, the Credentials Committee shall review
1264       the application and evaluate and verify the supporting documentation and other
1265       relevant information and make a written report of its evaluation to the Executive
1266       Committee. Prior to making this report, the Credentials Committee may elect to
1267       interview the applicant and/or seek additional information. The written
1268       recommendations from every department in which the applicant seeks clinical
1269       privileges shall be made a part of the Committee's report. The Credentials
1270       Committee shall transmit to the Executive Committee the completed application and
1271       a recommendation that the applicant be either appointed to the Association with the
1272       privileges requested, that there be an adverse action on the application in the form of
1273       rejection of the application or limitation of the privileges requested, or that the
1274       application be deferred for further consideration. Where rejection of the application,
1275       limitation of the privileges requested or deferment is recommended, the reasons for
1276       such recommendation shall be stated along with the recommendation.
1277
1278   4.3-4 Executive Committee Action: At its next regular meeting following receipt of the
1279       application and the report and recommendation of the Credentials Committee, the
1280       Executive Committee shall consider the report and any other relevant information.
1281       The Executive Committee may request additional information, return the matter to
1282       the Credentials Committee for further evaluation, which shall be provided to the
1283       Executive Committee within sixty (60) days, and/or elect to interview the applicant.
1284       The Executive Committee shall promptly forward to the Governing Body a written
1285       report and recommendation that the applicant be provisionally appointed to the
1286       Association including membership category, department affiliation, clinical privileges
1287       to be granted and any special conditions to be attached to the membership; that


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1288      adverse action be taken on the application in the form of rejection of the application
1289      or limitation of the privileges requested; or that the application be deferred for further
1290      consideration. The Executive Committee may, in its discretion, refer the application
1291      and all supporting and relevant documents back to the Credentials Committee for a
1292      recommendation, which shall be provided to the Executive Committee within sixty
1293      (60) days. The reasons for each recommendation shall be stated.
1294
1295   4.3-5   Effect of Executive Committee Action
1296
1297           4.3-5.1 Defer: When the recommendation of the Executive Committee is to
1298              defer the application for further consideration, the reasons for deferment
1299              should be stated, and the recommendation must be followed up within sixty
1300              (60) days with a subsequent recommendation for provisional appointment with
1301              specified clinical privileges or for rejection for Association membership.
1302
1303           4.3-5.2 Favorable: When the recommendation of the Executive Committee is
1304              favorable to the applicant, the recommendation shall promptly be forwarded to
1305              the Governing Body.
1306
1307           4.3-5.3 Adverse: When the recommendation of the Executive Committee is
1308              adverse to the applicant either in respect to appointment or clinical privileges,
1309              the Executive Committee shall also assess and determine whether the
1310              adverse recommendation is for a “medical disciplinary” cause or reason. A
1311              medical disciplinary action is one taken for cause or reason that involves that
1312              aspect of a practitioner’s current competence or professional conduct that is
1313              reasonably likely to be detrimental to patient safety or to the delivery of patient
1314              care. All other actions are deemed administrative disciplinary actions. In
1315              some cases, the reason may involve both medical disciplinary and
1316              administrative disciplinary cause or reason, in which case, the matter shall be
1317              deemed medical disciplinary for hearing purposes of Article VII. After such
1318              adverse determination, the President shall promptly so notify the applicant by
1319              certified mail, return receipt requested and notify him/her of his/her hearing
1320              rights under Article VII.
1321
1322   4.3-6 Governing Body’s Action on the Application
1323
1324           4.3-6.1 Deferral: The Governing Body may accept the recommendation of the
1325              Executive Committee or may refer the matter back to the Executive
1326              Committee for further consideration, stating the purpose for such referral and
1327              setting a reasonable time limit for making a subsequent recommendation.
1328
1329           4.3-6.2 After Favorable Executive Committee Recommendation:
1330
1331             Within fifteen (15) days after the receipt of a favorable recommendation by the
1332             Executive Committee, the recommendation shall be affirmed by the Governing
1333             Body if the Executive Committee’s decision is supported by substantial
1334             evidence or automatically after thirty (30) days if no action is taken by the
1335             Governing Body. In the latter event, the Governing Body shall be deemed to
1336             have affirmed the Executive Committee’s recommendation.
1337



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1338               4.3-6.2-a If the Governing Body concurs with the recommendation of the
1339                   Executive Committee, the decision of the Governing Body shall be
1340                   deemed final action.
1341
1342               4.3-6.2-b If the Governing Body's decision is adverse to the applicant in
1343                   respect to either appointment or clinical privileges, the Governing Body
1344                   shall promptly notify him/her of such adverse decision by certified mail,
1345                   return receipt requested, and such adverse decision shall be held in
1346                   abeyance until the applicant has exercised or has been deemed to have
1347                   waived his/her rights under Article VII.
1348
1349          4.3-6.3 After Unfavorable Executive Committee Recommendation:
1350
1351            In the event the recommendation of the Executive Committee, or any
1352            significant part of it, is unfavorable to the applicant the procedural rights set
1353            forth in Article VII shall apply.
1354
1355               4.3-6.3-a If procedural rights are waived by the applicant, the
1356                   recommendations of the Executive Committee shall be forwarded to the
1357                   Governing Body for final action, which shall affirm the recommendation
1358                   of the Executive Committee if the Executive Committee’s decision is
1359                   supported by substantial evidence.
1360
1361               4.3-6.3-b If the applicant requests a hearing following the adverse
1362                   Executive Committee recommendation pursuant to this Section 4.3-5.3
1363                   or an adverse Governing Body’s tentative final action pursuant to
1364                   Section 4.3-6.2-b, the Governing Body shall take final action only after
1365                   the applicant has exhausted all procedural rights as established by
1366                   Article VII. After exhaustion of the procedures set forth in Article VII, the
1367                   Governing Body shall make a final decision and shall affirm the decision
1368                   of the judicial review committee if the judicial review committee’s
1369                   decision is supported by substantial evidence, following a fair
1370                   procedure. The Governing Body’s decision shall be in writing and shall
1371                   specify the reasons for the action taken.
1372
1373         4.3-6.4 Governing Body Decision Contrary to Executive Committee
1374            Recommendation:
1375
1376            Whenever the Governing Body's decision is contrary to the recommendation
1377            of the Executive Committee, the Governing Body shall submit the matter to a
1378            committee composed of the Chief Medical Officer, Chief Executive Officer, the
1379            President, and the department chair(s) involved for review and
1380            recommendation and shall consider such recommendation before making its
1381            decision final. Such committee shall report back to the Governing Body within
1382            fifteen (15) days with its recommendation, and the Governing Body shall
1383            render a decision within fifteen (15) days after its receipt of such
1384            recommendation.
1385
1386   4.3-7 Notice of Final Decision
1387



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1388      When the Governing Body's decision is final, the Governing Body shall send notice
1389      of such decision to the President, to the Chief Medical Officer, to the Chief Executive
1390      Officer, to the chair of each department concerned, and to the applicant, which notice
1391      shall be sent to the applicant by certified or registered mail, return receipt requested,
1392      if there is an adverse decision.
1393
1394   4.3-8 Expedited Processing of AdHoc Staff:
1395
1396      For applicants to the AdHoc Staff, an expedited process of appointment may be
1397      implemented if the President, with concurrence by the chair of the department most
1398      relevant to the applicant’s credentials, recommends the applicant’s appointment and
1399      the Governing Body concurs in that recommendation. Although an applicant to the
1400      AdHoc Staff may have been appointed through this expedited process, his or her
1401      application shall still be processed through the Executive Committee.
1402
1403      AdHoc Staff applicants are ineligible for expedited processing if, at the time
1404      membership may be granted, any of the following has occurred:
1405
1406         4.3-8.1 The applicant submits an incomplete application.
1407         4.3-8.2 There is a current challenge or previously successful challenge to
1408            licensure.
1409         4.3-8.3 The applicant has received an involuntary termination of medical staff
1410            membership at another organization.
1411         4.3-8.4 The applicant has received involuntary limitation, reduction, denial, or loss
1412            of medical privileges.
1413
1414   4.3-9 Reapplication After Adverse Decision
1415
1416      Any applicant whose application receives a final adverse decision, either by the
1417      Governing Body or under Article VII if the applicant requests a hearing, regarding
1418      membership appointment or clinical privileges shall not be eligible to reapply for
1419      Association membership or the rejected clinical privileges for a period of two years
1420      from the date of the final adverse decision of the prior application. Any such
1421      reapplication shall be processed as an application for initial appointment. In the
1422      reapplication, the applicant shall submit such additional information as may be
1423      requested to demonstrate that the basis for the previous adverse decision no longer
1424      exists.
1425
1426   4.4 REAPPOINTMENT PROCESS
1427
1428   4.4-1 Application Submission:
1429
1430      At least one hundred twenty (120) days prior to the expiration date of a member's
1431      period of appointment (except for members of the Adhoc Staff), the member shall
1432      submit an application for reappointment to the Association Office. If an application
1433      for reappointment is not received at least thirty (30) days prior to the expiration date,
1434      the member shall be deemed to have voluntarily resigned his/her Association
1435      membership and clinical privileges. Written notice shall be promptly sent by the
1436      Association Office to the member advising that the application has not been received
1437      and that membership will expire on the expiration date. In the event membership
1438      terminates for the reasons set forth herein, the procedures set forth in Article VII shall


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1439      not apply.
1440
1441   4.4-2 Application Information:
1442
1443      Reappointment application forms shall include all information necessary to update
1444      and evaluate the qualifications of the member. Upon receipt of the application, the
1445      information shall be processed as set forth in Section 4.3-1, When collection and
1446      verification is accomplished, the Association Office staff shall transmit the application
1447      and all supporting materials to the appropriate department chair.
1448
1449   4.4-3 Burden of Producing Information:
1450
1451      In connection with all applications for reappointment, the member shall have the
1452      burden of producing adequate information for a proper evaluation of his/her
1453      qualifications and suitability for the membership category and clinical privileges
1454      requested, for resolving any doubts about these matters, and for satisfying all
1455      requests for information. The member’s failure to fulfill this requirement, the
1456      member’s withholding of any relevant information, or the member’s submission of
1457      any inaccurate or misleading information, shall be grounds for denial of the
1458      application. In addition, to the extent consistent with law, the member may be
1459      required to submit to a medical or psychological examination in order to assure that
1460      the practitioner will practice safely, at the member’s expense, if deemed appropriate
1461      by the Executive Committee. The member may select the examining physician from
1462      an outside panel of three (3) physicians chosen by the Executive Committee. The
1463      Association Office shall promptly notify the member of any problems in obtaining any
1464      information required or if any of the information obtained from primary sources varies
1465      from that provided by the member.
1466
1467      The Credentials Committee or the Executive Committee may request further
1468      documentation or clarification. If the member fails to respond within thirty (30) days,
1469      the application or request shall be deemed withdrawn, and processing of the
1470      application or request will be discontinued. Unless the circumstances are such that a
1471      report to the Medical Board of California is required, such a withdrawal shall not give
1472      rise to hearing and appeal rights pursuant to Article VII.
1473
1474   4.4-4 Department and Credentials Committee Action:
1475
1476      The department chair shall review all pertinent information available on each
1477      member of his/her department who applies for reappointment and who is scheduled
1478      for periodic appraisal. This review shall also include an assessment of information
1479      collected in the course of the Medical Center's Quality of Care Program as well as
1480      practitioner-specific information regarding the member's professional performance.
1481      Each department shall develop and monitor the practitioner-specific information and
1482      compare this data to relevant benchmarks. The department chair shall promptly
1483      forward this information with his/her recommendation regarding reappointment to the
1484      Association and the granting of privileges for the ensuing two (2)-year period to the
1485      Credentials Committee for its review. The Credentials Committee shall transmit its
1486      recommendations in writing to the Executive Committee. Where non-reappointment
1487      or a change in clinical privileges is recommended, the reasons for such
1488      recommendations shall be stated and documented.
1489


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1490
1491   4.4-5 Executive Committee Action:
1492
1493      At its first regular meeting following receipt of the recommendations of the
1494      Credentials Committee, the Executive Committee shall consider the report and any
1495      other relevant information. The Executive Committee may request additional
1496      information or return the matter to the Credentials Committee for further evaluation
1497      which shall report back to the Executive Committee in a timely manner, or the
1498      Executive Committee may elect to interview the member. The Executive Committee
1499      shall make written recommendations to the Governing Body concerning the
1500      reappointment, non-reappointment, deferral for further consideration and/or clinical
1501      privileges of each member then scheduled for periodic appraisal. Where non-
1502      reappointment or a change in clinical privileges is recommended, the reasons for
1503      such recommendations shall be stated and documented. Thereafter, the procedure
1504      provided in Sections 4.3-5 through 4.3-7 relating to recommendations on applications
1505      for initial appointment shall be followed.
1506
1507   4.5 CHANGE IN MEMBERSHIP CATEGORY OR CLINICAL PRIVILEGES
1508
1509   Any Association member who, prior to his/her application for reappointment, requests a
1510   change in his/her membership category or clinical privileges shall submit an application
1511   in writing on the prescribed form at any time, except that no such application shall be
1512   submitted within twelve (12) months of the date a similar request was denied. Such
1513   applications shall be processed in the same manner as applications for initial
1514   appointment in accordance with Sections 4.2 and 4.3.
1515
1516   4.6 LEAVE OF ABSENCE
1517
1518   4.6-1 Leave Status: At the discretion of the Executive Committee, an Association
1519       member may obtain a voluntary leave of absence from the Association upon
1520       submitting a written request to the Executive Committee stating the approximate
1521       period of leave desired, which may not exceed one (1) year. During the period of the
1522       leave, the member shall not exercise clinical privileges at the Medical Center, and
1523       membership rights and responsibilities shall be inactive, but the obligation to pay
1524       dues, if any, shall continue, unless waived by the Association.
1525
1526   4.6-2 Termination of Leave: At least thirty (30) days prior to the termination of the leave
1527       of absence, or at any earlier time, the Association member may request
1528       reinstatement of privileges by submitting a written notice to that effect to the
1529       Executive Committee. The member shall submit a summary of relevant activities
1530       during the leave, if the Executive Committee so requests. The Executive Committee
1531       shall make a recommendation concerning the reinstatement of the member’s
1532       privileges and prerogatives, and the procedure provided in Sections 4.2 through 4.4
1533       shall be followed. A member whose membership is not reinstated because of a
1534       medical disciplinary cause or reason shall be entitled to the procedural rights
1535       provided in Article VII.
1536
1537   4.6-3 Failure to Request Reinstatement: Failure, without good cause, to request
1538       reinstatement shall be deemed a voluntary resignation from the Association and shall
1539       result in automatic termination of membership, privileges, and prerogatives. A



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1540      member whose membership is automatically terminated shall be entitled to the
1541      procedural rights provided in Article VII for the sole purpose of determining whether
1542      the failure to request reinstatement was unintentional or excusable, or otherwise. A
1543      request for Association membership subsequently received from a member so
1544      terminated shall be submitted and processed in the manner specified for applications
1545      for initial membership.
1546
1547   4.6-4 Medical Leave of Absence: The Executive Committee shall determine the
1548       circumstances under which a particular Association member shall be granted a leave
1549       of absence for the purpose of obtaining treatment for a medical condition or
1550       disability. In the discretion of the Executive Committee, unless accompanied by a
1551       reportable restriction of privileges, the leave shall be deemed a “medical leave”
1552       which is not granted for a medical disciplinary cause or reason.
1553
1554   4.6-5 Military Leave of Absence: Requests for leave of absence to fulfill military service
1555       obligations shall be granted upon notice and review by the Executive Committee.
1556       Reactivation of membership and clinical privileges previously held shall be granted,
1557       notwithstanding the provisions of Sections 4.6-2 and 4.6-3, but may be granted
1558       subject to monitoring and/or proctoring as determined by the Executive Committee.
1559
1560   4.7 CONFIDENTIALITY
1561
1562   To maintain confidentiality and to assure the unbiased performance of appointment and
1563   reappointment functions, participants in the credentialing process shall limit their
1564   discussion of the matters involved to the formal avenues provided in these bylaws and
1565   rules and regulations for processing applications for appointment and reappointment.
1566
1567
1568                                                 ARTICLE V
1569
1570                                           CLINICAL PRIVILEGES
1571
1572   5.1 DELINEATION OF CLINICAL PRIVILEGES
1573
1574   5.1-1 Exercising Only Privileges Granted: Every practitioner who practices at the
1575       Medical Center by virtue of Association membership or otherwise, shall be entitled to
1576       exercise only those clinical privileges specifically granted to him/her by the
1577       Governing Body, except as provided in Sections 5.2, 5.4 and 5.5. All such clinical
1578       privileges shall be hospital and site specific, shall be within the scope of the license
1579       to practice in the State of California and consistent with any restrictions thereon, and
1580       shall be subject to the rules and regulations and/or policies of the clinical department
1581       and the authority of the department chair and the Association.
1582
1583   5.1-2 Request for Privileges: Every initial application for appointment and every
1584       application for reappointment to Association membership must contain a request for
1585       the specific clinical privileges desired by the applicant.
1586
1587   5.1-3 Bases for Privileges Determination: The evaluation of such requests shall be
1588       based upon documentation and verification, with primary references whenever
1589       possible, of the applicant's current California licensure or Section 2113 certification,
1590       board certification, current Drug Enforcement Administration certification (for


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1591      physicians, dentists and podiatrists, in order to qualify for certain privileges to
1592      prescribe restricted medications), education, training, current experience,
1593      demonstrated current competence, references, current adequate health status, an
1594      appraisal by the department in which privileges are sought, clinical performance at
1595      the Medical Center, the documented results of patient care and other quality review
1596      and monitoring which the Association deems appropriate, and other relevant
1597      information. Privilege determinations may also be based on pertinent information
1598      concerning clinical performance obtained from other hospitals and health care
1599      settings where the applicant exercises clinical privileges. It shall be the applicant's
1600      responsibility to obtain all required information. The applicant shall have the burden
1601      of establishing his/her qualifications and competency in the requested clinical
1602      privileges. No specific privilege may be granted to an applicant if the task, procedure
1603      or activity constituting the privilege is not available within the Medical Center despite
1604      the applicant’s qualifications or ability to perform the requested privilege.
1605
1606   5.1-4 Additional Privileges: Applications for additional clinical privileges shall be in
1607       writing on the prescribed form. Such applications shall be processed in the same
1608       manner as applications for initial appointment in accordance with Sections 4.2 and
1609       4.3 and must be supported by documentation of training and/or current experience
1610       supportive of the request. Such individuals shall be subject to the proctoring
1611       requirements described in Section 5.3.
1612
1613   5.1-5 Reevaluation of Privileges: Periodic redetermination of clinical privileges and the
1614       increase or curtailment of same shall be based, in part, upon the observation of care
1615       provided, review of the records of patients treated in the Medical Center or other
1616       hospitals, and review of the records of the Association which document the
1617       evaluation of the member's participation in the delivery of health care.
1618
1619   5.1-6 Admitting Privileges: Privileges to admit patients must be specifically requested
1620       and can be granted only to qualified practitioners meeting the clinical criteria for
1621       admitting privileges. Admitting privileges are not limited and shall not be exclusive to
1622       Medical Center employees, members with Medical Center contracts, or to any single
1623       specialty.
1624
1625   5.1-7 Cross-Specialty Privileges: Any request for clinical privileges that are either new
1626       to the Medical Center or that overlap more than one department shall initially be
1627       reviewed by the appropriate departments, in order to establish the need for, and
1628       appropriateness of, the new procedure or services. The Executive Committee,
1629       through the Credentials Committee, shall facilitate the establishment of hospital-wide
1630       credentialing criteria for new or trans-specialty procedures, with the input of all
1631       appropriate departments, with a mechanism designed to ensure that quality patient
1632       care is provided for by all individuals with such clinical privileges. In establishing the
1633       criteria for such clinical privileges, the Executive Committee may establish an ad-hoc
1634       committee with representation from all appropriate departments. Such hospital-wide
1635       credentialing criteria shall be submitted to the Credentials Committee for
1636       recommendation to the Executive Committee.
1637
1638   5.1-8 Privileges for Dentists and Oral and Maxillofacial Surgeons: Privileges granted
1639       to duly licensed dentists and oral and maxillofacial surgeons shall be based on their
1640       training, current experience, and demonstrated current competence and judgment.
1641       The scope and extent of surgical procedures that each dentist and oral and


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1642      maxillofacial surgeon may perform shall be specifically delineated and granted in the
1643      same manner as all surgical privileges including, but not limited to, performance of
1644      admission history and physical examination if training is provided for this. Surgical
1645      procedures performed by dentists or oral and maxillofacial surgeons shall be under
1646      the overall supervision of the Chief of the Division of Oral and Maxillofacial Surgery
1647      in the Department of Surgery. A history and physical of all dental patients covering
1648      the area of concern shall be performed by the admitting dentist or oral and
1649      maxillofacial surgeon. All dental patients shall receive the same basic medical
1650      appraisals as patients admitted to other surgical services, except that qualified oral
1651      and maxillofacial surgeons who admit patients without medical problems may
1652      perform the history and physical examination on these patients, if such oral and
1653      maxillofacial surgeons have such privileges, and may assess the medical risks of the
1654      proposed surgical procedures. A physician member of the Association shall be
1655      responsible for the care of any medical problem that may be present at the time of
1656      admission, during hospitalization, or at any other time at the Medical Center, and
1657      such physician member's judgment in this regard shall take precedent over the
1658      judgment of the dentist member.
1659
1660   5.1-9 Privileges for Podiatrists: Privileges granted to duly licensed podiatrists shall be
1661       based on their training, current experience, and demonstrated current competence
1662       and judgment. In making its recommendation, the Executive Committee may
1663       consider the need for podiatry services which either are not presently being provided
1664       by other members of the Association or may be provided in the Medical Center
1665       without disruption of existing services. The scope and extent of medical or surgical
1666       procedures that each podiatrist may perform shall be specifically delineated and
1667       granted in the same manner as all other medical or surgical privileges. Procedures
1668       performed by podiatrists shall be under the overall supervision of the chair of the
1669       department in which their privileges were granted. All podiatric patients shall receive
1670       the same basic medical appraisals as patients admitted to other medical or surgical
1671       services. When a podiatrist who does not hold history and physical privileges admits
1672       a patient, a physician member of the Association, who has been granted privileges to
1673       perform a history and physical examination, shall do so. A physician member of the
1674       Association shall be responsible for the care of any medical problem that may be
1675       present at the time of admission, during hospitalization, or at any other time at the
1676       Medical Center, and such physician member's judgment in this regard shall take
1677       precedent over the judgment of the podiatrist member.
1678
1679   5.1-10 Privileges for Clinical Psychologists: Privileges granted to duly licensed
1680       clinical psychologists shall be based on their training, current experience, and
1681       demonstrated current competence and judgment and shall not include the
1682       prescribing of any medications. In making its recommendation, the Executive
1683       Committee may consider the need for clinical psychological services which are either
1684       not presently being provided by other members of the Association or which may be
1685       provided in the Medical Center without disruption of existing services. The scope
1686       and extent of services that each clinical psychologist may perform shall be
1687       specifically delineated and granted within any guidelines set forth by the Executive
1688       Committee. Psychologist services shall be under the overall supervision of the
1689       Chief, Division of Psychology in the Department of Psychiatry. A physician member
1690       of the Association shall be responsible for the care of any medical problem that may
1691       be present at the time of admission, during hospitalization, or at any other time at the
1692       Medical Center.


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1693
1694   5.1-11 Dissemination of Privilege List: Documentation of current privileges (granted,
1695       modified, or rescinded) shall be disseminated to, or otherwise immediately
1696       accessible electronically to, the Medical Center’s Nursing Office, the Operating
1697       Room, diagnostic/therapeutic procedure areas, nursing stations for all inpatient units,
1698       and such other patient care areas as necessary to maintain an up-to-date listing of
1699       privileges for purposes of scheduling and monitoring to assure that practitioners are
1700       appropriately privileged to perform all services rendered.
1701
1702   5.2 TEMPORARY PRIVILEGES
1703
1704   Temporary privileges are allowed under two circumstances only:
1705
1706      1. when an applicant for new privileges has submitted a complete application that
1707         raises no concerns and is waiting for review and approval by the Executive
1708         Committee and the Governing Body; and
1709
1710      2. to address a patient care need.
1711
1712   For the purposes of this Section 5.2, “applicant for new privileges” includes an individual
1713   applying for clinical privileges at the Medical Center for the first time; an individual
1714   currently holding privileges who is requesting one or more additional privileges; and an
1715   individual who is in the reappointment/reprivileging process and is requesting one or
1716   more additional privileges.
1717
1718   5.2-1 Pending Application for Association Membership or Additional Privileges
1719
1720      Upon receipt of a completed and verified application for Association membership or
1721      for additional privileges, the Chief Executive Officer or his/her designee, upon the
1722      basis of information then available which may reasonably be relied upon as to the
1723      competence and ethical standing of the applicant and with the written concurrence of
1724      the chair of the concerned department and the President, or their designees, may
1725      grant temporary clinical privileges to the applicant, but in exercising such privileges,
1726      the applicant shall act under the supervision of the chair of the department to which
1727      he/she is assigned. Such temporary privileges should not exceed a period of one
1728      hundred and twenty (120) days in duration and shall terminate immediately if the
1729      applicant’s membership application or the member’s request for additional privileges
1730      is withdrawn.
1731
1732   5.2-2 Care of Specific Patient by Non-Applicant for Association Membership
1733
1734      Upon receipt of a completed application for temporary clinical privileges, including
1735      without limitation, a specific list of desired clinical privileges, and verification that the
1736      practitioner has a current California license or Section 2113 certification, and, except
1737      in dire emergencies where no qualified Association member is immediately available
1738      and where delay will likely result in harm to the patient, verification of his/her current
1739      state driver’s license or passport or equivalent identification, current Drug
1740      Enforcement Administration certificate (for physicians, dentists and podiatrists in
1741      order to qualify for certain privileges to prescribe restricted medications), National
1742      Practitioner Data Bank report, and status as not excluded or suspended or pending
1743      exclusion or suspension as a provider of services to Medicare, Medicaid or any other


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1744      federally-reimbursed health services program, the Chief Executive Officer or his/her
1745      designee, with the written concurrence of the chair of the concerned department and
1746      the President, or their designees, may, upon the basis of information then available
1747      which may reasonably be relied upon as to the current competence and ethical
1748      standing of the applicant, grant temporary clinical privileges for the care of a specific
1749      patient to a practitioner who is not an applicant for Association membership. If the
1750      available information is inconsistent or casts reasonable doubts on the applicant’s
1751      qualifications, action on the request for temporary privileges may be deferred until
1752      the doubts have been satisfactorily resolved. Such temporary privileges, when
1753      granted, should not exceed a period of thirty (30) days in duration.
1754
1755   5.2-3 Patient Care Need by Non-Applicant for Association Membership
1756
1757      Upon receipt of a completed application for temporary clinical privileges, including,
1758      without limitation, a specific list of desired clinical privileges, and verification of
1759      his/her education, training, current California licensure or Section 2113 certification,
1760      current state driver’s license or passport or equivalent identification, current Drug
1761      Enforcement Administration certificate (for physicians, dentists and podiatrists in
1762      order to qualify for certain privileges to prescribe restricted medications), National
1763      Practitioner Data Bank report, status as not excluded or suspended or pending
1764      exclusion or suspension as a provider of services to Medicare, Medicaid or any other
1765      federally-reimbursed health services program, current experience, current
1766      competence, at least one (1) reference who has recently worked with the applicant,
1767      has directly observed the applicant’s professional performance over a reasonable
1768      time, and provides reliable information regarding the applicant’s current professional
1769      competence to perform the privileges requested, ethical character, and ability to work
1770      well with others so as not to adversely affect patient care, and other qualifying
1771      information submitted by primary sources, whenever possible, and where the
1772      temporary clinical privileges will fulfill an important patient care, treatment and
1773      service need, the Chief Executive Officer or his/her designee may, with the written
1774      concurrence of the chair of the concerned department and the President or their
1775      designees, grant temporary clinical privileges to fulfill an important patient care need
1776      to a practitioner who is not an applicant for Association membership. If the available
1777      information is inconsistent or casts reasonable doubts on the applicant’s
1778      qualifications, action on the request for temporary privileges may be deferred until
1779      the doubts have been satisfactorily resolved. Such temporary privileges, when
1780      granted, should not exceed a period of thirty (30) days in duration.
1781
1782
1783   5.2-5 Visiting Faculty
1784
1785         5.2-5.1 Upon receipt of a completed application for temporary clinical privileges,
1786             including, without limitation, a specific list of desired clinical privileges, and
1787             verification of his/her education, training, current California licensure or
1788             Section 2113 certification, current state drivers license or passport or
1789             equivalent identification, current Drug Enforcement Administration certificate
1790             (for physicians, dentists and podiatrists in order to qualify for certain privileges
1791             to prescribe restricted medications), National Practitioner Data Bank report,
1792             status as not excluded or suspended or pending exclusion or suspension as a
1793             provider of services to Medicare, Medicaid or any other federally-reimbursed
1794             health services program, current experience, current competence, and other


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1795             qualifying information submitted by primary sources, whenever possible, and a
1796             written recommendation from the President and the chair of the appropriate
1797             department stating the applicant's credentials and qualifications and the
1798             purpose for which temporary clinical privileges are requested, the Governing
1799             Body may grant temporary clinical privileges to a visiting faculty member who
1800             is not an applicant for Association membership, to the degree permitted by
1801             his/her license, for a period not to exceed thirty (30) days. Visiting faculty shall
1802             consist of faculty members of other universities who are visiting the
1803             Professional Schools.
1804
1805         5.2-5.2 For out-of-state practitioners who are guests of the Professional School
1806             and Medical Center by invitation and whose purpose is to engage in
1807             professional education through lectures, clinics or demonstrations, in
1808             accordance with Section 2060 of the California Business and Professions
1809             Code, such practitioners must be licensed in the state or country of their
1810             residence and must submit to the Association Office a request for temporary
1811             privileges for the specific activities desired. After verification of the same
1812             information as required in paragraph Section 5.2-5.1 as applicable, including
1813             current licensure in the state or country of their residence and with the
1814             concurrence of the President and the chair of the concerned department, the
1815             Governing Body may grant such visiting faculty temporary clinical privileges to
1816             perform the desired activities.
1817
1818   5.2-6 Monitoring
1819
1820      Special requirements of supervision, observation and reporting may be imposed by
1821      the chair of the concerned department on any practitioner granted temporary
1822      privileges. Temporary privileges shall be immediately terminated by the Governing
1823      Body upon notice of any failure by the practitioner to comply with any such special
1824      requirements.
1825
1826   5.3 PROCTORING
1827
1828   5.3-1 New Members: Except as otherwise determined by the Executive Committee, all
1829       initial members to the Association shall be subject to a period of proctoring.
1830
1831   5.3-2 New Privileges of Existing Members: All members granted new clinical
1832       privileges shall be subject to a period of proctoring, in accordance with departmental
1833       rules and regulations or policies including at least two proctored cases for each new
1834       privilege granted within six months.
1835
1836   5.3-3 Advancement from Proctoring Requirement: The member shall remain subject
1837       to such proctoring until the Executive Committee has been furnished with
1838
1839         5.3-3.1 a report signed by the chair of the department to which the member is
1840             assigned describing the types and numbers of cases observed and the
1841             evaluation of the applicant’s performance, including a statement certifying that
1842             the applicant appears to meet all of the qualifications for unsupervised practice
1843             in that department, has discharged all of the responsibilities of Association
1844             membership, and has not exceeded or abused the prerogatives of the
1845             category to which membership was granted;


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1846
1847         5.3-3.2 a report signed by the chair of the other department(s) in which the
1848             member may exercise clinical privileges, describing the types and number of
1849             cases observed and the evaluation of the applicant’s performance, including a
1850             statement certifying that the member has satisfactorily demonstrated the
1851             ability to exercise the clinical privileges initially granted in those departments;
1852             and
1853
1854         5.3-3.3 a report from the Credentials Committee with a recommendation regarding
1855             completion of proctoring.
1856
1857   5.3-4 Failure to Successfully Complete Proctoring: If a new member fails within the
1858       time of provisional membership to furnish the certification required, or if a member
1859       exercising new clinical privileges fails to furnish such certification within the time
1860       allowed by the department, those specific clinical privileges shall automatically
1861       terminate, and the member shall be entitled to a hearing, upon request, pursuant to
1862       Article VII.
1863
1864   5.4 EMERGENCY PRIVILEGES
1865
1866
1867   In case of an emergency involving a specific patient, any practitioner who is a member of
1868   the Association or who holds a County Civil Service classified position and to the degree
1869   permitted by his/her license and regardless of service or Association status or lack of
1870   same, shall be permitted and assisted to do everything possible to save the life of a
1871   patient or to save a patient from serious harm, using every facility of the Medical Center
1872   necessary, including, but not limited to, calling for any consultation necessary or
1873   desirable. The member shall make every reasonable effort to communicate promptly
1874   with the department chair concerning the need for emergency care and assistance by
1875   members of the Association with appropriate clinical privileges, and once the emergency
1876   has passed or assistance has been made available, shall defer to the department chair
1877   with respect to further care of the patient at the Medical Center. When an emergency
1878   situation no longer exists, the emergency privileges of such practitioner shall
1879   automatically terminate. For the purpose of this section 5.4, an "emergency" is defined
1880   as a condition in which a patient is in imminent danger of serious or permanent harm or
1881   death and any delay in administering treatment would add to that danger.
1882
1883   5.5 DISASTER PRIVILEGES
1884
1885   5.5-1 In the case of a disaster where the Chief Medical Officer or the Chief Executive
1886       Officer, or their designees, has activated the Medical Center’s Emergency
1887       Management Plan, the President, the Vice President, or, in their absence, a
1888       department chair, the Chief Medical Officer, the Chief Executive Officer or the Chief
1889       Executive Officer’s designee, for an individual who indicates a willingness to provide
1890       patient care at the Medical Center during the disaster, may 1) grant emergency
1891       clinical privileges (“disaster privileges”) to any licensed physician, podiatrist, clinical
1892       psychologist, or dentist, to the degree permitted by his/her license, who does not
1893       possess privileges at the Medical Center, or 2) permit any allied health professional
1894       to work under a currently approved standardized procedure for which he/she meets
1895       the qualifications.
1896


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1897   5.5-2 In order for a volunteer practitioner to be considered eligible to act as a licensed
1898       independent practitioner, the organization obtains for each volunteer practitioner, at a
1899       minimum, a valid government-issued photo identification issued by a state or federal
1900       agency (e.g., driver’s license or passport) and at least one (1) of the following:
1901
1902          5.5-2.1 a current picture hospital identification card identifying professional
1903             designation;
1904
1905          5.5-2.2   a current license to practice;
1906
1907          5.5-2.3 identification indicating that the presenting practitioner is a member of a
1908             Disaster Medical Assistance Team, Medical Reserve Corps (MRC) or the
1909             Emergency System for Advance Registration of Volunteer Health
1910             Professionals (ESAR-VHP) or other recognized state or federal organizations
1911             or groups;
1912
1913          5.5-2.4 identification indicating that the presenting practitioner has been granted
1914             authority to render patient care in disaster circumstances, such authority
1915             having been granted by a federal, state, or municipal entity, or
1916
1917          5.5-2.5 presentation by current Association member(s) or Medical Center staff
1918             with personal knowledge regarding the presenting practitioner’s identity.
1919
1920   5.5-3 Disaster privileges or permission to work under a standardized procedure may be
1921       granted on a case-by-case basis following a review of the above documentation and
1922       other requested information, if any. In exercising disaster privileges or working under
1923       a standardized procedure, a practitioner shall act under the supervision of the chair
1924       of the department to which he/she is assigned and, if possible, shall be paired with
1925       an Association member or allied health professional who has a similar specialty. An
1926       initial grant of disaster privileges or permission to work under a standardized
1927       procedure is reviewed by a person authorized to grant disaster privileges or
1928       permission to work under a standardized procedure within 72 hours to determine
1929       whether the disaster privileges or permission to work under a standardized procedure
1930       should be continued. When the disaster no longer exists, as determined by the Chief
1931       Executive Officer or his/her designee, in consultation with the Chief Medical Officer,
1932       a practitioner’s disaster privileges or permission to work under a standardized
1933       procedure shall automatically terminate, and the practitioner must request the
1934       privileges necessary to continue to treat patients and shall defer to the appropriate
1935       department chair with respect to further care of patients. In addition, the Chief
1936       Executive Officer or his/her designee, on his/her own initiative or upon the
1937       recommendation of the President, the Chief Medical Officer, or the chair of the
1938       concerned department, may terminate immediately a practitioner’s disaster privileges
1939       or permission to work under a standardized procedure for any reason or no reason at
1940       all, and the practitioner shall not be entitled to a hearing and appellate review under
1941       Article VII.
1942
1943   5.5-4 Current professional licensure of those providing care under disaster privileges or a
1944       standardized procedure is verified from the primary source as soon as the immediate
1945       emergency situation is under control or within 72 hours from the time the volunteer
1946       licensed independent practitioner presents him- or herself to the Medical Center,
1947       whichever comes first. If primary source verification cannot be completed within 72


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1948         hours of the practitioner's arrival due to extraordinary circumstances, the Medical
1949         Center documents all of the following:
1950
1951            5.5-4.1 The reason[s] verification could not be performed within 72 hours of the
1952               practitioner's arrival;
1953            5.5-4.2 Evidence of the licensed independent practitioner's demonstrated ability
1954               to continue to provide adequate care, treatment and services; and
1955            5.5-4.3 Evidence of an attempt to perform primary source verification as soon as
1956               possible.
1957
1958   5.5-5 Licensed independent providers granted disaster privileges or permission to work
1959       under a standardized procedure shall be provided with “volunteer” identification
1960       badges through procedures described in Medical Center policies.
1961
1962   5.5-6 Members of the Association shall oversee those granted disaster privileges or
1963       permission to work under a standardized procedure. If possible, the licensed
1964       independent practitioner granted disaster privileges or permission to work under a
1965       standardized procedure should be paired with a member of the Association or an
1966       allied health professional who has a similar specialty, and this pairing shall be
1967       documented.
1968
1969   5.6 HISTORY AND PHYSICAL PRIVILEGES
1970
1971   5.6-1 Histories and physicals can be conducted or updated and documented only
1972       pursuant to specific privileges granted upon request to qualified physicians and other
1973       practitioners who are members of the Association or have been granted such
1974       privileges through the Interdisciplinary Practices Committee or are seeking
1975       temporary privileges acting within their scope of practice.
1976
1977   5.6-2 Oral and maxillofacial surgeons who have successfully completed a postgraduate
1978       program in oral and maxillofacial surgery accredited by a nationally recognized
1979       accrediting body approved by the U.S. Office of Education and have been determined
1980       by the Association to be competent to do so, may be granted the privileges to perform a
1981       history and physical examination related to oral and maxillofacial surgery. For patients
1982       with existing medical conditions or abnormal findings beyond the surgical indications, a
1983       physician member of the Association with history and physical privileges must conduct
1984       or directly supervise the admitting history and physical examination, except the portion
1985       related to oral and maxillofacial surgery, and assume responsibility for the care of the
1986       patient’s medical problems present at the time of admission or which may arise during
1987       hospitalization which are outside of the oral and maxillofacial surgeon’s lawful scope of
1988       practice.
1989
1990   5.6-3 Every patient receives a history and physical within twenty-four (24) hours after
1991       admission, unless a previous history and physical performed within thirty (30) days of
1992       admission (or registration if an outpatient procedure) is on record, in which case that
1993       history and physical will be updated within twenty-four (24) hours after admission. If the
1994       patient is having surgery or a procedure requiring anesthesia within the first twenty-four
1995       (24) hours after admission, the admission history and physical or update must be
1996       performed prior to the procedure.
1997
1998   5.7     TELEMEDICINE PRIVILEGES


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1999
2000   5.7-1 Definition of Telemedicine
2001
2002      Telemedicine involves the use of electronic communication or other communication
2003      technologies to provide or support clinical care to patients located at a distant site.
2004      Practitioners who render a diagnosis or otherwise provide clinical treatment to a
2005      patient at this Medical Center by telemedicine are subject to the Association
2006      credentialing and privileging processes.
2007
2008   5.7-2 Services
2009
2010      Services provided by telemedicine shall be identified by each specific department.
2011
2012   5.7-3 Qualifications
2013
2014      In order to qualify for telemedicine privileges, the practitioner must meet all the
2015      requirements set forth in the Bylaws and Rules for privileges (either temporary or
2016      granted in connection with membership).
2017
2018   5.8 ORGAN HARVEST TEAMS
2019
2020      Properly licensed practitioners who individually, or as members of a group or entity,
2021      have contracted with the Medical Center to participate in organ harvesting activities
2022      may perform such activities within the scope of their agreement with the Medical
2023      Center.
2024
2025   5.9 MODIFICATION OF CLINICAL PRIVILEGES OR DEPARTMENT ASSIGNMENT
2026
2027      On its own, upon recommendation of the Credentials Committee, or pursuant to a
2028      request under Section 4.5, the Executive Committee may recommend a change in the
2029      clinical privileges or department assignment(s) of a member. The Executive
2030      Committee may also recommend that the granting of additional privileges to a current
2031      Association member be made subject to monitoring in accordance with procedures
2032      similar to those outlined in Section 5.3.
2033
2034   5.10 LAPSE OF APPLICATION
2035
2036      If an Association member requesting a modification of clinical privileges or
2037      department assignments fails to timely furnish the information reasonably necessary
2038      to evaluate the request, the application shall automatically lapse, and the applicant
2039      shall not be entitled to a hearing as set forth in Article VII.
2040
2041                                                ARTICLE VI
2042
2043                                EVALUATION AND CORRECTIVE ACTION
2044
2045   6.1 PEER REVIEW
2046
2047   Peer review, fairly conducted, is essential to preserving the highest standards of medical
2048   practice.
2049


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2050   6.1-1 Evaluation of Applicants
2051
2052      All applicants are evaluated for membership and privileges using only those
2053      Association peer review criteria adopted consistent with these bylaws, and applied
2054      exclusively through the processes established in these bylaws. The Association’s
2055      peer review process is part of the Medical Center’s Patient Safety Evaluation System
2056      and is therefore afforded the legal protections provided by the Patient Safety and
2057      Quality Improvement Act of 2005 and California Peer Review protection, including
2058      Evidence Code Section 1157.
2059
2060   6.1-2 Ongoing Professional Practice Evaluation
2061
2062          6.1-2.1 Members are Subject to Evaluation: All members are subject to
2063              evaluation based on Association peer review criteria, adopted consistent with
2064              these bylaws. Evaluation results are used in privileging, system improvement
2065              and, when warranted, corrective action.
2066
2067          6.1-2.2 Peer Review Criteria: Except as otherwise provided for in these Bylaws,
2068              departments shall develop and routinely update peer review criteria based on
2069              current practices and standards of care, which shall be the primary criteria
2070              used in evaluating those applying for membership and privileges and the
2071              performance of members and privileges holders. “Patient satisfaction” survey
2072              responses shall not be used to evaluate professionals for membership or
2073              privileging unless the methodology used is considered reliable by the
2074              Association. Included in the departmental peer review criteria are the types
2075              of data to be collected for evaluation. In addition, complaints and concerns
2076              are analyzed in light of the department peer review criteria using mechanisms
2077              determined by the department. Departments shall, where relevant, collect
2078              and evaluate department members’ data pertaining to:
2079
2080               6.1-2.2-a Operative and other clinical procedure(s) performed and their
2081                   outcomes;
2082
2083               6.1-2.2-b Patterns of blood and pharmaceutical usage;
2084
2085               6.1-2.1-c Requests for tests or procedures;
2086
2087               6.1-2.2-d Patterns of length of stay;
2088
2089               6.1-2.2-e Use of consultants;
2090
2091               6.1-2.2-f Morbidity and mortality;
2092
2093               6.1-2.2-g Complaints; and
2094
2095               6.1-2.2-h Findings from individual case review.
2096
2097              Each department shall add and update department-specific criteria at least
2098              annually for ongoing peer review of department members.
2099



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2100              Department criteria are approved by the Executive Committee through the
2101              Professional Performance Panel. Approved criteria as updated are made
2102              known and accessible to all members.
2103
2104          6.1-2.3 Circumstances Requiring Individual Case Peer Review:                  The
2105              circumstances requiring peer review of individual cases shall include, but not
2106              be limited to, cases of:
2107
2108                6.1-2.3-a significant patient injury or death;
2109
2110                6.1-2.3-b critical clinical events reported to Risk Management;
2111
2112                6.1-2.3-c unexpectedly adverse outcomes given severity of illness;
2113
2114                6.1-2.3-d performance of a procedure for an inappropriate reason;
2115
2116                6.1-2-3-e failure to follow Medical Center or Association policy or
2117                     Association bylaws and rules and regulations with potential harm to a
2118                     patient;
2119
2120                6.1-2.3-f significant patient or staff complaint/grievance concerning an
2121                     individual patient;
2122
2123                6.1-2.3-g disruptive or inappropriate conduct or activities as described in
2124                     Section 2.5-2.
2125
2126                6.1-2.3-h concerns raised by third-party payers or regulatory agencies; and
2127
2128                6.1-2.3-i specific cases meeting hospitalwide quality improvement clinical
2129                     indicators.
2130
2131            No final adverse determination of the quality of care of an individual patient
2132            attributed to a practitioner will be made until that practitioner has had an
2133            opportunity to provide input.
2134
2135   6.1-3 Focused Professional Practice Evaluation
2136
2137          6.1-3.1 Definition
2138
2139             Focused professional practice evaluation (FPPE) is a process initiated when
2140             the conclusions from individual case review or ongoing professional practice
2141             evaluation raise questions or concerns regarding a practitioner’s ability to
2142             provide safe, high quality patient care. The proctoring program, for initial and
2143             new privileges, is a component of the FPPE process.
2144      .
2145             FPPE is not considered an investigation as defined in these Bylaws and is not
2146             subject to the requirements and procedures of the investigation process. If an
2147             FPPE results in a subsequent plan to perform an investigation, the process
2148             outlined in Section 6.2 shall be followed.
2149
2150          6.1-3.2 Initiation


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2151
2152          FPPE is initiated when any of the following criteria are met:
2153
2154            6.1-3.2-a When an Association member has been granted initial privileges
2155                or an existing Association member has been granted new privileges or
2156                is returning from a leave of absence. The proctoring policies described
2157                in these Bylaws and in individual department policies will be followed;
2158
2159            6.1-3.2-b When case review determines evidence of failed professional skill
2160                or judgment or a lack of practitioner knowledge;
2161
2162            6.1-3.2-c When patterns or trends of undesirable outcomes are associated
2163                with the practitioner; and
2164
2165            6.1-3.2-d When evidence exists of unprofessional conduct including
2166                inappropriate or disruptive behavior.
2167
2168          When any of the above criteria (other than paragraph a) occurs, an
2169          Association officer; a departmental chairperson; a division chief; a
2170          departmental quality improvement committee chairperson; the Chief Medical
2171          Officer; the Chair, Professional Performance Panel; a member of the
2172          Governing Body; the Director; or the Chief Medical Officer of Health Services
2173          may request that FPPE be initiated. A FPPE request should be sent to the
2174          chair of the department of the Association member or, if the subject of the
2175          review is a department chair, to the President.
2176
2177       6.1-3.3 Procedure and Reporting
2178
2179          FPPE may be conducted by the quality improvement committee of the
2180          practitioner’s department or by a special panel where membership is
2181          determined by the departmental chairperson or, if the subject of the FPPE is
2182          a departmental chairperson, by the President. The evaluation will be specific
2183          to the individual and requested privileges, if applicable, and may include
2184          direct observation. The review body may consider information from individual
2185          case reviews, analysis of aggregate data including, but not limited to, clinical
2186          indicators, outcomes and length of stay, and material submitted by the
2187          subject practitioner. The review body will provide a report to the
2188          departmental chairperson and the Chair, Professional Performance Panel
2189          within forty-five (45) days of the requested review. FPPE pursuant to
2190          paragraph 2a above which requires proctoring will be reported to the
2191          departmental chairperson within ninety (90) days of the granting of initial or
2192          new privileges and again prior to the completion of the practitioner’s 6-month
2193          provisional term Within fourteen (14) days of the receipt of the report, the
2194          department chairperson, or President, if the subject of the FPPE is a
2195          departmental chairperson, must make a determination as to whether further
2196          action is warranted, and this decision must be communicated to the Chair of
2197          the Professional Performance Panel. If corrective action is proposed, the
2198          President must also be so notified.
2199




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2200             All activities related to FPPE, except for proctoring of initial or newly granted
2201             privileges, will be reported to the Executive Committee as part of the
2202             department’s quarterly report.
2203        .
2204   6.1-4 External Peer Review
2205
2206      External peer review may be used as part of ongoing or focused professional practice
2207      evaluation to inform Association peer review as delineated under these bylaws. The
2208      Executive Committee, upon request from the Credentials Committee, a department
2209      chairperson, the Professional Performance Panel or the Medicolegal Committee, or
2210      upon its own accord, in evaluating or investigating an applicant, privilege holder, or
2211      member, may obtain external peer review in the following circumstances:
2212
2213        6.1-4.1 Committee or department review(s) that could affect an individual’s
2214            membership or privileges do not provide a sufficiently clear basis for action;
2215
2216        6.1-4.2 No current Association member can provide the necessary expertise in
2217            the clinical procedure or area under review;
2218
2219        6.1-4.3 To promote impartial peer review; and
2220
2221        6.1-4.4 Upon the reasonable request of the practitioner.
2222
2223   6.1-5 Results of Peer Review
2224
2225         6.1-5.1 Actions Resulting from Peer Review
2226
2227             Adverse information resulting from ongoing peer review of members
2228             according to the relevant department criteria and analyzed by the process
2229             established in these bylaws must be acted upon. The Association officers,
2230             department and committees may counsel, educate, issue letters of warning or
2231             censure, or recommend focused professional practice evaluation in
2232             accordance with Bylaws Section 6.1-3 in the course of carrying out their
2233             duties without initiating formal corrective action. Comments, suggestions and
2234             warnings may be issued orally or in writing. The practitioner shall be given an
2235             opportunity to respond in writing and may be given an opportunity to meet
2236             with the officer, department or committee. Any actions documented in writing
2237             shall be maintained in the member’s peer review file. Executive Committee
2238             approval is not required for such actions, although actions related to focused
2239             professional practice evaluation shall be reported to the Executive
2240             Committee. The actions shall not constitute a restriction of privileges or
2241             grounds for any formal hearing or appeal rights under Article VII of these
2242             Bylaws.
2243
2244             Resulting action can be, but is not limited to:
2245
2246                     6.1-5.1-a documenting in the member’s peer review file that the
2247                     member is performing well or within desired expectations;
2248
2249                     6.1-5.1-b identifying issues that require education, comments or
2250                     suggestions given orally or in writing;


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2251
2252                      6.1-5.1-c identifying issues that require a focused evaluation without
2253                      initiating formal corrective action;
2254
2255                      6.1-5.1-d recommending to the Executive Committee needed
2256                      changes in Medical Center systems to improve patient safety or the
2257                      quality of patient care; or
2258
2259                      6.1-5.1-e recommending corrective action under these bylaws.
2260
2261          6.1-5.2 Documentation
2262
2263             The fact of the peer review and any recommendations and determinations
2264             pertaining to the member shall be included in the member’s peer review file
2265             and dealt with according to these bylaws.
2266
2267   6.2 ROUTINE CORRECTIVE ACTION
2268
2269   6.2-1 Collegial Intervention
2270
2271          6.2.1.1 These bylaws encourages the use of progressive steps by Association
2272              leaders and Medical Center management, beginning with collegial and
2273              educational efforts, to address questions relating to an Association member’s
2274              clinical practice and/or professional conduct. The goal of these efforts is to
2275              arrive at voluntary, responsive actions by the individual to resolve questions
2276              that have been raised.
2277
2278          6.2-1.2 Collegial efforts may include, but are not limited to counseling, sharing of
2279              comparative data, monitoring, and additional training or education.
2280
2281          6.2-1.3 All collegial intervention efforts by Association leaders and Medical
2282              Center management are part of the Medical Center’s performance
2283              improvement and professional and peer review activities.
2284
2285          6.2-1.4 The relevant Association leader(s) shall determine whether it is
2286              appropriate to include documentation of collegial interventional efforts in an
2287              Association member’s credential file(s) and/or peer review file(s). The
2288              Association member will have an opportunity to review and respond in
2289              writing. The response shall be maintained in that member’s credential file(s)
2290              and/or peer review file(s) along with the original documentation.
2291
2292          6.2-1.5 Collegial intervention efforts are encouraged but are not mandatory, and
2293              shall be within the discretion of the appropriate Association and Medical
2294              Center management.
2295
2296          6.2-1.6 The President, in conjunction with the Chief Executive Officer or the Chief
2297              Medical Officer shall determine whether to direct that a matter be handled in
2298              accordance with another policy or to direct to the Executive Committee for
2299              further determination.
2300
2301   6.2-2 Minor Infractions


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2302
2303          6.2-2.1 The President, any Department Chair, the Executive Committee, or their
2304              respective designees shall be empowered, after an investigation, to take
2305              appropriate disciplinary action in connection with minor infractions. Such
2306              disciplinary action may include, but shall not be limited to, the issuance of a
2307              warning, a letter of reprimand or an admonition.
2308
2309          6.2-2.2 For the purposes of this Section 6.2-2, a "minor infraction" may be any
2310              activity or conduct which is lower than the standards or aims of the
2311              Association, but which would not ordinarily trigger a recommendation for the
2312              denial, reduction, suspension, revocation or termination of privileges or
2313              Association membership. A sanction imposed pursuant to this Section 6.2-2
2314              shall constitute grounds for a hearing under Article VII of these bylaws.
2315
2316          6.2-2.3 At the discretion of the President adverse actions imposed or
2317              implemented pursuant to this Section 6.2-2 may be reported to the Executive
2318              Committee with a copy transmitted to the Governing Body. If the Executive
2319              Committee determines that the violation is not a minor infraction, or that the
2320              intended disciplinary action is inappropriate and that other action is
2321              necessary, the Executive Committee may institute alternative disciplinary
2322              measures in accordance with this Section 6.2-2 or in accordance with other
2323              provisions of these bylaws.
2324
2325   6.2-3 Criteria for Initiation: Whenever reliable information indicates a practitioner with
2326       clinical privileges may have exhibited any act, statement, demeanor, or professional
2327       conduct, either within or outside the Medical Center, which is or is reasonably likely
2328       to be
2329
2330          6.2-3.1 detrimental to patient safety or to the delivery of quality patient care,
2331
2332          6.2-3.2 disruptive or deleterious to the operations of the Medical Center or
2333              improper use of Medical Center resources,
2334
2335          6.2-3.3 below applicable professional standards,
2336
2337          6.2-3.4 contrary to the Association’s bylaws, rules, regulations, or policies, or
2338
2339          6.2-3.5 unethical,
2340
2341      then an investigation or corrective action against such practitioner may be requested
2342      by any officer of the Association, by the chair of any department, by the chair of any
2343      standing committee of the Association, by the Chief Medical Officer, by the Chief
2344      Executive Officer, by the Chief Medical Officer of Health Services, by the Director, or
2345      by a member of the Governing Body, upon the complaint, request, or suggestion of
2346      any person.
2347
2348   6.2-4 Initiation: All requests for an investigation or corrective action shall be in writing,
2349       shall be made to the President or his/her designee, and shall be supported by
2350       reference to the specific activities or conduct which constitute the grounds for the
2351       request. If the Executive Committee initiates the request, it shall make an
2352       appropriate recording of the reason(s).


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2353
2354   6.2-5 Investigation:      If the Executive Committee concludes an investigation is
2355       warranted, it shall direct an investigation to be undertaken. The Executive
2356       Committee may conduct the investigation itself, assign the task to an appropriate
2357       Association officer or standing or ad hoc committee of the Association, or may
2358       forward such request to the chair of the department(s) wherein the practitioner has
2359       such privileges who, upon receipt of such request, shall immediately appoint an ad
2360       hoc committee to investigate the matter. The Executive Committee in its discretion
2361       may appoint practitioners who are not members of the Association as Ad-hoc Staff
2362       members of the Association for the sole purpose of serving on a standing or ad hoc
2363       committee. If the investigation is delegated to an officer, department chair or
2364       committee other than the Executive Committee, such officer, department chair or
2365       committee shall proceed with the investigation in a prompt manner and shall forward
2366       a written report of the investigation to the Executive Committee within thirty (30)
2367       days. The report may include recommendations for appropriate corrective action.
2368       The member shall be notified that an investigation is being conducted and the
2369       general nature of the charges against him/her and shall be given an opportunity to
2370       provide information in a manner and upon such terms as the investigating body
2371       deems appropriate. The individual or body investigating the matter may, but is not
2372       obligated to, conduct interviews with persons involved; however, such investigation
2373       shall not constitute a “hearing” as that term is used in Article VII nor shall the
2374       procedural rules with respect to hearings or appeals apply. A record of such
2375       interview(s) shall be made by the department or investigating body and included with
2376       its report to the Executive Committee. Despite the status of any investigation, at all
2377       times the Executive Committee shall retain authority and discretion to take whatever
2378       action may be warranted by the circumstances, including summary suspension,
2379       termination of the investigative process, or other action.
2380
2381   6.2-6 Corrective Action Against a Chair: Whenever the request for an investigation or
2382       corrective action is directed against the chair of a department, the Executive
2383       Committee shall appoint an ad hoc investigating committee which shall perform all
2384       the functions of the departmental ad hoc investigating committee as described in
2385       Section 6.2-5.
2386
2387   6.2-7 Executive Committee Action: Within sixty (60) days following the receipt of the
2388       investigating body's report, the Executive Committee shall take action upon the
2389       request for corrective action. In all cases, the affected practitioner shall be permitted
2390       to make an appearance at a reasonable time before the Executive Committee prior
2391       to its taking action on such request. This appearance shall not constitute a hearing,
2392       shall be preliminary in nature, and none of the procedures provided in these bylaws
2393       with respect to hearings shall apply thereto. A record of such appearance shall be
2394       made by the Executive Committee and included in its recommendation to the
2395       Governing Body. As soon as practicable after the conclusion of the investigation, the
2396       Executive Committee shall take action which may include, without limitation:
2397
2398          6.2-7.1   Rejection of the request for corrective action;
2399
2400          6.2-7.2 Deferring action for a reasonable time where circumstances warrant;
2401
2402          6.2-7.3 Referring the member to the Well-Being of Practitioners Committee for
2403              evaluation and follow-up as appropriate;


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2404
2405          6.2-7.4 Issuance of a letter of admonition, censure, reprimand, or warning,
2406              although nothing herein shall preclude a department chair from issuing
2407              informal written or oral warnings outside the corrective action process. In the
2408              event such letter is issued, the affected member may make a written
2409              response which shall be placed in the member’s peer review file in
2410              accordance with Section 15.8-6 of these bylaws;
2411
2412          6.2-7.5 Imposition of terms of probation or special limitations on continued
2413              Association membership or exercise of clinical privileges, including, but not
2414              limited to, a requirement for co-admission, mandatory consultation, or
2415              monitoring;
2416
2417          6.2-7.6 Recommending reduction, modification or revocation of clinical privileges;
2418
2419          6.2-7.7 Termination, modification, or ratification of an already imposed summary
2420              suspension of clinical privileges;
2421
2422          6.2-7.8 Recommending suspension of clinical privileges until satisfactory
2423              completion of specific conditions or requirements;
2424
2425          6.2-7.9 Recommending suspension of Association membership until satisfactory
2426              completion of specific conditions or requirement
2427
2428          6.2-7.10 Reductions of membership status, limitation of any prerogatives directly
2429              related to the member’s delivery of patient care,
2430
2431          6.2-7.11 Recommending revocation of Association membership; and
2432
2433          6.2-7.12 Taking other actions deemed appropriate under the circumstances.
2434
2435   6.2-8 Determination of Medical Disciplinary Action: If the Executive Committee takes
2436       any action that would give rise to a hearing pursuant to Article VII of these Bylaws, it
2437       shall also make a determination whether the action is a “medical disciplinary” action
2438       or an “administrative disciplinary” action. A medical disciplinary action is one taken
2439       for cause or reason that involves that aspect of a practitioner’s competence or
2440       professional conduct that is reasonably likely to be detrimental to patient safety or to
2441       the delivery of patient care. All other actions are deemed administrative disciplinary
2442       actions.
2443
2444      If the Executive Committee makes a determination that the action is medical
2445      disciplinary, it shall also determine whether the action is taken for any of the reasons
2446      required to be reported to the Medical Board of California pursuant to California
2447      Business & Professions Code Section 805.01.
2448
2449   6.2-9 Notification of Corrective Action and Action by the Governing Body: If
2450       corrective action as set forth in Sections 7.2-1 through 7.2-12 is recommended by
2451       the Executive Committee, that recommendation shall be transmitted to the Chief
2452       Medical Officer, the Chief Executive Officer, the chief Medical Officer of Health
2453       Services, the Director and the Governing Body. So long as the recommendation is
2454       supported by substantial evidence, the recommendation of the Executive Committee


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2455         shall be adopted by the Governing Body as final action unless the member requests a
2456         hearing, in which case the final decision shall be determined as set forth in Article VII.
2457
2458   6.2-10 Initiation by Governing Body: If the Governing Body determines that the
2459       Executive Committee has failed to initiate an investigation on a request for corrective
2460       action or to recommend disciplinary action, and that such failure is contrary to the
2461       weight of evidence, the Governing Body may direct the Executive Committee to
2462       initiate an investigation or recommend disciplinary action, but only after consultation
2463       with the Executive Committee and the Director. In the event the Executive
2464       Committee fails to take action in response to a direction from the Governing Body,
2465       the Governing Body, after notifying the Executive Committee and the Director in
2466       writing, shall have the authority to take action on its own initiative against the
2467       practitioner, but this corrective action must comply with Articles VI and VII of these
2468       Association Bylaws. If such action is favorable to the member, or constitutes an
2469       admonition, reprimand or warning to the member, it shall become effective as the
2470       final decision of the Governing Body.
2471
2472   6.3      SUMMARY RESTRICTION OR SUSPENSION
2473
2474   6.3-1 Initiation: The Executive Committee or, in its absence, the President or the chair
2475       or designee of the department(s) in which the member holds privileges may
2476       immediately suspend or restrict clinical privileges of a licentiate where the failure to
2477       take that action may result in an imminent danger to the health or safety of any
2478       individual, provided that the licentiate is subsequently provided with the special
2479       notice and hearing rights set forth in this Article below.
2480
2481   6.3-2 Initiation and Action by Governing Body: Notwithstanding any other provision
2482       of these bylaws, when no person or body authorized by these bylaws is available to
2483       summarily restrict or suspend clinical privileges, the Governing Body or its designee
2484       may temporarily restrict or suspend all or any portion of the clinical privileges of a
2485       practitioner where there is a substantial likelihood of imminent danger to the health of
2486       any person so long as the Governing Body has, before the restriction or suspension,
2487       made reasonable attempts to contact the President, members of the Executive
2488       Committee, and the appropriate department chair or designee. A summary
2489       restriction or suspension by the Governing Body which has not been ratified by the
2490       Executive Committee within two (2) working days (excluding weekends and holidays)
2491       after the restriction or suspension, shall automatically terminate.
2492
2493   6.3-3 Written Notice of Summary Restriction or Suspension: The written notice of
2494       restriction or suspension shall include a statement of facts demonstrating that the
2495       suspension was necessary because failure to restrict or suspend the practitioner’s
2496       privileges summarily could reasonably result in an imminent danger to the health of
2497       an individual and include a summary of one or more particular incidents giving rise to
2498       the assessment of imminent danger. The initial notice shall not substitute for, but is
2499       in addition to, the notice required under Section 7.3 (which applies in all cases where
2500       the Executive Committee does not immediately terminate the summary restriction or
2501       suspension). The notice under Section 7.3 may supplement the initial notice
2502       provided under this Section 6,3-3 by including any additional relevant facts
2503       supporting the need for summary restriction or suspension or other corrective action.
2504
2505   6.3-4 Executive Committee Action:              Within one (1) week after such summary


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2506      restriction or suspension, a meeting, by telephone or in person or in any combination
2507      of the two, of the Executive Committee (or a subcommittee appointed by the
2508      President) shall be convened on at least two (2) hours’ notice to review and consider
2509      the action. Upon request, the member may attend and make a statement concerning
2510      the issues under investigation, on such terms and conditions as the Executive
2511      Committee may impose, although in no event shall any meeting of the Executive
2512      Committee, with or without the member, constitute a “hearing” within the meaning of
2513      Article VII, nor shall any procedural rules apply. The Executive Committee may
2514      modify, continue, or terminate the summary restriction or suspension, but in any
2515      event it shall furnish the member with notice of its decision within two (2) working
2516      days of the meeting.
2517
2518   6.3-5 Procedural Rights: Unless the Executive Committee promptly terminates the
2519       summary restriction or suspension, the member shall be entitled to the procedural
2520       rights afforded by Article VII. In addition, the affected practitioner shall have the
2521       following rights:
2522
2523          6.3-5.1 Any practitioner who has properly requested a hearing under Article VII of
2524              the Association bylaws may request that the hearing be bifurcated, with the
2525              first part of the hearing being devoted exclusively to procedural matters,
2526              including the propriety of summary restriction or suspension. Along with any
2527              other appropriate requests for rulings, the affected practitioner may request
2528              that the Judicial Review Committee stay the summary restriction or
2529              suspension, pending the final outcome of the hearing and any appeal.
2530
2531          6.3-5.2 At the conclusion of the portion of the hearing concerning the propriety of
2532              summary restriction or suspension, the Judicial Review Committee shall
2533              issue a written opinion on the issues raised, including whether or not the facts
2534              stated in the written notice to the affected practitioner adequately support a
2535              determination that failure to summarily restrict or suspend could reasonably
2536              result in “imminent danger” to an individual. Such written opinion shall be
2537              transmitted to both the affected practitioner and the Executive Committee
2538              within one (1) week of the date of the hearing concerning the propriety of
2539              summary restriction or suspension.
2540
2541          6.3-5.3 If the Judicial Review Committee’s determination is that the facts stated
2542              in the notice required by Section 6.3-3 do not support a reasonable
2543              determination that failure to summarily restrict or suspend the practitioner’s
2544              privileges could result in imminent danger, the summary restriction or
2545              suspension shall be immediately stayed pending the outcome of the hearing
2546              and any appeal.
2547
2548   6.3-6 Transfer of Patient Care: Immediately upon the imposition of a summary
2549       restriction or suspension, the President or responsible department chair shall have
2550       authority to provide for alternative medical coverage for the patients of the restricted
2551       or suspended practitioner still in the Medical Center at the time of such restriction or
2552       suspension considering, where feasible, the wishes of the patients in the choice of a
2553       substitute member.
2554
2555   6.4 AUTOMATIC SUSPENSION
2556


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2557   6.4-1 General
2558
2559      In the circumstances described in Sections 6.4-2 through 6.4-8, a practitioner's
2560      Association membership and/or clinical privileges shall be terminated, suspended, or
2561      limited as described, which action shall be final and shall not be subject to a hearing
2562      or appellate review under Article VII, except where a bona fide dispute exists as to
2563      whether the circumstances have occurred or as required by law.
2564
2565   6.4-2 License
2566
2567         6.4-2.1 Revocation or Expiration: Whenever a practitioner's license or other
2568             legal credential authorizing him/her to practice in California is revoked or has
2569             expired, his/her Association membership and clinical privileges shall be
2570             immediately and automatically terminated.
2571
2572         6.4-2.2 Restriction: Whenever a practitioner's license or other legal credential
2573             authorizing him/her to practice in California is limited or restricted by the
2574             applicable licensing or certifying authority, those clinical privileges which
2575             he/she has been granted that are within the scope of such limitation or
2576             restriction, as determined by the Executive Committee, shall be immediately
2577             and automatically limited or restricted in a similar manner.
2578
2579         6.4-2.3 Suspension: Whenever a practitioner's license or other legal credential
2580             authorizing him/her to practice in California is suspended by the applicable
2581             licensing or certifying authority, his/her Association membership and clinical
2582             privileges shall be automatically suspended effective upon and for at least the
2583             term of the suspension.
2584
2585         6.4-2.4 Probation: If a practitioner’s license to practice in California is subject to
2586             probation by the applicable licensing or certifying authority, his/her applicable
2587             Association membership status and clinical privileges shall automatically
2588             become subject to the same terms and conditions of the probation effective
2589             upon and for at least the term of the probation.
2590
2591   6.4-3 Drug Enforcement Administration Certificate
2592
2593         6.4-3.1 Revocation, Limitation or Suspension: Whenever a practitioner's Drug
2594             Enforcement Administration certificate is revoked, limited or suspended,
2595             he/she shall immediately and automatically be divested of his/her right to
2596             prescribe medications covered by the certificate as of the date such action
2597             becomes effective and throughout its term.
2598
2599         6.4-3.2 Probation: Whenever a practitioner's Drug Enforcement Administration
2600             certificate is subject to probation, his/her right to prescribe medications
2601             covered by the certificate shall automatically become subject to the same
2602             terms of the probation effective upon and for at least the term of the
2603             probation.
2604
2605   6.4-4 Medical Records
2606



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2607      Members of the Association are required to complete medical records within such
2608      reasonable time as may be prescribed by the Executive Committee. A limited
2609      suspension in the form of withdrawal of admitting and other related privileges until
2610      medical records are completed, shall be imposed by the President or the President’s
2611      designee. Such suspension shall be imposed automatically beginning ten (10)
2612      working days after the mailing by certified mail, return receipt requested, or by
2613      personal service to the affected Association member, at his or her current address as
2614      documented in the Association Office. During this ten (10) day period, the affected
2615      Association member may explain any extenuating circumstances, including questions
2616      regarding the accuracy of the information regarding the incomplete medical records, to
2617      the President or the President’s designee who, in his/her discretion, may extend the
2618      period before the temporary suspension shall begin or lift the suspension. For the
2619      purpose of this Section 6.4-4, ‘related privileges’ include scheduling surgery, assisting
2620      in surgery, consulting on hospital cases, and providing professional services within the
2621      hospital for future patients. Bona fide vacation or illness may constitute an excuse
2622      subject to approval by the Executive Committee. Members whose privileges have
2623      been suspended for delinquent records may admit patients only in life-threatening
2624      situations. The suspension shall continue until lifted by the President or the President’s
2625      designee. Nothing in the foregoing shall preclude the implementation, by the
2626      Executive Committee, of a monetary fine for delinquent medical records.
2627
2628   6.4-5 Professional Liability Insurance
2629
2630      For any failure to maintain the programs of insurance as described in Article XVII, a
2631      practitioner's Association membership and clinical privileges shall be immediately
2632      and automatically suspended and shall remain suspended until the practitioner
2633      provides evidence satisfactory to the President that he/she has secured such
2634      programs of insurance in the amounts required. If the practitioner fails to provide
2635      such evidence within ninety (90) days after the date the automatic suspension
2636      became effective, then the practitioner shall be deemed to have voluntarily resigned
2637      his/her Association membership and clinical privileges as of the last date of such
2638      ninety (90) day period.
2639
2640      6.4-6 Failure to Pay Dues or Assessments
2641
2642      For any failure, without good cause as determined by the Executive Committee, to
2643      promptly pay annual dues or special assessments to the Association pursuant to
2644      these bylaws, a practitioner’s Association membership and clinical privileges shall be
2645      immediately and automatically suspended and shall remain suspended until the
2646      practitioner provides evidence satisfactory to the President that he/she has paid such
2647      dues in the amount required. If the practitioner fails to provide such evidence within
2648      three (3) months after written warnings of delinquency, the date the automatic
2649      suspension became effective, then the practitioner shall be deemed to have
2650      voluntarily resigned his/her Association membership and clinical privileges as of the
2651      last date of such three (3) month period.
2652
2653   6.4-6 Failure to Satisfy Special Attendance Requirement
2654
2655      Failure of a member without good cause to provide information or appear when
2656      requested by an Association committee as described in Section 12.9-4 shall result in
2657      referral to the Executive Committee for action, which may include automatic


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2658      suspension of all privileges. The automatic suspension shall remain in effect until the
2659      practitioner has provided requested information and/or satisfied the special
2660      attendance requirement which has been made by the Association committee.
2661
2662   6.4-8 Exclusion or Suspension from Participation in Federal or State Health
2663       Services Programs
2664
2665      If a practitioner is excluded or suspended from participation in the Medicare,
2666      Medicaid, or any other State or Federal health services program, his/her Association
2667      membership and clinical privileges shall be immediately and automatically
2668      terminated.
2669
2670   6.4-9 Executive Committee Deliberation
2671
2672      As soon as practicable after action is taken as described in Sections 6.4-2, 6.4-3,
2673      6.4-4, 6.4-5, 6.4-7 or 6.4-8, the Executive Committee shall convene to review and
2674      consider the facts upon which such action was predicated. The Executive
2675      Committee may request additional corrective action based upon information
2676      disclosed or otherwise made available, and, in such event, the corrective action
2677      process set forth in Section 6.2 shall be followed as to such additional corrective
2678      action. Except as to any such additional corrective action, the affected practitioner
2679      shall not be entitled to a hearing and appellate review under Article VII.
2680
2681   6.4-10 Notification of Automatic Suspension
2682
2683      Whenever a practitioner's clinical privileges are automatically suspended or
2684      restricted in whole or in part, notice of such suspension or restriction shall be given to
2685      the practitioner, the President, the Executive Committee, the Chief Medical Officer,
2686      the Chief Executive Officer, the Chief Medical Officer of Health Services, the Director
2687      and the Governing Body. However, the giving of such notice shall not be required in
2688      order for any automatic suspension or restriction to become effective. Upon the
2689      effective date of an automatic suspension or restriction, the President or the
2690      responsible department chair shall have the authority to provide for alternative
2691      medical coverage for the patients of the suspended or restricted practitioner still in
2692      the Medical Center at the time of such suspension or restriction.
2693
2694   6.5 EXHAUSTION OF REMEDIES
2695
2696   If any routine corrective action, summary suspension, or automatic suspension, as set
2697   forth in Sections 6.2, 6.3 and 6.4, is taken or recommended, the practitioner shall
2698   exhaust all the remedies afforded by these bylaws before resorting to any legal action.
2699
2700   6.6 CONFIDENTIALITY
2701
2702   To maintain confidentiality, participants in the corrective action process shall limit their
2703   discussion of the matters involved to the formal avenues provided in these Bylaws for
2704   peer review and discipline.
2705
2706
2707                                                 ARTICLE VII
2708


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2709                            HEARING AND APPELLATE REVIEW PROCEDURE
2710
2711   7.1 EXHAUSTION OF REMEDIES
2712
2713   If adverse action described in Section 7.2 is taken or recommended, the applicant or
2714   member must exhaust the remedies afforded by these bylaws before resorting to legal
2715   action.
2716
2717   7.2   GROUNDS FOR HEARING
2718
2719   Except as otherwise provided in these bylaws, any one or more of the following actions
2720   or recommended actions shall be deemed actual or potential adverse action and
2721   constitute grounds for a hearing:
2722
2723   7.2-1 Denial of Association membership;
2724
2725   7.2-2 Denial of requested advancement in Association membership category or
2726       membership status;
2727
2728   7.2-3 Denial of Association reappointment;
2729
2730   7.2-4 Involuntary demotion to lower Association membership category;
2731
2732   7.2-5 Suspension of Association membership;
2733
2734   7.2-6 Revocation of Association membership;
2735
2736   7.2-7 Denial of requested clinical privileges;
2737
2738   7.2-8 Involuntary reduction of current clinical privileges;
2739
2740   7.2-9 Suspension of clinical privileges;
2741
2742   7.2-10 Termination of clinical privileges;
2743
2744   7.2-11 Involuntary imposition of significant consultation or monitoring requirements
2745       (excluding monitoring incidental to provisional status and for new privileges); or
2746
2747   7.2-12 Any other action which requires a report to be made to the Medical Board of
2748       California or other appropriate State licensing agency.
2749
2750   7.3 NOTICE OF ACTION OR PROPOSED ACTION
2751
2752   In all cases in which action has been taken or a recommendation has been made as set
2753   forth in Section 7.2, the President or designee on behalf of the Executive Committee
2754   shall promptly give the applicant or member written notice of (1) the recommendation or
2755   final proposed action and that, except with respect to actions reported to Business &
2756   Professions Code §805.01, such action, if adopted, shall be taken and reported to the
2757   Medical Board of California and/or to the National Practitioner Data Bank if required; (2)
2758   the reasons for the proposed action including the acts or omissions with which the
2759   member is charged; (3) the right to request a hearing pursuant to Section 7.4, below and


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2760   that such hearing must be requested within thirty (30) days; and (4) a summary of the
2761   rights granted in the hearing pursuant to Article VII of these Bylaws. If the
2762   recommendation or final proposed action is reportable to the Medical Board of California
2763   and/or to the National Practitioner Data Bank, the written notice shall state the proposed
2764   text of the report(s).
2765
2766   7.4 REQUEST FOR HEARING
2767
2768   7.4-1 Response to Notice of Action: The applicant or member shall have thirty (30)
2769       days following receipt of such notice of such action or recommendation to request a
2770       Judicial Review Committee hearing. The request shall be in writing addressed to the
2771       Executive Committee. In the event the applicant or member does not request a
2772       hearing within the time and in the manner described, the applicant or member shall
2773       be deemed to have waived any right to a hearing and accepted the action or
2774       recommendation in question, which shall thereupon become final and binding.
2775
2776
2777   7.4-2 Action on Request for Hearing: Upon receipt of a request for a hearing, the
2778       Executive Committee shall schedule and arrange for a hearing. The date of the
2779       commencement of the hearing shall not be less than thirty (30) days nor more than
2780       sixty (60) days from the date of receipt of the request by the Executive Committee for
2781       a hearing; provided that when the request is received from a member who is under
2782       suspension which is then in effect, the hearing shall be held as soon as the
2783       arrangements may reasonably be made, so long as the member or applicant has at
2784       least thirty (30) days from the date of notice to prepare for the hearing or waives this
2785       right.
2786
2787   7.4-3 Notice of Hearing: Together with the notice stating the place, time and date of the
2788       hearing, the President or designee on behalf of the Executive Committee shall
2789       provide the reasons for the recommended action, including the acts or omissions
2790       with which the member is charged, a list of the charts in question, where applicable,
2791       and a list of the witnesses (if any) expected to testify at the hearing on behalf of the
2792       Executive Committee. The content of this list is subject to update pursuant to Section
2793       7.5, below.
2794
2795   7.4-4 Judicial Review Committee: When a hearing is requested, the Executive
2796       Committee shall appoint a Judicial Review Committee including the designation of
2797       the chair. The Judicial Review Committee shall be composed of not less than five
2798       (5) members of the Active Staff who shall be impartial, shall gain no direct financial
2799       benefit from the outcome, are not in direct economic competition with the involved
2800       practitioner, and shall not have acted as accusers, investigators, fact finders, initial
2801       decision makers or otherwise have not actively participated in the consideration of
2802       the matter involved at any previous level. Knowledge of the particular matter in
2803       question shall not preclude a member from serving as a member of the Judicial
2804       Review Committee. In the event it is not feasible to appoint a Judicial Review
2805       Committee entirely from the active staff, the Executive Committee may appoint
2806       members from other staff categories or practitioners who are not members of the
2807       Association. Of the Association members who serve on the Judicial Review
2808       Committee, at least one shall be a member who shall have the same healing arts
2809       licensure as the accused, and where feasible, the Committee shall also include an
2810       individual practicing the same specialty as the member.


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2811
2812   7.4-5 Failure to Appear: Failure, without a showing of good cause by the person
2813       requesting the hearing, to appear and proceed at such a hearing shall be deemed to
2814       constitute voluntary acceptance of the recommendations or actions involved which
2815       shall become final and effective immediately.
2816
2817   7.4-6 Postponements: Postponements and extensions of time beyond the time
2818       expressly permitted in these bylaws may be requested by anyone but shall be
2819       permitted by the Judicial Review Committee or the Hearing Officer acting upon its
2820       behalf only on a showing of good cause or upon agreement of the parties.
2821
2822   7.5 HEARING PROCEDURE
2823
2824   7.5-1 Prehearing Requests for Information: The applicant or Member shall have the
2825       right to inspect and copy at the applicant’s or Member's expense documents or other
2826       evidence upon which the charges are based, as well as all other evidence relevant to
2827       the charges which the peer review body has in its possession or under its control or
2828       which will be made available to the Judicial Review Committee, as soon as
2829       practicable after the receipt of the applicant’s or Member’s request for a hearing. The
2830       peer review body shall have the right to inspect and copy at the peer review body's
2831       expense any documentary information relevant to the charges which the applicant or
2832       Member has in his or her possession or control or which will be made available to the
2833       Judicial Review Committee as soon as practicable after receipt of the peer review
2834       body's request. The failure by either party to provide access to this information at
2835       least thirty (30) days before the hearing shall constitute good cause for a
2836       continuance. The right to inspect and copy by either party does not extend to
2837       confidential information referring solely to individually identifiable licentiates, other
2838       than the applicant or Member under review. The Hearing Officer shall consider and
2839       rule upon any request for access to information and may impose any safeguards the
2840       protection of the peer review process and justice requires. In so doing, the Hearing
2841       Officer shall consider:
2842
2843          7.5-1.1 whether the information sought may be introduced to support or defend
2844              the charges;
2845
2846          7.5-1.2 the exculpatory or inculpatory nature of the information sought, if any;
2847
2848          7.5-1.3 the burden imposed on the party in possession of the information sought,
2849              if access is granted; and
2850
2851          7.5-1.4 any previous requests for access to information submitted or resisted by
2852              the parties to the same proceeding.
2853
2854   7.5-2 Request for List of Witnesses: At the request of either side, the parties shall
2855       exchange lists of witnesses expected to testify. Failure to disclose the identity of a
2856       witness at least ten (10) days before the commencement of the hearing shall
2857       constitute good cause for a continuance.
2858
2859   7.5-3 Notification of Procedural Disputes: It shall be the duty of the person
2860       requesting the hearing and the Executive Committee or its designee to exercise
2861       reasonable diligence in notifying the chair of the Judicial Review Committee of any


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2862      pending or anticipated procedural disputes as far in advance of the scheduled
2863      hearing as possible, in order that decisions concerning such matters may be made in
2864      advance of the hearing. Objections to any prehearing decisions may be succinctly
2865      made at the hearing.
2866
2867   7.5-4 Representation by Legal Counsel: The hearings provided for in these bylaws
2868       are for the purpose of intraprofessional resolution of matters bearing on professional
2869       conduct, professional competency or character. The person requesting the hearing
2870       shall be entitled to representation by legal counsel, at his or her expense, in any
2871       phase of the hearing, if the individual so chooses. The applicant or Member must
2872       inform the Executive Committee of his/her choice to be represented by counsel in
2873       his/her request for the hearing. In the absence of legal counsel, the applicant or
2874       member shall be entitled to be accompanied by and represented at the hearing by a
2875       physician, dentist, podiatrist or clinical psychologist licensed in the State of California
2876       of the applicant’s or Member’s choosing. The Executive Committee shall not be
2877       represented by an attorney at law if the person requesting the hearing is not so
2878       represented.
2879
2880   7.5-5 Qualifications of Hearing Officer: The use of a Hearing Officer to preside at a
2881       hearing is mandatory. The Hearing Officer shall be an attorney at law, qualified to
2882       preside over a quasi-judicial hearing. Such Hearing Officer may not be from a firm
2883       regularly utilized by Los Angeles County, the Medical Center, the Association or the
2884       person requesting the hearing, for legal advice regarding their affairs. The Hearing
2885       Officer shall gain no direct financial benefit from the outcome and must not act as a
2886       prosecuting officer or as an advocate for any party.
2887
2888   7.5-6 Selection of Hearing Officer: The appointment of a Hearing Officer shall be by
2889       the Executive Committee, as follows:
2890
2891          7.5-6.1 Together with the notice of a hearing, the practitioner requesting the
2892              hearing shall be provided a list of at least three (3) but not more than five (5)
2893              potential Hearing Officers,
2894
2895          7.5-6.2 The practitioner shall have five (5) working days to accept any of the
2896              listed potential Hearing Officers or to propose at least three (3) but not more
2897              than five (5) other names of potential Hearing Officers.
2898
2899          7.5-6.3 If the practitioner is represented by legal counsel, the parties’ legal
2900              counsels may meet and confer in an attempt to reach accord in the selection
2901              of a Hearing Officer from the two parties’ lists.
2902
2903          7.5-6.4 If the parties are not able to reach agreement on the selection of a
2904              Hearing Officer within five (5) working days of receipt of the practitioner’s
2905              proposed list, the President shall select an individual from the composite list.
2906
2907   7.5-7 Hearing Officer’s Authority: The Hearing Officer shall be the presiding officer at
2908      the hearing. He/she shall preside over the voir dire process and may question panel
2909      members directly. The Hearing Officer shall endeavor to ensure that all participants
2910      in the hearing have a reasonable opportunity to be heard, to present relevant oral
2911      and documentary evidence in an efficient and expeditious manner, and that proper
2912      decorum is maintained. He/she shall be entitled to determine the order of or


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2913      procedure for presenting evidence and argument during the hearing. In addition to
2914      ruling on prehearing requests for information as described in Section 7.5-1, he/she
2915      shall have the authority and discretion, in accordance with these bylaws, to make all
2916      rulings on questions which pertain to matters of law and to the admissibility of
2917      evidence.
2918
2919      At the commencement of the hearing, the Hearing Officer may also apprise the
2920      Judicial Review Committee of its right to terminate the hearing due to the applicant’s
2921      or member’s failure to cooperate with the hearing process, but shall not
2922      independently make that determination or otherwise recommend such a termination.
2923
2924      If the Hearing Officer determines that either side in a hearing is not proceeding in an
2925      efficient and expeditious manner, the Hearing Officer may recommend that the Judicial
2926      Review Committee take such discretionary action as seems warranted by the
2927      circumstances including, but not limited to, setting fair and reasonable time limits on
2928      either side’s presentation of its case.
2929
2930      If requested by the Judicial Review Committee, the Hearing Officer may participate in
2931      the deliberations of such body and be a legal advisor to it, but he or she shall not be
2932      entitled to vote.
2933
2934   7.5-8 Challenging Impartiality of Judicial Review Committee and Hearing Officer:
2935      The parties shall be entitled to a reasonable opportunity to question and challenge
2936      the impartiality of Judicial Review Committee members and the Hearing Officer.
2937      Challenges to the impartiality of any Judicial Review Committee member or the
2938      Hearing Officer shall be ruled on by the Hearing Officer.
2939
2940   7.5-9 Judicial Review Committee Records: A shorthand reporter shall be present to
2941      make a record of the hearing proceedings as well as the pre-hearing proceedings if
2942      deemed appropriate by the Hearing Officer. The cost of attendance of the shorthand
2943      reporter shall be borne by the Medical Center, but the cost of the transcript, if any,
2944      shall be borne by the requesting party. Oral evidence shall be taken only on oath
2945      administered by any person lawfully authorized to administer such oath.
2946
2947   7.5-10 Rights of Both Sides at Hearing: Within reasonable limitations, both sides at
2948      the hearing shall be provided with all of the information made available to the trier of
2949      fact, may call, examine, and cross examine witnesses, may present and rebut
2950      evidence determined relevant by the hearing officer, and may submit a written
2951      statement at the close of the hearing so long as these rights are exercised in an
2952      efficient and expeditious manner. The applicant or member may be called by the
2953      Medical Executive Committee and examined as if under cross-examination.
2954
2955   7.5-11 Admission of Evidence: The hearing shall not be conducted according to the
2956       rules of law relating to procedure, the examination of witnesses or presentation of
2957       evidence. Any relevant evidence, including hearsay, shall be admitted by the
2958       Hearing Officer if it is the sort of evidence on which responsible persons are
2959       accustomed to rely in the conduct of serious affairs. The Judicial Review Committee
2960       may interrogate the witnesses or call additional witnesses if it deems such action
2961       appropriate.
2962
2963   7.5-12 Burden of Proof


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2964
2965          7.5-12.1 At the hearing, the Executive Committee shall have the initial duty to
2966              present evidence which supports it’s the charges or recommended action.
2967
2968          7.5-12.2 An initial applicant shall bear the burden of persuading the Judicial
2969              Review Committee, by a preponderance of the evidence, of the applicant’s
2970              qualifications by producing information which allows for adequate evaluation
2971              and resolution of reasonable doubts concerning the applicant’s current
2972              qualifications for membership and privileges. An initial applicant shall not be
2973              permitted to introduce information requested by the Association but not
2974              produced during the application process unless the applicant establishes that
2975              the information could not have been produced previously in the exercise of
2976              reasonable diligence.
2977
2978          7.5-12.3 Except as provided above for initial applicants, the Executive Committee
2979              shall bear the burden of persuading the Judicial Review Committee, by a
2980              preponderance of the evidence, that its action or recommendation is
2981              reasonable and warranted.
2982
2983   7.6    ADJOURNMENT AND CONCLUSION
2984
2985   7.6-1 Conclusion of Hearing: After consultation with the chair of the Judicial Review
2986       Committee, the Hearing Officer may adjourn the hearing and reconvene the same at
2987       the convenience of the participants without special notice at such times and intervals
2988       as may be reasonable and warranted, with due consideration for reaching an
2989       expeditious conclusion to the hearing. Both the Executive Committee and the
2990       applicant or member may submit a written statement at the close of the hearing. Upon
2991       conclusion of the presentation of oral and written evidence, or the receipt of closing
2992       written arguments, if submitted, the hearing shall be closed. The Judicial Review
2993       Committee shall thereupon conduct its deliberations and render a decision and
2994       accompanying report, in the manner and within the time as provided in Section 7.6-4.
2995
2996   7.6-2 Presence of Judicial Review Committee Members and Vote: Each member of
2997       the Judicial Review Committee must be present throughout the hearing and
2998       deliberations in order to vote absent an agreement by the parties to the contrary. The
2999       final decision of the Judicial Review Committee must be sustained by a majority vote.
3000
3001   7.6.3 Basis for Recommendation: The recommendation of the Judicial Review
3002       Committee shall be based on the evidence introduced at the hearing, including all
3003       logical and reasonable inferences from the evidence and the testimony.
3004
3005   7.6-4 Decision of Judicial Review Committee: The Judicial Review Committee’s duty
3006       shall be to determine whether the decision of the body whose decision prompted the
3007       hearing was reasonable and warranted.           Within thirty (30) days after final
3008       adjournment of the hearing, the Judicial Review Committee shall render a decision,
3009       which shall include the Judicial Review Committee’s findings of fact with respect to
3010       the charges, and a conclusion articulating the connection between evidence
3011       produced at the hearing and its recommendation, and its conclusions regarding
3012       whether each of the individual charges independently support the action taken or
3013       whether they support the charges when taken together. If the affected applicant or
3014       Member is currently under suspension, the time for the decision shall be fifteen (15)


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3015      days. The recommendation of the Judicial Review Committee shall be delivered to
3016      the Executive Committee, to the President, to the Chief Medical Officer, to the Chief
3017      Executive Officer, to the Director, and to the Governing Body and by special notice to
3018      the affected applicant or Member.
3019
3020   7.6-5 Finality of Decision: The decision of the Judicial Review Committee shall be
3021       considered final, subject only to the right of appeal as provided in Section 7.7.
3022
3023   7.6-6 Right to Only One Hearing: No person who requested the hearing shall be
3024       entitled to more than one hearing on any single matter which may be the subject of a
3025       hearing.
3026
3027   7.7 APPEAL TO GOVERNING BODY
3028
3029   7.7.1 Time to Appeal: Within thirty (30) days after receipt of the decision of the Judicial
3030       Review Committee, either the person who requested the hearing or the body whose
3031       decision prompted the hearing may request an appellate review by the Governing
3032       Body. Such request shall be in writing to the President or to the Chief Executive
3033       Officer and shall be delivered either in person or by certified mail, return receipt
3034       requested. If such appellate review is not requested within such period, both sides
3035       shall be deemed to have waived any right to appellate review and accepted the
3036       action involved.
3037
3038   7.7-2 Grounds for Appeal: A written request for an appeal shall include an
3039       identification of the grounds for appeal, and a clear and concise statement of the
3040       facts in support of the appeal. Grounds for appeal from the decision of the Judicial
3041       Review Committee shall be:
3042
3043          7.7-2.1 that there was substantial noncompliance with the procedures required
3044              by these bylaws, which noncompliance has created demonstrable prejudice;
3045              or
3046
3047          7.7-2.2 that the decision was not supported by substantial evidence based upon
3048              the hearing record or such additional information as may be permitted
3049              pursuant to Section 7.4-5 hereof.
3050
3051   7.7-3 Time, Place and Notice: In the event of any appeal to the Governing Body, as set
3052       forth in the preceding Section 7.7-1, the Appeal Board shall within fifteen (15) days
3053       after receipt of such notice of appeal, schedule and arrange for an appellate review.
3054       The Appeal Board shall cause the applicant or member to be given notice of the
3055       time, place, and date of the appellate review. The date of the appellate review shall
3056       not be less than thirty (30) days, nor more than sixty (60) days, from the date of
3057       receipt of the request for appellate review, provided that when a request for appellate
3058       review is from a member who is under suspension which is then in effect, the
3059       appellate review shall be held as soon as arrangements may reasonably be made,
3060       not to exceed fifteen (15) days from the date of receipt of the request for appellate
3061       review. The time for appellate review may be extended by the Appeal Board upon a
3062       showing of good cause.
3063
3064   7.7-4 Appeal Board: When an appellate review is requested, the Governing Body shall
3065       appoint an Appeal Board which shall be composed of five (5) Appeal Board


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3066      members, two (2) of whom shall be taken from the administrative staff of the Medical
3067      Center and three (3) of whom shall be taken from the Association. One member shall
3068      be designated by the Governing Body as Chair. Knowledge of the particular matter
3069      on appeal shall not preclude anyone from serving as a member of the Appeal Board
3070      so long as that person did not act as an accuser, investigator, factfinder, or initial
3071      decision maker in the same matter and did not take part in a prior hearing on the same
3072      matter. The Appeal Board may select an attorney to assist it in the proceeding, but
3073      that attorney shall not be entitled to vote with respect to the appeal.
3074
3075   7.7-5 Appeal Procedure: The proceeding of the Appeal Board is an appellate hearing
3076       based upon the record of the hearing before the Judicial Review Committee,
3077       provided, however, that the Appeal Board may accept additional oral or written
3078       evidence, subject to a foundational showing that such evidence could not have been
3079       made available to the Judicial Review Committee in the exercise of reasonable
3080       diligence and subject to the same rights of cross-examination or confrontation
3081       provided at the Judicial Review Committee hearing; or the Appeal Board may
3082       remand the matter to the Judicial Review Committee for the taking of further
3083       evidence and for decision. The Appeal Board shall remand the matter to the Judicial
3084       Review Committee where it accepted additional written or oral evidence that could
3085       materially impact its decision.
3086
3087      Each party shall have the right to be represented by legal counsel, or any other
3088      representative designated by that party in connection with the appeal, to present a
3089      written statement in support of his/her position on appeal, and to personally appear
3090      and make oral argument. At the conclusion of oral argument, the Appeal Board may
3091      thereupon at a time convenient to itself conduct deliberations outside the presence of
3092      the appellant and respondent and their representatives. The Appeal Board, after its
3093      deliberations, shall recommend, in writing, that the Governing Body affirm or reverse
3094      the decision of the Judicial Review Committee or refer the matter back to the Judicial
3095      Review Committee for further review and recommendation.
3096
3097   7.7-6 Governing Body’s Decision: Within thirty (30) days after receipt of the
3098       recommendations of the Appeal Board, the Governing Body shall render a final
3099       decision in writing and shall deliver copies thereof to the applicant or Association
3100       member and to the Executive Committee in person or by certified mail, return receipt
3101       requested. The Governing Body shall affirm the Judicial Review Committee’s
3102       decision if the Judicial Review Committee’s decision is supported by substantial
3103       evidence, following a fair procedure. Should the Appeal Board determine that the
3104       Judicial Review Committee’s decision is not supported by substantial evidence, the
3105       Governing Body may reverse the decision of the Judicial Review Committee, or may
3106       instead, or shall, where a fair procedure has not been afforded, remand the matter
3107       back to the Judicial Review Committee for further review and recommendation,
3108       stating the purpose for the referral.
3109
3110   7.7-7 Decision in Writing: The final decision shall be in writing, shall specify the
3111       reasons for the action taken, shall include the text of the report which shall be made
3112       to the National Practitioner Data Bank and the Medical Board of California, if any,
3113       and shall be forwarded to the President, Chief Medical Officer, the Executive
3114       Committee, the Chief Executive Officer, and the subject of the hearing at least ten
3115       (10) days prior to submission to the Medical Board of California.
3116


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3117   7.7-8 Right to One Appeal: Except as otherwise provided in these bylaws, or in
3118       circumstances where a new hearing is ordered by the Governing Body or a court
3119       because of procedural irregularities or otherwise for reasons not the fault of the
3120       applicant or member, no applicant or Association member shall be entitled as a
3121       matter of right to more than one appeal to the Governing Body on any single matter
3122       which may be the subject of an appeal.
3123
3124   7.8 CONFIDENTIALITY
3125
3126   To maintain confidentiality in the performance of peer review, disciplinary and creden-
3127   tialing functions, participants in any stage of the hearing or appellate review process
3128   shall not disclose or discuss the matters involved outside of the formal avenues provided
3129   in these Association Bylaws.
3130
3131   7.9 RELEASE
3132
3133   By requesting a hearing or appellate review under these Bylaws, a practitioner agrees to
3134   be bound by the provisions in the Association Bylaws relating to immunity from liability
3135   for the participants in the hearing process.
3136
3137   7.10    EXCEPTION TO HEARING RIGHTS FOR CONTRACT PHYSICIANS
3138
3139   The procedural rights specified in this Article VII shall apply to members who are directly
3140   under contract with the Medical Center in a medical administrative capacity or are in a
3141   closed department, except with respect to privileges for medical services which are the
3142   subject of an exclusive contract or contracts which have been awarded to another
3143   physician or physicians. The member shall have no right to a hearing with respect to the
3144   termination of the contract itself which shall be governed by the terms of the contract.
3145
3146   7.11 DISPUTING REPORT LANGUAGE
3147
3148   A member who is the subject of a proposed adverse action report to the Medical Board of
3149   California or the National Practitioner Data Bank may request an informal meeting to dispute
3150   the text of the report filed. The report dispute meeting shall not constitute a hearing and shall
3151   be limited to the issue of whether the report filed is consistent with the final action issued. The
3152   meeting shall be attended by the subject of the report, the President, the chair of the subject’s
3153   department, and the Medical Center’s authorized representative, or their respective
3154   designees.
3155
3156   7.12 FAIR REVIEW
3157
3158   7.12-1 Grounds for Fair Review
3159
3160       Except as expressly provided for otherwise in these bylaws (such exception to
3161       include, but not be limited to, any and all automatic actions specified in these bylaws,
3162       an Association department rule, regulation or policy, or a Medical Center policy or
3163       policy decision that has been approved by the Executive Committee), the taking or
3164       recommending of any one or more of the following actions by the Executive
3165       Committee for reasons other than a medical disciplinary cause or reason (MDCR)




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3166      (except as provided in items 9 and 10 below) shall constitute grounds for a Fair
3167      Review:
3168
3169          7.12-1.1 denial of Association membership.
3170          7.12-1.2 denial of reappointment.
3171          7.12-1.3 suspension of Association membership or clinical privileges.
3172          7.12-1.4 termination of Association membership.
3173          7.12-1.5 denial of requested clinical privileges, other than temporary privileges.
3174          7.12-1.6 reduction in clinical privileges.
3175          7.12-1.7 termination of privileges, other than temporary privileges.
3176          7.12-1.8 denial of membership in requested Association category or involuntary
3177             change in Association category.
3178          7.12-1.9 summary suspension for fourteen (14) consecutive days or less, for a
3179             MDCR.
3180          7.12-1.10 restriction of privileges for twenty-nine (29) days or less during a
3181             twelve (12) month period for a MDCR.
3182
3183   7.12-2 Notice of Adverse Action or Recommended Action
3184
3185      Whenever any of the actions constituting grounds for a Fair Review under Section
3186      7.12-1 above, has been taken or recommended, the Executive Committee shall give
3187      written notice to the affected practitioner. The notice shall:
3188
3189         7.12-2.1 describe what action has been taken or recommended.
3190         7.12-2.2 state the reasons for the action or recommendation.
3191         7.12-2.3 state that the practitioner is entitled to a Fair Review, which must be
3192            requested in writing and the request received by the President or his/her
3193            designee within thirty (30) days after the practitioner's receipt of the notice of
3194            adverse action or recommended action.
3195
3196   7.12-3 Fair Review Procedure
3197
3198      The procedure for requesting, arranging for and conducting a fair review shall be the
3199      same as for hearings except that:
3200
3201         7.12-3.1 the hearing shall be before an arbitrator to be designated by the
3202            President or his/her designee with pre-procedural rights of voir dire to confirm
3203            the proposed arbitrator is qualified and not biased;
3204         7.12-3.2 the parties must exchange documents and witness lists at least five (5)
3205            working days prior to the hearing, and testimony of witnesses and copies of
3206            evidence not timely exchanged may be barred;
3207         7.12-3.3 the body whose decision prompted the hearing has the initial burden of
3208            producing evidence to support its action or recommendation, with the burden
3209            then shifting to the affected practitioner to produce evidence and demonstrate
3210            that the decision was unreasonable; and
3211         7.12-3.4 neither party has the right to be represented by an attorney at the fair
3212            review.
3213         .
3214
3215                                               ARTICLE VIII
3216                                          ALLIED HEALTH STAFF


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3217
3218   8.1 DEFINITIONS
3219
3220
3221   “Standardized procedure functions” means those functions specified in Business and
3222   Professions Code Section 2725 (c ) and (d) which are to be performed according to
3223   “standardized procedures”.
3224
3225   “Standardized procedures” means policies and protocols formulated by the Medical
3226   Center for the performance of standardized procedure functions.
3227
3228   “Service authorization” means the permission granted to an Allied Health Staff member
3229   to provide specified patient care services within his or her qualifications and scope of
3230   practice as determined by the Executive Committee.
3231
3232    “Allied Health Staff” means those Allied Health Professionals who are not eligible for
3233   Association membership pursuant to these bylaws but have been granted a service
3234   authorization or are authorized under standardized procedures to provide certain clinical
3235   services.
3236
3237   8.2 QUALIFICATIONS
3238
3239   Although not eligible for Association membership, allied health professionals shall be
3240   credentialed through the Association and shall be subject to general Association
3241   oversight and to the individual direction of Association members, as set forth below. An
3242   Allied Health Professional is eligible for a service authorization in the Medical Center or
3243   to work under a standardized procedure if he or she:
3244
3245   8.2-1 Holds a license, certificate, or other legal credential in a category of AHPs which
3246       the Governing Body has identified as eligible to apply for service authorizations (see
3247       Section 8.3, below);
3248
3249   8.2-2 Documents his or her current experience, background, training, current adequate
3250       physical and mental health status, current competence, judgment, and ability with
3251       sufficient adequacy to demonstrate that any patient treated by him/her will receive
3252       care of the generally recognized professional level of quality established by the
3253       Association;
3254
3255   8.2-3   Is determined, on the basis of documented references:
3256
3257            8.2-3.1 to adhere strictly to the lawful ethics of his or her profession;
3258
3259            8.2-3.2 to work cooperatively with others in the hospital setting so as not to
3260                adversely affect patient care; and
3261
3262            8.2-3.3 to be willing to commit to and regularly assist the Association in
3263                fulfilling its obligations related to patient care, within the areas of his/her
3264                professional competence and credentials;
3265
3266   8.2-4 Agrees to comply with all Association and Department and Division bylaws, rules
3267       and regulations, and protocols to the extent applicable to the AHP; and


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3268
3269   8.2-5 Maintains professional liability insurance as indicated in Article XVII, if applicable.
3270
3271   Although not eligible for Association membership, AHPs shall be credentialed by the
3272   Association either through the IDPC or an Association department as described in
3273   Section 8.4-3 below and shall be subject to general Association oversight and to the
3274   individual direction of Association members, as set forth below.
3275
3276   8.3 CATEGORIES OF AHPs ELIGIBLE TO APPLY FOR SERVICE
3277   AUTHORIZATIONS OR TO WORK UNDER STANDARDIZED PROCEDURES OR
3278   PROTOCOLS
3279
3280   The categories of AHPs, based on occupation or profession, which shall be eligible to
3281   apply for Allied Health Staff membership and for service authorization or to work under
3282   standardized procedures or protocols in the Medical Center and the corresponding service
3283   authorization or standardized procedures prerogatives, terms, and conditions for each
3284   such AHP category shall be designated by the Governing Body, upon the
3285   recommendation of the Executive Committee, and when approved by the Governing Body,
3286   shall be set forth in the Association rules and regulations and/or Medical Center policies.
3287   Such actions by the Executive Committee and the Governing Body shall be based upon
3288   the recommendations of the relevant departments for the designation of categories of
3289   AHPs eligible to apply for service authorization or standardized procedures and the
3290   delineation of corresponding service authorization or standardized procedures
3291   prerogatives, terms, and conditions for each such AHP category. The Governing Body
3292   shall review the designation of categories of AHPs eligible to apply for service
3293   authorizations at least annually and at other times within its discretion or upon the
3294   recommendation of the Executive Committee.
3295
3296   At present, the following categories have been accepted as eligible for Allied Health Staff
3297   membership to apply for service authorization:
3298
3299        1. Optometrists
3300        2. Clinical Pharmacists (Pharm D) providing direct patient care
3301
3302   At present, the following categories have been accepted as eligible for Allied Health Staff
3303   membership to apply to work under standardized procedures or Medical Center protocols:
3304
3305        1.   Nurse Practitioners
3306        2.   Certified Registered Nurse Anesthetists
3307        3.   Certified Nurse Midwives
3308        4.   Physician Assistants
3309
3310   8.4 PROCEDURE FOR GRANTING SERVICE AUTHORIZATION OR APPROVAL TO
3311   WORK UNDER A STANDARDIZED PROCEDURE OR MEDICAL CENTER
3312   PROTOCOL
3313
3314   8.4-1 An AHP whose scope of practice as determined by the AHP’s department or the
3315       Executive Committee allows independent practice must apply and qualify for a service
3316       authorization or to work under a standardized procedure or Medical Center protocol and
3317       must designate a physician member of the Active Staff who, concurrently with the AHP’s
3318       application, applies for and is granted privileges to be responsible, to the extent


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3319      necessary, for the general medical condition of patients for whom the AHP proposes to
3320      render services in the Medical Center.
3321
3322   8.4-2 An AHP whose scope of practice as determined by the AHP’s department or the
3323       Executive Committee does not allow independent practice must apply and qualify for
3324       a service authorization or to work under a standardized procedure or Medical Center
3325       protocol and must provide services under the supervision of an Active Staff member
3326       who has applied for, qualified for, and been granted specific privileges in accordance
3327       with the bylaws, rules and regulations, and Medical Center policies, to supervise and
3328       direct the exercise of service authorizations or standardized procedures or Medical
3329       Center protocols by the same category of AHP as that of the applicant. An AHP
3330       under this subsection 8.4-2 may apply to work under the supervision of one Active
3331       Staff member or, within the Executive Committee’s discretion, a group of Association
3332       members so long as each of the Association members has separately applied for
3333       and been granted privileges to supervise the AHP or the category of AHPs to which
3334       the applicant belongs. Whenever an AHP will be supervised by more than one Active
3335       Staff member, such supervision must be in strict accordance with rules and
3336       regulations or policies developed by the appropriate department/division and
3337       approved by the Executive Committee.
3338
3339   8.4-3 AHP applications for initial granting and renewal of service authorizations or
3340       standardized procedures or Medical Center protocols for Nurse Practitioners, CRNAs
3341       and Physician Assistants shall be submitted to the Interdisciplinary Practice
3342       Committee. All such applications shall be processed in a parallel manner to that
3343       provided in Articles IV and V for Association members, except that the IDPC shall
3344       perform the function which would otherwise be performed by the Credentials
3345       Committee, unless otherwise specified in the Association rules and regulations. The
3346       credentialing and granting of service authorizations for all other Allied Health
3347       Practitioners shall be the responsibility of the department to which the AHP’s
3348       supervising physician is a member. These applications shall also be processed in a
3349       parallel manner to that outlined in Articles IV and V.
3350
3351   8.4-4 Except as is provided under Section 8.7-3.2, an AHP who
3352
3353          8.4-4.1 has received a final adverse decision regarding his or her application for
3354              a service authorization, standardized procedure or Medical Center protocol,
3355              or
3356
3357          8.4-4.2 withdrew his or her application for a service authorization, standardized
3358              procedure or Medical Center protocol following an adverse recommendation
3359              by the Executive Committee, or
3360
3361          8.4-4.3 after having been granted a service authorization or approval to work
3362              under a standardized procedure or Medical Center protocol has received a
3363              final adverse decision resulting in termination of the authorization or approval,
3364              or
3365
3366          8.4-4.4 has relinquished his or her service authorization, standardized procedure
3367              or Medical Center protocol following the issuance of an Association or
3368              Governing Body recommendation adverse to his or her service authorization,
3369              standardized procedure or Medical Center protocol,


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3370
3371      shall not be eligible to reapply for the service authorization, standardized procedure
3372      or Medical Center protocol affected by such decision or recommendation for a period
3373      of at least 24 months from the date that the adverse decision became final, the
3374      application was withdrawn, or the AHP relinquished his or her service authorization,
3375      standardized procedure or Medical Center protocol.
3376
3377   8.4-5 An AHP who does not have licensure or certification in an AHP category identified
3378       as eligible for service authorizations pursuant to Section 8.3 may not apply for a
3379       service authorization but may submit a written request to the Chief Executive Officer,
3380       asking the Governing Body to consider designating the appropriate category of AHPs
3381       as eligible to apply for service authorizations. Upon receipt of such a request, the
3382       Governing Body shall forward a copy of the request to the Executive Committee for
3383       its recommendation, and shall also request the recommendation of any affected
3384       department or division. The Governing Body shall consider such request and the
3385       Executive Committee’s recommendation, as well as the recommendation of any
3386       affected department or division, either before or at the time of its annual review of
3387       the categories of AHPs, in accordance with Section 8.3.
3388
3389   8.4-6 Each AHP who is granted a service authorization or approval to work under a
3390       standardized procedure or Medical Center protocol shall be assigned to the clinical
3391       department and/or division appropriate to his or her occupational or professional
3392       training and, unless otherwise specified in the Association rules and regulations,
3393       shall be subject to terms and conditions that parallel those specified in Article II, as
3394       they may logically apply to AHPs and may be appropriately tailored to the particular
3395       category of AHPs. Each AHP who practices independently must maintain
3396       communication with the relevant physician under Sections 8.4-1 through 8.4-3 above
3397       in order to enable the physician to assume responsibility, to the extent it is indicated,
3398       for the general medical condition of the patient. Each AHP who does not practice
3399       independently shall be subject to the supervision of one or more members of the
3400       Active Staff who have been granted privileges to provide such supervision or
3401       direction by the Governing Body upon recommendation of the Executive Committee.
3402
3403   8.5 PREROGATIVES
3404
3405   The prerogatives which may be extended to a member of a particular category of AHP
3406   shall be defined in the Association rules and regulations or Medical Center policies.
3407   Such prerogatives may include:
3408
3409       1.    Provision of specified patient care services subject to an Association member’s
3410            responsibility, to the extent indicated, for the patient’s general medical condition
3411            and under the general oversight of the Association, and, where the AHP does
3412            not practice independently, also under the supervision and direction of a
3413            member of the Active Staff who has been granted specific privileges to
3414            supervise that category of AHP. AHP services must be consistent with the
3415            service authorization, standardized procedure or Medical Center protocol
3416            granted to the AHP and within the scope of the AHP’s licensure or certification.
3417
3418       2.   Service on Association and Medical Center committees except as otherwise
3419            expressly provided in the Association bylaws, rules and regulations or Medical



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3420            Center policies. An AHP may serve as co-chair of the IDPC Committee but may
3421            not serve as chair of any other Association committees.
3422
3423       3.    Attendance at meetings of the department to which he or she is assigned, as
3424            permitted by the department rules and regulations or policies, and attendance at
3425            Association educational programs in his or her field of practice. An AHP may not
3426            vote at department/division meetings.
3427
3428   8.6 RESPONSIBILITIES
3429
3430   Each AHP shall:
3431
3432       1. Meet those responsibilities required by Association rules and regulations or
3433          policies or Medical Center policies and, if not so specified, meet those
3434          responsibilities specified in Section 2.4 as are generally applicable to the more
3435          limited practice of the AHP.
3436
3437       2. Retain appropriate responsibility within his or her area of professional
3438          competence for the care of each patient in the Medical Center for whom he or
3439          she is providing services.
3440
3441       3. Participate, when requested, in patient care audit and other quality review,
3442          evaluation, and monitoring activities required of AHPs, in evaluating AHP
3443          applicants, in supervising initial AHP appointees of his or her same occupation or
3444          profession or of an occupation or profession which is governed by a more limited
3445          scope of practice statute, and in discharging such other functions as may be
3446          required by the Association from time to time.
3447
3448   8.7 TERMINATION, SUSPENSION OR RESTRICTION OF SERVICE AUTHORIZATIONS
3449   OR APPROVAL TO WORK UNDER STANDARDIZED PROCEDURES OR MEDICAL
3450   CENTER PROTOCOLS
3451
3452   8.7-1    General Procedures
3453
3454            8.7-1.1 At any time, the President, or chair of the department or division to which the
3455                AHP has been assigned, may recommend to the Executive Committee that an
3456                AHP’s service authorization or approval to work under a standardized procedure
3457                or Medical Center protocol be terminated, suspended or restricted. After review
3458                by the relevant department, including an interview with the AHP, and including, if
3459                appropriate, consultation with the IDPC, if the Executive Committee agrees that
3460                corrective action is appropriate, the Executive Committee shall recommend
3461                specific corrective action to the Governing Body. A Notification Letter regarding
3462                the recommendation shall be sent by certified mail, return receipt requested, to
3463                the subject AHP. The Notification Letter shall inform the AHP of the
3464                recommendation and the circumstances giving rise to the recommendation.
3465
3466            8.7-1.2 The procedure for requesting, arranging for and conducting a fair review
3467                shall be the same as for an Article VII hearing, except that (1) there is no right
3468                to discovery; (2) the hearing shall be before an arbitrator to be designated by
3469                the President with pre-procedural rights of voir dire to confirm the proposed
3470                arbitrator is qualified and not biased; (3) the parties must exchange


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3471            documents and witness lists at least five (5) working days prior to the hearing,
3472            and testimony of witnesses and copies of evidence not timely exchanged
3473            may be barred; (4) the body whose decision prompted the hearing has the
3474            initial burden of producing evidence to support its action or recommendation,
3475            with the burden then shifting to the affected practitioner to produce evidence
3476            and demonstrate that the decision was unreasonable; (5) neither party has
3477            the right to be represented by an attorney at the fair review; and (6) neither
3478            party has that right to personal attendance, oral argument or representation
3479            by an attorney at the Governing Body appeal.
3480
3481       8.7-1.3 Within fifteen (15) days following the Allied Health Staff hearing, the
3482           Executive Committee, based on the Allied Health Staff hearing and all other
3483           aspects of the investigation, shall make a final recommendation to the
3484           Governing Body, which shall be communicated in writing, sent by certified mail,
3485           return receipt requested, to the subject AHP. The final recommendation shall
3486           discuss the circumstances giving rise to the recommendation and any pertinent
3487           information from the interview. Prior to acting on the matter, the Governing Body
3488           may, in its discretion, offer the affected practitioner the right to appeal to a
3489           subcommittee delegated by the Governing Body. The Governing Body shall
3490           adopt the Executive Committee’s recommendation, so long as it is reasonable,
3491           appropriate under the circumstances and supported by substantial evidence.
3492           The final decision by the Governing Body shall become effective upon the date
3493           of its adoption. The AHP shall be provided promptly with notice of the final
3494           action, sent by certified mail, return receipt requested.
3495
3496    8.7-2   Summary Suspension
3497
3498       8.7-2.1 Notwithstanding Section 8.7-1, an AHP’s service authorization or approval to
3499           work under a standardized procedure or Medical Center protocol may be
3500           immediately suspended or restricted where the failure to take such action may
3501           result in an imminent danger to the health of any individual. Such summary
3502           suspension or restriction may be imposed by the President, the Executive
3503           Committee, the Chief Medical Officer, the Chief Executive Officer, or the head of
3504           the department (or his/her designee) to which the AHP has been assigned.
3505           Unless otherwise stated, the summary action shall become effective immediately
3506           upon imposition, and the person responsible for taking such action shall promptly
3507           give written notice of the action to the Governing Body, the Director, the
3508           Executive Committee, the Chief Medical Officer and the Chief Executive Officer.
3509           The notice shall also inform the practitioner of his or her right to file a grievance.
3510           The practitioner’s right to file a grievance and subsequent interview procedures
3511           shall be in accordance with Section 8.7-1, except that all reasonable efforts shall
3512           be made to ensure that the practitioner is given an interview and that final action
3513           is taken within fifteen (15) days or as promptly thereafter as practicable.
3514
3515       8.7-2.2 Within one (1) working day of the summary action, the affected
3516           practitioner shall be provided with written notice of the action. The notice shall
3517           include the reasons for the action and that such action was necessary
3518           because of a reasonable probability that failure to take the action could result
3519           in imminent danger to the health of an individual.
3520



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3521          8.7-2.3 Within five (5) working days following the action, the IDPC shall meet to
3522              consider the matter and make a recommendation to the Executive Committee
3523              as to whether the summary suspension should be vacated or continued
3524              pending the outcome of any interview with the affected practitioner. Within
3525              eight (8) days following the imposition of the action, the Executive Committee
3526              shall meet and consider the matter in light of any recommendation forwarded
3527              from the IDPC. Within two (2) working days following the Executive
3528              Committee’s meeting, the Executive Committee shall provide written notice to
3529              the affected practitioner regarding its determination on whether the summary
3530              action should be vacated or continued pending the outcome of any interview
3531              proceeding.
3532
3533   8.7-3 Automatic Suspension, Termination or Restriction
3534
3535          8.7-3.1 Notwithstanding Section 8.7-1, an AHP’s service authorization or
3536              approval to work under a standardized procedure or Medical Center protocol
3537              shall automatically terminate in the event that:
3538
3539                    8.7-3.1-a The AHP’s certification, license, or other legal credential
3540                        expires or is revoked.
3541
3542                    8.7-3.1-b With respect to an AHP who must practice under physician
3543                        supervision:
3544
3545                              8.7-3.1-b.1 the Association membership or privileges to
3546                                 supervise the AHP of the supervising physician is
3547                                 terminated, whether such termination is voluntary or
3548                                 involuntary; or
3549
3550                              8.7-3.1-b.2 the supervising physician no longer agrees to act
3551                                 in such capacity for any reason, or the relationship
3552                                 between the AHP and the supervising physician is
3553                                 otherwise terminated, regardless of the reason therefor;
3554
3555          8.7-3.2 Where the AHP’s service authorization or approval to work under a
3556              standardized procedure or Medical Center protocol is automatically
3557              terminated for reasons specified in C-1b (1) or (2) above, the AHP may apply
3558              for reinstatement as soon as the AHP has found another physician Active
3559              Staff member who agrees to supervise the AHP and receives privileges to do
3560              so. In this case, the Executive Committee may, in its discretion, expedite the
3561              reapplication process.
3562
3563          8.7-3.3 Notwithstanding Section 8.7-1, in the event that the AHP’s certification or
3564              license is restricted, suspended, or made the subject of an order of probation,
3565              the AHP’s service authorization or approval to work under a standardized
3566              procedure or Medical Center protocol shall automatically be subject to the
3567              same restrictions, suspension, or conditions of probation.
3568
3569          8.7-3.4 Where the AHP’s privileges are automatically terminated, suspended, or
3570              restricted pursuant to this subsection 8.7-3, the notice and interview procedures
3571              under Section 8.7-1 shall not apply and the AHP shall have no right to an


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3572               interview except, within the discretion of the Executive Committee, regarding any
3573               factual dispute over whether or not the circumstances giving rise to the automatic
3574               termination, suspension, or restriction actually exist.
3575
3576   8.7-4 Applicability of Section 8.7
3577
3578      The rights afforded by this Section 8.7 shall not apply to any decision regarding
3579      whether a category of AHP shall be eligible for a service authorization, standardized
3580      procedure or Medical Center protocol and the terms or conditions of such decision
3581      pursuant to Section 8.3.
3582
3583   8.8 REAPPLICATION
3584
3585   Every 2 years, each AHP on the Allied Health Staff must reapply for a renewed service
3586   authorization or approval to work under a standardized procedure or Medical Center
3587   protocol in accordance with Section 8.4.
3588
3589                                                  ARTICLE IX
3590
3591                                                   OFFICERS
3592
3593   9.1 OFFICERS OF THE ASSOCIATION
3594
3595   The officers of the Association shall be:
3596
3597   9.1-1   President
3598   9.1-2   Vice-President
3599   9.1-3   Immediate Past-President
3600   9.1-4   Secretary-Treasurer
3601
3602
3603   9.2 QUALIFICATIONS
3604
3605   Officers must be members of the Active Staff at the time of nomination and election and
3606   must remain Active Staff members in good standing during their term of office. Failure to
3607   maintain such status shall immediately create a vacancy in the office involved. The
3608   President and Vice-President must be licensed as physicians and surgeons. In addition
3609   to exercising their responsibilities, officers shall verbally disclose all actual or potential
3610   conflicts of interest pursuant to Section 15.7 in the course of each Association meeting
3611   or other event where such a disclosure may be relevant. Any potential conflicts so
3612   disclosed shall be resolved as set forth in Section 15.7.
3613
3614   9.3 NOMINATIONS
3615
3616   9.3-1 A nominating committee shall consist of at least six (6) members, two (2) from the
3617       Executive Committee, including the Immediate Past-President who shall serve as
3618       Chair, and four (4) from the Active Staff, appointed by the President subject to the
3619       approval of the Executive Committee at least two (2) months prior to the date of the
3620       annual meeting. The nominating committee shall formally request names of potential
3621       candidates from members of the Association at least sixty-five (65) days prior to the
3622       annual meeting. Such a request shall be made to each Association member either


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3623      by mail or electronically through the Association’s Internet-based bulletin board and
3624      electronically to those Association members that have provided their e-mail address.
3625      The nominating committee shall offer one or more nominees for the offices of
3626      President, Vice-President and Secretary-Treasurer.            The nominations of the
3627      committee shall be reported to the Executive Committee at least fifteen (15) days
3628      prior to the annual meeting and shall be sent to each Association member either by
3629      mail or electronically through the Association’s Internet-based bulletin board and
3630      electronically to those Association members who have provided their e-mail address
3631      at least ten (10) days prior to the annual meeting.               The Medical Center
3632      Administration and the Governing Body shall have no right to approve the slate of
3633      candidates or otherwise participate in the activities of the nominating committee.
3634
3635   9.3-2 Nominations for the offices of President, Vice-President and Secretary-Treasurer
3636       may also be made by petition signed by at least ten (10) members of the Active Staff
3637       accompanied by the written consent of the nominee(s) and filed with the Secretary-
3638       Treasurer at least ten (10) days prior to the annual meeting. In this event, the
3639       Secretary-Treasurer shall promptly advise the membership of the additional
3640       nomination(s) by mail or electronically to those Association members who have
3641       provided their e-mail address.
3642
3643   9.4 ELECTION OF OFFICERS
3644
3645   9.4-1 The President, Vice-President and Secretary-Treasurer shall be elected for a one
3646       (1) year term at the annual Association meeting. In accordance with Section 15.7, all
3647       nominees for election shall disclose in writing to the Association those current or
3648       impending personal, professional, or financial affiliations or relationships of which
3649       they are reasonably aware, including contractual, employment or other relationships
3650       with the hospital, which could foreseeably result in a conflict of interest with their
3651       activities or responsibilities on behalf of the Association. Such disclosure statement
3652       shall accompany the ballot.
3653
3654   9.4-2 The voting for the offices of President, Vice-President and Secretary-Treasurer
3655       shall be by secret written ballot, and authenticated sealed mail ballots may be
3656       counted. Only Association members accorded the right to vote as described in
3657       Article III shall be eligible to vote.
3658
3659      Election of the offices of President, Vice-President and Secretary-Treasurer shall be
3660      by simple majority of the votes cast. In the event that there are three (3) or more
3661      candidates for office and no candidate receives a simple majority, there shall be
3662      successive balloting such that the name of the candidate receiving fewest votes is
3663      omitted from each successive slate until a simple majority vote is obtained by one
3664      candidate. During such successive balloting, only votes cast at the annual
3665      Association meeting will be counted. If two (2) or more candidates have the same
3666      number of least votes, each shall be omitted from the successive slate except that in
3667      the event that only one candidate would remain, a separate ballot shall be held
3668      among those candidates receiving least votes to determine which one shall be
3669      omitted. At such separate ballot, the presiding officer of the meeting shall vote only if
3670      there is a remaining tie among the candidates receiving the least votes.
3671
3672   9.5 TERM OF OFFICE
3673


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3674   Each elected officer shall serve a one (1) year term or until a successor is elected. The
3675   President may be reelected twice, for a maximum of three (3) consecutive years. The
3676   office of Immediate Past-President shall be assumed by the out-going President.
3677   Officers shall take office on the first day of the Association Year following his/her
3678   election.
3679
3680   9.6 VACANCIES IN OFFICE
3681
3682   Vacancies in office occur upon the death or disability, resignation, or removal of the
3683   officer, or such officer’s loss of membership in the Association. Vacancy during the term
3684   of the Vice President or Secretary-Treasurer shall be filled by the Executive Committee.
3685   If there is a vacancy in the office of the President, the Vice-President shall serve out the
3686   remaining term of the President, and the Executive Committee shall appoint an interim
3687   officer to fill this office until the next annual Association meeting.
3688
3689   9.7 REMOVAL OF OFFICERS
3690
3691   Any Association officer may be removed from office for valid cause including, but not
3692   limited to, gross neglect or misfeasance in office, or serious acts of moral turpitude.
3693   Except as otherwise provided, removal of an officer may be initiated by the Executive
3694   Committee or shall be initiated by a petition signed by at least one-third of the
3695   Association members entitled to vote for officers. Removal shall be considered at an
3696   annual or special meeting of the Association, noticed to include the specific purpose of
3697   removing an officer, at which a quorum is achieved as described in Section 12.5-2.
3698   Removal of an officer shall require a two-thirds vote of the Association members present
3699   at the meeting who are entitled to vote for officers.
3700
3701   9.8 DUTIES OF OFFICERS
3702
3703   9.8-1 President: the President shall:
3704
3705          9.8-1.1 Be the chief officer of the Association;
3706
3707          9.8-1.2 Act in coordination and cooperation with the Governing Body, the
3708              Director, the Chief Medical Officer of Health Services, the Chief Executive
3709              Officer, the Chief Medical Officer, and the Deans of the Professional Schools,
3710              or their duly authorized designees, in all matters of mutual concern within the
3711              Medical Center;
3712
3713          9.8-1.3 Call, preside at and be responsible for the agenda of all meetings of the
3714              Association;
3715
3716          9.8-1.4 Serve as chair of the Executive Committee and calling, presiding at and
3717              being responsible for the agenda of all meetings thereof;
3718
3719          9.8-1.5 Serve as ex-officio member of all other Association committees;
3720
3721          9.8-1.6 Be responsible for the enforcement of the Association bylaws, rules and
3722              regulations, and policies, and for the Association's compliance with
3723              procedural safeguards in all instances where corrective action has been
3724              requested against a practitioner;


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3725
3726          9.8-1.7 Appoint, in consultation with the Executive Committee and, when
3727              necessary, the Chief Medical Officer, the Chief Executive Officer, and the
3728              Dean of the appropriate Professional School, committee members and the
3729              officers thereof to all standing Association committees as listed in Article XI
3730              except as otherwise provided in Article XI;
3731
3732          9.8-1.8 Receive and interpret the policies of the Governing Body for the
3733              Association and report to the Governing Body on the performance and
3734              maintenance of quality with respect to the health care provided in the Medical
3735              Center;
3736
3737          9.8-1.9 Represent the views, policies, needs and grievances of the Association to
3738              the Chief Medical Officer, the Chief Executive Officer, the Governing Body,
3739              the Director, and the Chief Medical Officer of Health Services or their duly
3740              authorized designees;
3741
3742          9.8-1.10 Refer appropriate items to the committees of the Association for
3743              recommendations;
3744
3745          9.8-1.11 Serve on any liaison committees with the Governing Body and Medical
3746              Center Administration as well as with outside licensing or accreditation
3747              organizations;
3748
3749          9.8-1.12 In the interim between Executive Committee meetings, represent and
3750              act on behalf of the Association in the intervals between Association
3751              meetings, subject to such limitations as may be imposed by these bylaws;
3752
3753          9.8-1.13 Be spokesperson for the Association in external professional and public
3754              relations; and
3755
3756          9.8-1.14 Perform such other functions as may be assigned to him/her by these
3757              bylaws, by the membership, and by the Executive Committee.
3758
3759   9.8-2 Vice-President: In the absence of the President, he/she shall assume all the
3760       duties and have the authority of the President. He/she shall be the vice-chair of the
3761       Executive Committee and a member of the Joint Conference Committee and shall
3762       perform such other functions as may be assigned to him/her by these bylaws, by the
3763       membership, and by the Executive Committee.
3764
3765   9.8-3 Immediate Past-President: His/her duties shall be to advise the President in all
3766       matters concerning the Association. He/she shall be a member of the Executive
3767       Committee and the Joint Conference Committee and shall perform such other
3768       functions as may be assigned to him/her by these bylaws, by the membership, and
3769       by the Executive Committee.
3770
3771   9.8-4 Secretary-Treasurer: The Secretary-Treasurer shall:
3772
3773          9.8-4.1 Maintain a roster of members;
3774
3775          9.8-4.2 Keep accurate and complete minutes of all Association meetings and


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3776                carry out other secretarial functions;
3777
3778             9.8-4.3   Serve as secretary of the Executive Committee;
3779
3780             9.8-4.4 Perform such other functions as may be assigned to him/her by these
3781                 bylaws, by the membership or by the Executive Committee; and
3782
3783             9.8-4.5 Serve as treasurer by receiving and safeguarding all funds of the
3784                 Association; keeping accurate and complete financial records of all
3785                 Association activities; providing regular reports to the Association concerning
3786                 the financial status of the Association; preparing an annual proposed budget
3787                 of anticipated income and expenditures for approval by the Association;
3788                 preparing on a quarterly basis a financial statement and recommending,
3789                 where needed, the creation of a finance subcommittee to assist in these
3790                 duties.
3791
3792   9.9 COMPENSATION OF OFFICERS
3793
3794   The Association may elect to compensate officers for their work spent representing and
3795   leading the Association. Such compensation, if any, shall come from Association funds,
3796   for which the Association has sole responsibility. The payment to individual officers, if
3797   any, should be in an amount determined by the Executive Committee. If the Medical
3798   Center provides any funds specifically earmarked for such compensation, those funds
3799   should be requested and accounted for in the Association budget.
3800
3801
3802                                                   ARTICLE X
3803
3804                                                 ORGANIZATION
3805
3806   10.1 ORGANIZATION OF THE ASSOCIATION
3807
3808   10.1-1 The Association shall be organized into departments which are reflective of the
3809      scope of services provided within the Medical Center. Each department shall have a
3810      chair, selected and entrusted with the authority, duties and responsibilities specified
3811      in Section 10.4, who shall be responsible for the overall supervision of the clinical,
3812      educational and research activities within his/her department. The departments may
3813      be organized into one or more divisions. The specified divisions of a department
3814      shall be recommended by the department chair to the Executive Committee for
3815      action. Each division shall be organized as a specialty within a department, shall be
3816      directly responsible to the department within which it functions, and shall have a
3817      division chief who is selected and has the authority, duties and responsibilities as
3818      specified in this Article X.
3819
3820   10.1-2 The current departments are as follows:
3821
3822        1.   Medicine
3823        2.   Surgery
3824        3.   Radiology
3825        4.   Pathology and Laboratory Medicine
3826        5.   Pediatrics


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3827       6. Psychiatry
3828       7. Obstetrics & Gynecology
3829       8. Emergency Medicine
3830       9. Family Medicine
3831       10. Anesthesiology
3832       11. Neurology
3833       12. Orthopedic Surgery
3834
3835   10.1-3 Notwithstanding the procedures set forth in Article XIX, the organization of the
3836      Association, as set forth in this Section 10.1, may be changed from time to time,
3837      including, but not limited to, the creation, elimination, consolidation or modification of
3838      specific departments of the Association, by the Executive Committee with the advice
3839      of Medical Center Administration without the necessity of an amendment to these
3840      bylaws.
3841
3842      An Association department can be formed or eliminated only following a
3843      determination by the Association of appropriateness of department elimination or
3844      formation. The Governing Body shall uphold the Association’s determination unless
3845      the Governing Body makes specific written findings that the Association’s
3846      determination is arbitrary, capricious, an abuse of discretion, or otherwise not in
3847      accordance with the law.
3848
3849          10.1-3.1 The Association shall determine the formation or elimination of a
3850             department to be appropriate based upon consideration of its effects on
3851             quality of care in the facility and/or community. A determination of the
3852             appropriateness of formation or elimination of a department must be based
3853             upon the preponderance of the evidence, viewing the record as a whole,
3854             presented by any and all interested parties, following notice and opportunity
3855             for comment.
3856
3857          10.1-3.2 The Association member(s) whose privileges may be adversely affected
3858              by an Association’s determination of appropriateness of department
3859              formation or elimination may request a hearing before the Judicial Review
3860              Committee. Such a hearing will be governed by the provisions of Article VII,
3861              except that
3862
3863                        10.1-3.2-a the hearing shall be limited to the following issues:
3864
3865                               10.1-3.2-a.1 whether the Association’s determination of
3866                                 appropriateness is supported by the preponderance of the
3867                                 evidence; and
3868
3869                               10.1-3.2-a.2 whether the Association followed its
3870                                 requirements for notice and comment on the issue of
3871                                 appropriateness.
3872
3873                        10.1-3.2-b all requests for such a hearing will be consolidated.
3874
3875                Should an affected Association member request a hearing under this
3876                subsection 10.1-3.2, the Association’s recommendation regarding the



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3877                department elimination or formation will be deferred, pending the outcome
3878                of the Judicial Review Committee hearing.
3879
3880          10.1-3.3 Except as specified in this Section 10.1-3, the termination of privileges
3881             pursuant to formation or elimination of a department determined to be
3882             appropriate by the Association shall not be subject to the procedural rights
3883             otherwise set forth in Article VII.
3884
3885   10.2 ASSIGNMENT TO DEPARTMENTS AND DIVISIONS
3886
3887   Each practitioner shall be assigned membership in only one department and one
3888   division, if appropriate, but may be granted clinical privileges in one or more other
3889   departments or divisions. The exercise of privileges within each department shall be
3890   subject to the department's rules and regulations and/or departmental policies and to the
3891   authority of the department chair and division chief.
3892
3893   10.3   APPOINTMENT AND REMOVAL OF DEPARTMENT CHAIRS, VICE CHAIRS
3894          AND DIVISION CHIEFS
3895
3896   10.3-1 Department chairs, vice chairs and division chiefs shall be Active Staff members
3897      (or members of the Provisional Staff who meet the qualifications of the Active Staff)
3898      and who are qualified by training, experience and demonstrated abilities to be the
3899      chair of the particular department or chief of the particular division and shall be
3900      willing and able to discharge the functions of chair of the particular department or
3901      chief of the particular division, including acting as presiding officer at department or
3902      division meetings. They shall be board certified in a specialty or subspecialty of the
3903      particular department or the particular division or be able to establish, through the
3904      privilege delineation process, that they possess comparable competence.
3905
3906   10.3-2 Department chairs shall be appointed by the Chief Medical Officer, with
3907      concurrence of the Dean of the applicable professional school or his/her designee.
3908      with concurrent approval by the Executive Committee. Vice chairs and division chiefs
3909      shall be appointed by their department chairs.
3910
3911      Each department chair and division chief shall serve until his/her successor is
3912      appointed, unless he/she shall sooner resign or be removed. Removal of a
3913      department chair, vice chair or division chief shall be effected by the written approval
3914      of such action by those authorized to make and concur in the initial appointment. It
3915      shall be the obligation of the President and the Executive Committee, following at
3916      least a two-thirds vote of the Executive Committee, to recommend removal of a
3917      department chair or division chief, if such action is considered appropriate for any
3918      failure of a department chair or division chief to satisfactorily perform his or her
3919      functions or for valid cause, including, but not limited to, gross neglect or
3920      misfeasance in office, or serious acts of moral turpitude, to those authorized to make
3921      and concur in the initial appointment. .
3922
3923   10.3-3 In addition to exercising their responsibilities, all department chairs, vice chairs
3924      and division chiefs shall verbally disclose all actual or potential conflicts of interest
3925      pursuant to Section 15.7 in the course of each department meeting or other event
3926      where such a disclosure may be relevant. Any potential conflicts so disclosed shall
3927      be resolved as set forth in Section 15.7-1.


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3928
3929   10.4 RESPONSIBILITIES OF DEPARTMENT CHAIRS
3930
3931   10.4.-1 Department chairs shall be responsible for all clinically and academically related
3932      activities of their departments. More specifically, each department chair shall have
3933      the following authority, duties and responsibilities, and the vice-chair, in the absence
3934      of the chair, shall assume all of them and shall otherwise perform such duties as may
3935      be assigned:
3936
3937          10.4-1.1 Being accountable for and reporting to the Executive Committee and
3938             President regarding the professional and administrative activities within the
3939             department;
3940
3941          10.4-1.2 Acting as presiding officer at department meetings;
3942
3943          10.4-1.3 Integration of the department into the primary functions of the
3944             organization;
3945
3946          10.4-1.4 Coordination and integration of interdepartmental and intradepartmental
3947             services;
3948
3949          10.4-1.5 Development and implementation of departmental policies and
3950             procedures that guide and support the provision of services and that are
3951             consistent with the goals and scope of patient care services of the
3952             department;
3953
3954          10.4-1.6 Recommendations for a sufficient number of qualified and competent
3955             persons to provide care/services;
3956
3957          10.4-1.7 Continuing surveillance of the professional performance of all persons
3958             who have delineated clinical privileges in the department through a planned
3959             and systematic process;
3960
3961          10.4-1.8 Overseeing and maintaining the effective conduct of the patient care,
3962             evaluation, and monitoring functions delegated to the department by the
3963             Executive Committee in coordination and integration with organization-wide
3964             quality assessment and improvement activities;
3965
3966          10.4-1.9 Continuous assessment and improvement of the quality of care,
3967             treatment and services;
3968
3969          10.4-1.10 Making recommendations to the Executive Committee concerning
3970             practitioner membership and classification, the criteria for clinical privileges
3971             relevant to the services provided in the department and monitoring of
3972             specified services;
3973
3974          10.4-1.11 Recommending delineated clinical privileges for each member of the
3975             department;
3976




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3977          10.4-1.12 Determining the qualifications and competence of department
3978             personnel who are not licensed independent practitioners and who provide
3979             patient care services;
3980
3981          10.4-1.13 Enforcing bylaws, rules and policies within the department;
3982
3983          10.4-1.14 Maintenance of quality control programs, as appropriate;
3984
3985          10.4-1.15 Orientation and continuing education of all practitioners in the
3986             department;
3987
3988          10.4-1.16 Making recommendations for space and other resources needed by
3989             the department;
3990
3991          10.4-1.17 Making assessments and recommendations to the Medical Center
3992             Administration regarding off-site sources needed for patient care services not
3993             provided by the department or Medical Center;
3994
3995          10.4-1.18 Providing written delineation of the qualifications, authority, and
3996             administrative and clinical responsibilities of directors of non-medical support
3997             staff services in the department;
3998
3999          10.4-1.19 Making recommendations for appointment of qualified non-medical
4000             support staff with appropriate clinical training to be responsible for their
4001             particular patient care services;
4002
4003          10.4-1.20 Providing written goals and scope of patient care services provided in
4004             the department;
4005
4006          10.4-1.21 Implementing within the department appropriate actions taken by the
4007             Executive Committee; and
4008
4009          10.4-1.22 Appointing at least one (1) representative and alternate from his/her
4010             department to attend the annual and any special meetings of the Association
4011             and provide for their reporting to the department after such meetings. The
4012             function of representatives is set forth in Section 12.9-1.
4013
4014   10.4-2 Each department chair shall be a member of the Executive Committee.
4015
4016   10.4-3 Each department chair shall report to the PSA President and the Executive
4017      Committee for matters pertaining to the Association and to the Chief Medical Officer
4018      for matters pertaining to administrative duties. Each division chief shall report to
4019      his/her department chair and, indirectly, to the Executive Committee and the
4020      President for matters pertaining to the Association and to the Chief Medical Officer
4021      for matters pertaining to administrative duties.
4022
4023   10.4-4 Each division chief shall be responsible for all professional, administrative and
4024      educational activities delegated to him/her within his/her division by the chair of
4025      his/her department including carrying out the quality review and evaluation and
4026      monitoring activities assigned to the division.
4027


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4028   10.5 FUNCTIONS OF DEPARTMENTS
4029
4030   10.5-1 Each department shall be accountable to the Executive Committee for all
4031      professional and Association administrative activities within the department.
4032
4033   10.5-2 Each department shall establish its own criteria, consistent with the policies of the
4034      Medical Center and the Association, for the granting of clinical privileges and
4035      performance of specified health services in the department, and such criteria must
4036      be reviewed by the Credentials Committee and approved by the Executive
4037      Committee.
4038
4039   10.5-3 Each department shall establish a quality improvement committee or committees,
4040      if separate committees are necessary for divisions of departments, which shall be
4041      responsible for conducting patient care reviews for the purpose of analyzing and
4042      evaluating the quality and appropriateness of care and treatment provided to patients
4043      within the department. The department shall routinely collect information about
4044      important aspects of patient care provided in the department, periodically assess this
4045      information, and develop objective criteria for use in evaluating patient care. These
4046      criteria should include a consideration of deaths, complications, errors in diagnosis
4047      and treatment, and such other circumstances as are believed to be important.
4048
4049   10.5-4 Each departmental quality improvement committee shall meet at least quarterly
4050      and submit a report at least quarterly to the department chair and the Association's
4051      Peer Review Oversight Committee detailing departmental analysis of patient care.
4052
4053   10.5-5 Each department shall propose, through its chair, subject to approval by the
4054      Executive Committee and the Governing Body, rules and regulations and/or policies
4055      for the department that will apply in practice the general principles set forth in these
4056      bylaws.
4057
4058   10.5-6 Each department shall coordinate the patient care provided by the department's
4059      members with the nursing and ancillary patient care services.
4060
4061   10.5-7 Each department shall conduct or participate in, and make recommendations
4062      regarding the need for, continuing education programs pertinent to findings of review,
4063      evaluation and monitoring activities.
4064
4065   10.5-8 Each department shall conduct, participate in and make recommendations
4066      regarding graduate medical education and shall establish policies and procedures for
4067      supervision of its residents and fellows that take into account the need for physicians
4068      in training to participate in providing safe, effective and compassionate care for the
4069      patients under supervision of members of the Association who have applied for and
4070      been granted clinical privileges. As they demonstrate progress in attaining the goals
4071      and objectives of the residency training program, residents and fellows will be
4072      granted increasing responsibility under lesser degrees of supervision by the
4073      Association that is consistent with the attained knowledge and documented
4074      competence of each resident or fellow. The department’s policies and procedures
4075      for supervision of the residents and fellows, including, without limitation, granting
4076      residents and fellows graduated responsibility for the evaluation and management of
4077      patients, shall be submitted for review and approval by the Graduate Medical
4078      Education Committee and the Executive Committee and shall be distributed to all


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4079      residents and fellows and members of the Association in the department. The
4080      policies and procedures for supervision of residents and fellows shall be reviewed
4081      and modified as necessary at the time that the department’s faculty periodically
4082      assesses the educational effectiveness of the department’s physician training
4083      programs at intervals established by the Accreditation Council for Graduate Medical
4084      Education or other applicable accrediting organization but, in any event, no less than
4085      annually. Changes in the policies and procedures for supervision of residents and
4086      fellows that are approved by the Executive Committee shall be disseminated to the
4087      department’s members, residents and fellows.
4088
4089   10.6 FUNCTIONS OF DIVISIONS
4090
4091   Each division shall perform the functions assigned to it by the department chair. Such
4092   functions may include, without limitation, retrospective patient care reviews, evaluation of
4093   patient care practices, credentials review and privileges delineation, and continuing
4094   education programs. The division shall transmit regular reports to the department chair
4095   on the conduct of its assigned functions.
4096
4097
4098                                                 ARTICLE XI
4099
4100                                               COMMITTEES
4101
4102   11.1 GENERAL PROVISIONS
4103
4104   11.1-1 Designation:
4105
4106      Association committees shall include, but not be limited to, the Association meeting
4107      as a committee of the whole, meetings of departments and divisions, meetings of
4108      committees established under this Article, and meetings of special or ad hoc
4109      committees created by the Executive Committee (pursuant to Section 11.1-7) or by
4110      departments (pursuant to Section 10.5-3). There shall be an Executive Committee
4111      and such other standing and special committees as from time to time may be
4112      necessary and desirable to perform the Association functions described in these
4113      bylaws. The Executive Committee may by resolution establish a committee to
4114      perform one or more of the required Association functions. The Association’s
4115      committee activities are directed toward quality assessment and improvement and
4116      patient safety and function as part of the Medical Center’s Patient Safety Evaluation
4117      System and are, therefore, afforded the legal protections provided by the Patient
4118      Safety and Quality Improvement Act of 2005. The committees described in this
4119      Article XI shall be the standing committees of the Association.
4120
4121   11.1-2 Members and Reporting:
4122
4123      Unless otherwise specified, the members of such committees and the chair, vice-
4124      chair, and any other officers thereof shall be appointed by the President in
4125      consultation with the Executive Committee. The majority of the members of all
4126      committees shall be physician members of the Association, unless otherwise
4127      specifically provided in these bylaws. Unless otherwise specified, such committees
4128      shall be responsible to and report on a regular basis to the Executive Committee,



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4129      and all actions of the committees shall be subject to approval by the Executive
4130      Committee.
4131
4132   11.1-3 Terms of Committee Members
4133
4134      Unless otherwise specified, each committee chair and member shall be appointed for
4135      a term of one (1) year and shall serve until the end of this period or until a successor
4136      is appointed, whichever occurs later, unless he/she sooner resigns or is removed.
4137
4138   11.1-4 Removal
4139
4140      Any committee member, including the chair but not including a committee member
4141      serving ex-officio as defined in these Bylaws, may be removed by a majority vote of
4142      the Executive Committee.
4143
4144   11.1-5 Vacancy
4145
4146      Unless otherwise specified, any vacancy on any committee shall be filled in the same
4147      manner in which an original appointment to such committee is made.
4148
4149   11-1-6 Disclosure of Conflict of Interest
4150
4151      In addition to exercising their responsibilities, committee members shall verbally
4152      disclose all actual or potential conflicts of interest in the course of each Association
4153      meeting or other event where such a disclosure may be relevant. Any potential
4154      conflicts so disclosed shall be resolved as set forth in Section 15.7-1.
4155
4156   11.1-7 Addition or Deletion of Committees
4157
4158      The Executive Committee may recommend the addition, deletion or modification of
4159      any standing committee of the Association as may be described in these bylaws or
4160      has otherwise been appointed with the exception of the Executive Committee.
4161      Whenever these bylaws require that a function be performed by, or that a report or
4162      recommendation be submitted to, a named committee but no such committee exists,
4163      the Executive Committee shall perform such function or receive such report or
4164      recommendation or shall assign the functions of such committee to a new or existing
4165      committee of the Association or to the Association as a whole.
4166
4167   11.1-8 Voting Privileges
4168
4169      Only committee members who are members in good standing of the Active Staff, the
4170      Provisional Staff accorded the right to vote as specified in Section 3.5-2, and the
4171      Associate Staff shall be voting members of the committees unless otherwise
4172      specified in these Bylaws.
4173
4174   11.2   EXECUTIVE COMMITTEE
4175
4176   11.2-1 Composition:
4177
4178      The Executive Committee shall consist of the following members:
4179


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4180          11.2-1.1 The officers of the Association as described in Section 9-1;
4181
4182          11.2-1.2 Ex-officio members without vote – the Chief Medical Officer, the Chief
4183             Executive Officer; the Medical Director of Quality Improvement, the Medical
4184             Center’s Chief Nursing Officer, and any and all Associate Medical Directors of
4185             the Medical Center;
4186
4187          11.2-1.3 The chair of each department defined in Section 10.1. Whenever a new
4188             department is created, its chair shall become a member of the Executive
4189             Committee;
4190
4191          11.2-1.4 The physician chair of the Medicolegal Committee;
4192
4193          11.2-1.5 Three (3) Association Members at Large from three (3) different
4194             departments. These members shall be elected at the time of the annual
4195             meeting pursuant to Section 11.2-3 and shall serve for one (1) Association
4196             year or until a successor is elected; and
4197
4198          11.2-1.6 A physician member of the Active or Associate Staff whose primary
4199             clinical activity is at a community-based County facility.
4200
4201   11.2-2 The President, Vice-President, and Secretary-Treasurer, if any,shall serve as
4202          chair, vice-chair, and secretary, respectively, of the Committee.
4203
4204   11.2-3 The Association Members at Large shall be elected for a one (1) year term as
4205          follows:
4206
4207          11.2-3.1 The nominating committee as described in Section 9.3-1 shall offer
4208             three (3) or more nominees for Association Members at Large at the same
4209             time it offers nominees for other elected offices. Only Association members
4210             accorded the right to vote as described in Article III shall be eligible to serve
4211             as Association Members at large.
4212
4213          11.2-3.2 Nominations for Association Members at Large may also be made by
4214             petition signed by at least ten (10) members of the Active or Associate Staff
4215             accompanied by the written consent of the nominee(s) and filed with the
4216             Secretary at least ten (10) days prior to the annual meeting. In this event, the
4217             Secretary shall promptly advise the membership of the additional
4218             nomination(s) by mail.
4219
4220          11.2-3.3 The voting for the Association Members at large shall be at the annual
4221             Association meeting by written ballot. Election of the three (3) positions shall
4222             be by plurality of the votes cast with the three (3) candidates receiving the
4223             most votes being elected.
4224
4225             Vacancies in the positions of Association Member at Large shall be filled by
4226             the Executive Committee. Removal of an Association Member at Large may
4227             be effected by the Executive Committee acting upon its own initiative or by a
4228             two-thirds vote of the members eligible to vote for officers. Such removal
4229             shall be based only upon failure to participate appropriately in Committee
4230             functions.


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4231
4232   11.2-4 Duties:
4233
4234      The Executive Committee shall be accountable to the Association. The Association
4235      delegates to the Executive Committee broad authority to oversee the operations of
4236      the Association. With the assistance of the President, and without limiting this broad
4237      delegation of authority, the Executive Committee shall perform in good faith the
4238      duties listed below:
4239
4240         11.2-4.1 To seek out the views of the Association on all appropriate issues;
4241
4242         11.2-4.2 To convey accurately to the Governing Body the views of the
4243            Association on all issues, including those relating to safety and quality;
4244
4245         11.2-4.3 To oversee the Medical Center-wide Quality of Care Program, including
4246            approval of the Medical Center Quality of Care Plan, and identify
4247            opportunities to improve patient care and the organization's performance;
4248
4249         11.2-4.4 To represent and to act on behalf of the Association in the intervals
4250            between Association meetings, subject to such limitations as may be
4251            imposed by these bylaws;
4252
4253         11.2-4.5 To coordinate and implement the professional and organizational
4254            activities and policies of the Association;
4255
4256         11.2-4.6 To coordinate the activities and general policies of the various
4257            departments;
4258
4259         11.2-4.7 To designate such committees as may be appropriate or necessary to
4260            assist in carrying out the duties and responsibilities of the Association;
4261
4262         11.2-4.8 To receive and act upon reports and recommendations from Association
4263            committees, departments, and divisions, and from special staff reports;
4264
4265         11.2-4.9 To formulate and approve policies of the Association not otherwise the
4266            responsibility of the departments;
4267
4268         11.2-4.10 To act for the Association as a liaison in the development of all Medical
4269            Center policies;
4270
4271         11.2-4.11 To provide the formal liaison for the Association with the Medical
4272            Center Administration, the Director, and the Governing Body, including,
4273            without limitation, for the purpose of meeting and conferring in good faith to
4274            resolve any dispute between the Association and the Medical Center
4275            Administration, the Director or the Governing Body;
4276
4277         11.2-4.12 To recommend action to the Chief Medical Officer, Chief Executive
4278            Officer, Director and Governing Body on matters of medico-administrative
4279            nature;
4280



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4281       11.2-4.13 To make recommendations on Medical Center management matters to
4282          the Chief Executive Officer;
4283
4284       11.2-4.14 To develop and adopt appropriate policies to enable privileges holders
4285          to maintain the level of practice required under, and to more specifically
4286          implement, these Bylaws;
4287
4288       11.2-4.15 To establish appropriate criteria for cross-specialty privileges in
4289          accordance with Section 5.1-7;
4290
4291       11.2-4.16 To make recommendations directly to the Governing Body about the
4292          Association’s structure, the process used to review credentials and delineate
4293          privileges, and the ability to recruit and retain qualified members;
4294
4295       11.2-4.17 To evaluate the medical care rendered to patients in the Medical
4296          Center;
4297
4298       11.2-4.18 To fulfill the Association's accountability to the Governing Body for the
4299          health care rendered to patients in the Medical Center and to make
4300          recommendations to the Governing Body regarding the need for sufficient
4301          resources for the Association to render quality health care;
4302
4303       11.2-4.19 To ensure that the Association is kept abreast of the licensing and
4304          accreditation program and to assist in obtaining and maintaining the licensing
4305          and accreditation status for the Medical Center;
4306
4307       11.2-4.20 To develop and maintain methods for the protection and care of
4308          patients and others in the event of internal or external disaster;
4309
4310       11.2-4.21 To review and approve the designation of the Medical Center’s
4311          authorized representative for National Practitioner Data Bank purposes;
4312
4313       11.2-4.22 To review the credentials, performance, professional competence,
4314          character and other qualifications of all applicants and make
4315          recommendations to the Governing Body for Association membership
4316          appointments and reappointments, assignments to departments, delineation
4317          of clinical privileges, and corrective actions;
4318
4319       11.2-4.23 To take all reasonable steps to ensure professionally ethical conduct
4320          and competent clinical performance on the part of all members of the
4321          Association, including the initiation and recommendation of and/or
4322          participation in Association corrective or review measures when warranted;
4323
4324       11.2-4.24 To report at the annual meeting of the Association;
4325
4326       11.2-4.25 To take reasonable steps to develop continuing educational activities
4327          and programs for the Association;
4328
4329       11.2-4.26 To determine the amount, if any, of the annual dues/assessments for
4330          each category of Association membership; to collect all dues/assessments; to
4331          deposit all funds collected as dues/assessments in an account in a bank


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4332             located in California; and to expend dues/assessments funds out of such
4333             account for Association purposes only, in accordance with Section 15.4;
4334
4335          11.2-4.27 To retain independent legal counsel to represent the Association in a
4336             legal action or otherwise and to make payment of all related attorney fees,
4337             costs and expenses, using Association dues/assessments funds only, in
4338             accordance with Section 15.5;
4339
4340          11.2-4.28 To review the job description (e.g., qualifications, responsibilities and
4341             reporting relationships) of the Chief Medical Officer for the Medical Center
4342             both to assure their adequacy for Association purposes and to avoid a conflict
4343             of duties between the Chief Medical Officer and any Association leader.
4344
4345          11.2-4.29 To participate in the process of recruiting a Chief Medical Officer of the
4346             Medical Center including having membership on the Search Committee, and
4347             to approve or veto the selection of any such candidates, with any veto being
4348             binding upon the Medical Center;
4349
4350          11.2-4.30 To review the performance of the Chief Medical Officer periodically and
4351             transmit the results of that review to the Governing Body for consideration;
4352             and
4353
4354          11.2-4.31 To fulfill such other duties as the Association has delegated to the
4355             Executive Committee in these bylaws.
4356
4357   11.2-5 Removal and/or Reassignment of Duties Delegated to the Executive Committee
4358
4359      Removal and/or reassignment of a duty or duties delegated to the Executive
4360      Committee by the Association may only be done by amending these bylaws following
4361      the procedures described in Article XIX.
4362
4363   11.2-6 Meetings:
4364
4365      The Executive Committee shall meet as often as necessary but shall hold at least ten
4366      (10) monthly meetings per year, shall maintain a permanent record of its proceedings
4367      and actions, and shall submit a quarterly summary report of the general findings and
4368      recommendations to the Governing Body as part of the governing body report of the
4369      Joint Conference Committee except that routine reports to the Governing Body shall
4370      not include peer evaluations related to individual members.
4371
4372      A special meeting of the Executive Committee shall be held to resolve conflicts
4373      between the Executive Committee and the Association if requested in writing by a
4374      petition signed by at least fifteen (15) Active Staff members addressed to the
4375      President and stating the purpose for such meeting. The members signing the
4376      petition shall be invited to the meeting. The parties shall meet and confer in good
4377      faith to resolve the conflict including 1) identifying the conflict; 2) gathering
4378      information regarding the conflict; 3) working with the parties to manage and, when
4379      possible, resolve the conflict; and 4) protecting the quality and safety of care. In the
4380      event the conflict cannot be resolved, either party may follow the process described
4381      in Section 12.2-1 to call a special meeting of the Association to discuss the issue.
4382


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4383   11.2-7 Professional Staff Association Review Subcommittee of the Executive Committee
4384      (PSA Review Committee)
4385
4386          11.2-7.1 Composition
4387
4388             The PSA Review Committee shall consist of the officers of the Association,
4389             the Chief Medical Officer, the Associate Medical Director for Ambulatory
4390             Care, the Associate Medical Director for Inpatient Care, the Associate
4391             Medical Director of for Medical Education, the physician Quality Improvement
4392             Director/Chief Quality Officer, and the Patient Safety Officer.
4393
4394          11.2-7.2 Duties:
4395
4396                      11.2-7.2-a To review and evaluate findings and recommendations
4397                         by the Association committees and departments, and to make
4398                         recommendations to the Executive Committee related to
4399                         improving the delivery of patient care;
4400
4401                      11.2-7.2-b To review the Medical Center’s Quality of Care Plan
4402                         biannually recommending any changes to the Executive
4403                         Committee;
4404
4405                      11.2-7.2-c To review reports from the Peer Review Oversight
4406                         Committee (PROC), the Clinical Data Monitoring Panel, the
4407                         Medicolegal Committee, the Patient Safety Council and other
4408                         specified Association committees;
4409
4410                      11.2-7.2-d To review, evaluate and make recommendations to the
4411                         Executive Committee on policies requiring Executive Committee
4412                         approval;
4413
4414                      11.2-7.2-e To receive and evaluate concerns related to the ability of
4415                         the Association to be self-governing and report back to the
4416                         Association;
4417
4418                      11.2-7.2-f To identify issues requiring clinical operations
4419                         improvement and charter ad-hoc groups when indicated;
4420
4421                      11.2-7.2-g To recommend operational improvement issues, with
4422                         supporting documentation, to the Executive Leadership Council
4423                         for its consideration.
4424
4425                      11.2-7.2-h To recommend the appointment of ad hoc committees of
4426                         the PSA Review Committee when indicated; and
4427
4428                      11.1-7.2-i To submit monthly reports to the Executive Committee of
4429                         findings and recommendations requiring action by the Executive
4430                         Committee.
4431
4432          11.2-7.3 Meetings:
4433


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4434              The PSA Review Committee shall hold at least ten (10) monthly meetings per
4435              year, shall maintain a permanent record of its proceedings and actions, and
4436              shall submit a report of each meeting (meeting minutes will suffice for this
4437              purpose) to the Executive Committee on its activities.
4438
4439   11.3 CREDENTIALS COMMITTEE
4440
4441   11.3-1 Composition: The Credentials Committee shall consist of not less than seven
4442      (7) members of the Active Staff selected on a basis that will ensure, insofar as
4443      feasible, representation of major clinical specialties. Membership of this Committee is
4444      restricted to Association members.
4445
4446   11.3-2 Duties:
4447
4448         11.3-2.1 To review the qualifications and credentials of all applicants for
4449             Association membership and/or modification of clinical privileges and to make
4450             recommendations for membership appointment and reappointment,
4451             assignment to departments, and delineation of clinical privileges in
4452             accordance with these bylaws;
4453
4454         11.3-2.2 To review all information available regarding the current competence of
4455             Association members and, as a result of such reviews, to make
4456             recommendations for the granting of privileges including, if applicable,
4457             completion of proctoring, reappointments, and the assignment of practitioners
4458             to the various departments or services in accordance with Articles IV and V;
4459
4460         11.3-2.3 To make a report to the Executive Committee, in accordance with
4461             Articles IV and V, on each applicant for Association membership or clinical
4462             privileges, including specific consideration of the recommendations from the
4463             departments in which such applicant requests privileges;
4464
4465         11.3-2.4 To investigate and review matters referred by the President, the
4466             Executive Committee, any committee of the Association, or the Chief Medical
4467             Officer regarding the qualifications, conduct, professional character or current
4468             competence of any applicant or Association member and be advisory to and
4469             make recommendations to the Executive Committee on such matters
4470
4471         11.3-2.5 To consider any matters of controversy between departments regarding
4472             Association membership appointments and reappointments or granting of
4473             privileges; and
4474
4475         11.3-2.6 To review and evaluate the use of allied health professional personnel
4476             performing specified services and, in connection therewith, obtain and
4477             consider the recommendations of the appropriate departments. This
4478             requirement shall be performed by the Interdisciplinary Practices Committee,
4479             as described in Section 11.35, and by the appropriate department each of
4480             which shall report their findings and recommendations to the Credentials
4481             Committee.
4482
4483   11.3-3 Meetings: The Committee shall meet as needed, but at least quarterly, shall
4484      maintain a permanent record of its proceedings and actions, and shall submit at least


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4485      a quarterly report (meeting minutes will suffice for this purpose) to the Executive
4486      Committee on its activities and recommendations.
4487
4488   11.4 JOINT CONFERENCE COMMITTEE
4489
4490   11.4-1 Composition: The Joint Conference Committee shall be composed of
4491
4492         11.4-1.1 at least two (2) of the following as representatives of the Association:
4493
4494               1. the President
4495               2. the Vice President
4496               3. the Immediate Past President
4497               4. the Secretary-Treasurer;and
4498
4499         11.4-1.2. at least two (2) of the following as representatives of the Governing
4500            Body:
4501
4502               1. a member(s) of the Governing Body
4503               2. one (1) health deputy to a member of the Board of Supervisors
4504               3. the Director
4505               4. the Chief Medical Officer of Health Services;
4506
4507      each of whom shall have a vote.
4508
4509      The Chair, Professional Performance Panel; Peer Review Oversight Committee; the
4510      Associate Medical Directors of for Ambulatory Care; the Associate Medical Director
4511      for Inpatient Care; the Associate Medical Director of for Medical Education; the Chief
4512      Medical Officer; the physician chief Quality Officer; and the Chair, Medicolegal
4513      Committee may attend the meeting as required to discuss issues relevant to their
4514      responsibilities. The chairmanship of the Committee shall alternate annually
4515      between the Association and the non-Association participants. A quorum shall
4516      consist of at least two (2) representatives as defined in this Section 11.4-1 from both
4517      the Association and the Governing Body.
4518
4519   11.4-2 Duties:
4520
4521         11.4-2.1 Discussing matters of Medical Center and Association policy, practice
4522            and planning;
4523
4524         11.4-2.2 Providing a forum for the interaction between the Governing Body and
4525            the Association on such matters as may be referred by the Executive
4526            Committee or the Governing Body.
4527
4528         11.4-2.3 Discussing the Quarterly Governing Body Report of the Association on
4529            the quality of patient care, findings and actions taken from quality reviews and
4530            peer review activities related to potential or actual medical malpractice
4531            claims.
4532
4533         11.4-2.4 Except where there is a resource allocation committee, serving as the
4534            review body for Medical Center strategic planning. The Committee may
4535            request additional information from management when considering such


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4536              plans.
4537
4538          11.4-2.5 Serving as the body to handle Association and Governing Body disputes
4539             and meeting and conferring in good faith to resolve such disputes including 1)
4540             meeting as early as possible to identify the conflict; 2) gathering information
4541             regarding the conflict; and 3) working to resolve the conflict.
4542
4543          11.4-2.6 Exercising any other responsibilities set forth in these bylaws.
4544
4545   11.4-3 Meetings: The Joint Conference Committee shall meet on demand when
4546      necessary to resolve disputes as determined by the Association or the Governing
4547      Body but at least quarterly and shall transmit written reports of its activities to the
4548      Executive Committee and the Governing Body except that reports to the Governing
4549      Body shall not include peer review information related to individual members.
4550
4551   11.5 PEER REVIEW OVERSIGHT COMMITTEE (PROC)
4552
4553   11.5-1 Composition: The Peer Review Committee Chair of each department or their
4554      designee along with a Chair and a Vice-Chair that should be separate from the
4555      department representation. Membership is restricted to Association members
4556
4557   11.5-2 Duties: Assists hospital leadership in assuring that the medical staff departments
4558      have effective peer-review programs by providing secondary review of the following
4559      types of peer-review cases:
4560
4561          11.5-2.1 All cases in which a category 3 designation has been assigned by a
4562             department’s peer-review committee (i.e., cases in which care is assessed as
4563             not meeting the standard of care and having a high likelihood of causing
4564             harm.)To annually review, evaluate, and recommend to the PSA Review
4565             Committee revisions of the written Medical Center wide Quality of Care Plan;
4566
4567          11.5-2.2 Any cases referred to the PROC by a department chair or peer-review
4568             committee. To make recommendations related to improving clinical practice
4569             or clinical or non-clinical processes that require Association or Medical Center
4570             leadership or participation;
4571
4572          11.5-2.3 Any case in which a member of the medical staff wishes to formally
4573             appeal the category assignment of a department’s peer-review committee.
4574
4575          11.5-2.4 Cases in which two or more departments differ in their assessment of QI
4576             cases where those differences impact peer-review.
4577
4578   11.5-2.5 Reviews information about grievances against physicians and surgeons
4579      and assures that appropriate peer-review has been performed if indicated. Presents
4580      aggregate data about these grievances to the Medical Executive Committee and
4581      PSA Review Committee quarterly.
4582
4583   11.5-3 Meetings: The committee shall meet at least quarterly and shall maintain a
4584   permanent record of its proceedings and actions.
4585
4586   11.6   CLINICAL DATA MONITORING PANEL


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4587
4588   11.6-1 Composition: The Clinical Data Monitoring Panel shall consist of at least three
4589      (3) members from three (3) different departments and one (1) representative each
4590      from Nursing, the Quality Improvement/Patient Safety and Hospital Administration. A
4591      physician with a leadership role in quality improvement will serve as chair.
4592
4593   11.6-2 Duties:
4594
4595          11.6-2.1 To assure that important clinical processes are measured, assessed
4596             and improved;
4597
4598          11.6-2.2 To review and evaluate the activities and data collected, reviewed and
4599             reported by the following Association and Medical Center committees and
4600             services:
4601
4602                       11.6-2.2-a Blood and Tissue Utilization;
4603                       11.6-2.2-b Pharmacy and Therapeutics/Medication Safety;
4604                       11.6-2.2-c Utilization Review
4605                       11.6-2.2-d Surgical Case Review;
4606                       11.6-2.2-e Infection Prevention and Control;
4607                       11.6-2.2-f Health Care Information;
4608                       11.6-2.2-g Clinical Laboratory;
4609                       11.6-2.2-h Cancer Coordinating;
4610                       11.6-2.2-i Operating Room;
4611                       11.6-2.2-j Patient Safety Council
4612                       11.6-2.2-k Nutrition;
4613                       11.6-2.2-l End Stage Renal Disease;
4614                       11.6-2.2-m Trauma Performance Improvement
4615                       11.6-2.2-n Ambulatory Care Quality Improvement;
4616                       11.6-2.2-o Cardiopulmonary Resuscitation;
4617                       11.6-2.2-p Critical Care; and
4618                       11.6-2.2-q Pediatric Critical Care;
4619                       11.6-2.2-r Other committees, as deemed appropriate
4620
4621          11.6-2.3 To ensure that the assessment process includes intensive assessment
4622             when undesirable variation in performance may have occurred;
4623
4624          11.6-2.4 To oversee committee analyses of aggregate clinical data, including
4625             outcomes data, and make recommendations as necessary;
4626
4627          11.6-2.5 To identify issues requiring medical executive attention;
4628
4629          11.6-2.6 To ensure that improvement opportunities consistent with Medical
4630             Center priorities are identified and acted upon;
4631
4632          11.6-2.7 To identify opportunities for interdisciplinary collaboration;
4633
4634          11.6-2.8 To identify potential cost-saving opportunities; and
4635
4636          11.6-2.9 To identify opportunities for continuing medical education.
4637


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4638   11.6-3 Meetings: The Panel shall meet at least quarterly, shall maintain a permanent
4639      record of its proceedings and actions, and shall submit a report of each meeting
4640      (meeting minutes will suffice for this purpose) to the Executive Committee through
4641      the PSA Review Committee on its activities and recommendations.
4642
4643   11.7 UTILIZATION REVIEW COMMITTEE
4644
4645   11.7-1 Composition: The Utilization Review Committee shall include at least one (1)
4646      member from each department, the Medical Director of Utilization Review t, and one
4647      (1) each from Nursing, Medical Center Administration, Medical Records, Clinical
4648      Social Services, and Revenue Management.
4649
4650   11.7-2 Duties:
4651
4652          11.7-2.1 Utilization Review Studies: The Committee shall conduct utilization
4653            review studies designed to evaluate the appropriateness of admissions to the
4654            Medical Center, using evidence-based criteria, lengths of stay, discharge
4655            practices, use of Medical Center services, and all related factors which may
4656            contribute to the effective utilization of the Medical Center and physician
4657            services. In addition, the Committee shall obtain, review and evaluate
4658            information and raw statistical data obtained or generated by the Medical
4659            Center’s Electronic Health Record, ORCHID, under the Care Management
4660            Module. The Committee shall communicate the results of its studies and other
4661            pertinent data to the Chief Medical Officer, the Chief Executive Officer, the
4662            Chief Medical Officer of Health Services, and the Executive Committee and
4663            shall make recommendations for the optimum utilization of Medical Center
4664            resources and facilities commensurate with quality of patient care and safety,
4665            except that such reports and such recommendations will not include provider-
4666            specific information or details on any individual cases.
4667
4668          11.7-2.2 Written Utilization Review Plan: The Committee shall formulate a
4669            written Utilization Review Plan for the Medical Center. Such Plan, as
4670            approved by the Association, the Chief Executive Officer, and the Governing
4671            Body, must be in effect at all times and must include all of the following
4672            elements:
4673
4674                      11.7-2.2-a The organization and composition of the committee(s)
4675                         which will be responsible for the utilization review function;
4676
4677                      11.7-2.2-b Frequency of meetings;
4678
4679                      11.7-2.2-c The types of records to be kept;
4680
4681                      11.7-2.2-d The methods to be used in selecting cases on a sample
4682                         or other basis;
4683
4684                      11.7-2.2-e The definition of what constitutes the period of extended
4685                         duration;
4686
4687                      11.7-2.2-f The relationship of the Utilization Review Plan to claims
4688                         administered by a third party;


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4689
4690   11.7-3 Meetings:
4691
4692   The Committee shall hold at least ten (10) monthly meetings per year, shall maintain a
4693   permanent record of its proceedings and actions, and shall submit a report of each
4694   meeting (meeting minutes will suffice for this purpose) to the Executive Committee
4695   through the Clinical Data Monitoring Panel on its activities and recommendations.
4696
4697   11.8 PHARMACY AND THERAPEUTICS COMMITTEE
4698   11.8-1 Composition: The Committee shall consist of at least one (1) member from each
4699      of the following departments: Medicine Surgery, Anesthesiology, Pediatrics,
4700      Obstetrics and Gynecology, Emergency Medicine, Family Medicine, and Psychiatry;
4701      one (1) each from the Nursing Department, Medical Center Administration, and
4702      the Ambulatory Care Service; the Medical Center’s Director of Pharmacy, and one
4703      (1) representative of the residents.
4704
4705   11.8-2 Duties:
4706
4707      11.8-2.1 The Committee shall address the major processes involved in medication
4708      procurement, storage, distribution, dispensing, and use of drugs and chemicals in the
4709      Medical Center.
4710
4711      11.8-2.2 The Pharmacy Director, in consultation with other appropriate health
4712             professionals and administration, is responsible for the development of
4713             written policies and procedures for establishment of safe and effective
4714             systems for procurement, storage, distribution, dispensing and use of drugs
4715             and chemical. Such policies and procedures shall be reviewed, revised,
4716             and/or approved by the Committee.
4717
4718       11.8-2.3 The Pharmacy Director, in consultation with other appropriate health
4719             professionals and administration, is responsible for the implementation of
4720             procedures.
4721
4722       11.8–2.4 Committee activities include development and maintenance of a hospital
4723             formulary.
4724
4725                      11.8–2.4-a The medical staff establishes a formulary system;
4726
4727                      11.8–2.4-b The formulary lists medications for dispensing or
4728                      administration that the hospital maintains;
4729
4730                      11.8–2.4-c the medical staff, in consultation with Core DHS P&T
4731                      and pharmacy service, develops written criteria for determining what
4732                      medications are available for dispensing or administration. At a
4733                      minimum, the criteria include the indication for use, effectiveness,
4734                      risks (including propensity for medication errors, abuse potential,
4735                      and sentinel events), and costs;
4736
4737                      11.8–2.4-d The medical staff, in consultation with the pharmacy
4738                      service, develops processes and mechanisms to monitor patient



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4739                    responses to a newly added medication before the medication is
4740                    made available for dispensing or administration within the hospital;
4741
4742                    11.8-2.4-e The medical staff, in consultation with the pharmacy
4743                    service, develops guidelines for the administration of drugs when
4744                    given in unusually high dosages or when given for purposes other
4745                    than those for which the drug is customarily used;
4746
4747                    11.8-2.4-f The medical staff, in consultation with the pharmacy
4748                    service, develops processes to approve and procure medications
4749                    that are not on the hospital’s medication list;
4750
4751                    11.8-2.4-g The medical staff, in consultation with the pharmacy
4752                    service, develops processes to address medication shortages and
4753                    outages, including the following:
4754
4755                    •     Communication with appropriate prescribers and staff;
4756                    •     Developing approved substitution protocols;
4757                    •     Educating appropriate LIPs, appropriate health             care
4758                          professionals, and staff about these protocols; and,
4759                    •     Obtaining medications in the event of a disaster.
4760
4761    11.8-2.5   The Committee shall address the major processes involved in
4762               medication usage, such as prescribing or ordering; preparation or
4763               dispensing; administration; monitoring the medication’s effect on the
4764               patient; safety procedures; and all other matters relating to drugs in the
4765               Medical Center, including antibiotic usage.
4766
4767    11.8-2.6   The Committee shall oversee the pharmacists prescribing activities.
4768
4769    11.8-2.7   The Committee shall be responsible for ensuring the quality of service
4770               provided by the pharmacy department.
4771
4772                    11.8-2.7-a The Pharmacy Director, in consultation with other
4773                    appropriate health professionals and administration, is responsible
4774                    for the development of written policies, procedures, and protocols
4775                    for establishment of clinical activities to be provided by clinical
4776                    pharmacists;
4777
4778                    11.8-2.7-b The Committee shall review the quality of service;
4779
4780                    11.8-2.7-c The quality assurance data shall be submitted to the
4781                    Medical Executive Committee, through the Clinical Data Monitoring
4782                    Panel
4783
4784    11.8-2.8   The Committee shall also perform the following specific functions:
4785
4786                    11.8-2.8-a Periodically review high use and high cost drug items
4787                    and making appropriate recommendations;
4788



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4789                       11.8-2.8-b Establish standards concerning the use and control of
4790                       investigational drugs and of research in the use of recognized drugs
4791                       and make appropriate recommendations for improvement;
4792
4793                       11.8-2.8-c Review adverse drug reactions and medication errors.
4794
4795   11.8-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
4796      permanent record of its proceedings and actions and the results of actions taken,
4797      and shall submit at least a quarterly report (meeting minutes will suffice for this
4798      purpose) to the Executive Committee through the Clinical Data Monitoring Panel on
4799      its activities and recommendations.
4800
4801   11.8-4 Antibiotic Review Subcommittee
4802
4803          11.8-4.1 Composition: The Antibiotic Review Committee shall consist of at
4804             least two (2) members from the Division of Infectious Diseases, one (1)
4805             member from the Division of Pediatric Infectious Diseases, one (1) member
4806             from Nursing, one (1) member from Pharmacy Services, and other members
4807             of the Association or Medical Center staff as deemed necessary.
4808
4809          11.8-4.2 Duties: The Committee makes recommendations to the Pharmacy and
4810             Therapeutics Committee regarding practices in the use of anti-infective
4811             agents in the Medical Center including, but not necessarily limited to:
4812
4813                       11.8-4.2-a The indications for antibiotics, antifungals and other anti-
4814                          infective agents;
4815
4816                       11.8-4.2-b Guidelines for selecting, administering and monitoring
4817                          use of anti-infective agents;
4818
4819                       11.8-4.2-c The preferred drug(s) for specific disease states;
4820
4821                       11.8-4.2-d Collection of data on the use of anti-infective agents,
4822                          analyzing the data and making improvements in the use of these
4823                          agents;
4824
4825                       11.8-4.2-e Selection of the most cost-effective agent to manage
4826                          infections; and
4827
4828                       11.8-4.2-f Restrictions in the use of specific anti-infective agents.
4829
4830
4831   11.8-5 Medication Safety Committee
4832
4833          11.8-5.1 Description: Harbor-UCLA Medical Center Medication Safety Committee
4834          (MSC) is a multi-disciplinary Professional Staff Association (PSA) Committee
4835          charged with the promotion of medication safety policies and practices. The
4836          committee will review medication event data, relevant facility policies, Medication
4837          Error Reduction Plan (MERP), and literature/reports in an effort to provide
4838          decisions and guidance to promote overall medication safety. This Committee
4839          will report to the Clinical Data Monitoring Panel (CDMP) and will also provide


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4840          data and reports to the Pharmacy & Therapeutics (P&T) Committee.
4841
4842   11.8-5.2 Responsibilities
4843
4844                       11.8-5.2-a Review adverse drug event and medication error reports,
4845                       analyze statistics and trends;
4846
4847                       11.8-5.2-b Develop or follow up on implemented policies that impact
4848                       medication safety including the transition to Electronic Health
4849                       Record;
4850
4851                       11.8-5.2-c Monitor reports on medication safety-related topics
4852                       including, but not limited to, Anesthesia Controlled Substance Use,
4853                       Medication Storage, Pharmacist Interventions, and Automated
4854                       Dispensing Cabinet Overrides/Discrepancies Review, and assess
4855                       Medication Error Reduction Plan (MERP) quarterly and annually;
4856
4857                       11.8-5.2-d Review DHS system-wide Expected Practice
4858                       recommendations and other medication-safety related action plans
4859                       and implement, if applicable.
4860
4861                       11.8-5.2-e Review current literature pertaining to medication safety,
4862                       and update/revise existing policy;
4863
4864                       11.8-5.2-f Identify specific technology goals to reduce the incident of
4865                       medication errors through the use of proven technology;
4866
4867                       11.8-5.2-g Review and follow up with actions for any regulatory
4868                       standards and external best practices in relation to medication
4869                       safety.
4870                       11.8-5.2-h Provide recommendations to CDMP regarding
4871                       system/process improvements;
4872
4873                       11.8-5.2-i The Committee may conduct additional business
4874                       meetings through special committees, conference calls, electronic
4875                       mail, and through established workgroups.
4876
4877   11.8-5.3 Membership: The membership will be composed of Medical Staff, Pharmacy,
4878   Nursing, Hospital Administration, Quality Assessment & Resource Management, and
4879   Information System representatives as designated below. The following is a list of
4880   committee members:
4881
4882   Chief Information Officer or designated representative (1)
4883   Clinical Nurse Specialist / Clinical Nurse Educator (1)
4884   Director of Quality Assessment (1)
4885   Hospital Administrator / Nursing Administrator (2)
4886   Medical Staff Co-Chair (1)
4887   Medical Staff representative (2)
4888   Medical Director of Quality Improvement / Patient Safety Officer (1)
4889   Pharmacy Director / Co-Chair (1)
4890   Pharmacy Medication Safety Officer (1)


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4891   Staff Nurse (1)
4892
4893   The Committee will be co-chaired by the Pharmacy Director and the designated Medical
4894   Staff member.
4895
4896   11.8-5.4 Meetings: The committee will meet every month according to a pre-established
4897   schedule. Quarterly reports and recommendations will be provided to the Clinical Data
4898   Monitoring Panel (CDMP). Two physician members (or their designee) and a minimum
4899   of 5 permanent members constitute a quorum.
4900
4901   11.9 INFECTION PREVENTION AND CONTROL COMMITTEE
4902
4903   11.9-1 Composition: The Committee Chair is the Medical Director of Infection
4904      Prevention and Control. The Committee shall include at least one (1) member from
4905      each of the following departments: Medicine, Surgery, Obstetrics and Gynecology,
4906      Pediatrics, and Pathology and Laboratory Medicine; and at least one (1) each from
4907      Nursing, Medical Center Administration, Infection Prevention and Control and
4908      Employee Health, Facilities Management, Environmental Safety and Environmental
4909      Services. The Chair may include other personnel with the expertise and experience
4910      to make knowledgeable decisions.
4911
4912   11.9-2 Duties:
4913
4914          11.9-2.1 The primary purpose of the Committee is to provide a safe and high
4915            quality care environment through the prevention and control of Medical
4916            Center-acquired infections in patients, visitors and Medical Center personnel
4917            by maintaining an infection prevention and control program.
4918
4919          11.9-2.2 The Committee shall advise and direct the activities of the Infection
4920            Prevention and Control staff professionals who conduct the daily activities of
4921            infection control. These activities include, but are not limited to:
4922
4923                      11.9-2.2-a Disease surveillance;
4924
4925                      11.9-2.2-b Surveillance data analysis and education;
4926
4927                      11.9-2.3-c Developing educational resources for             infection
4928                         prevention, control and healthcare epidemiology;
4929
4930                      11.9-2.2-d Outbreak evaluation;
4931
4932                      11.9-2.2-e Consultation;
4933
4934                      11.9-2.2-f Establishing and evaluating aseptic, isolation and
4935                         sanitation techniques;
4936
4937                      11.9-2.2-g Defining indications for transmission-based precautions;
4938
4939                      11.9-2.2-h Research;
4940
4941                      11.9-2.2-i Providing advice on all proposed construction;


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4942
4943                      11.9-2.2-j Development of infection prevention and control policies
4944                         and procedures and facilitating departmental compliance; and
4945
4946                      11.9-2.2-k Enforcement of infection control measures or studies, as
4947                         needed.
4948
4949   11.9-3 Meetings: The Committee shall meet at least quarterly and also whenever any
4950      major outbreak of infection makes a meeting desirable. The Committee shall
4951      maintain a permanent record of its proceedings and actions and shall submit at least
4952      a quarterly report (meeting minutes will suffice for this purpose) to the Executive
4953      Committee through the Clinical Data Monitoring Panel on its activities and
4954      recommendations.
4955
4956   11.10 HUMAN SUBJECTS COMMITTEE
4957
4958   11.10-1 Composition
4959
4960          11.10-1.1 The Human Subjects Committee refers to the Institutional Review
4961             Boards (hereafter "IRBs") of the Los Angeles Biomedical Research Institute
4962             at Harbor-UCLA (hereafter "LA BioMed"), and the proceedings and actions of
4963             the IRBs shall constitute the proceedings and actions of the Committee.
4964
4965                      11.10-1.1-a The IRBs shall be broadly representative bodies
4966                         comprised of members from varying backgrounds (such as
4967                         attorneys, medical administrators, nursing staff, Association
4968                         members, active investigators, community members, etc.) who
4969                         have maturity, experience and expertise to justify respect for
4970                         their advice and counsel;
4971
4972                      11.10-1.1-b A majority of the IRB members shall be County
4973                         personnel; and
4974
4975                      11.10-1.1-c LA BioMed shall appoint all IRB members in
4976                         consultation with the Chief Medical Officer.
4977
4978          11.10-1.2 In the event that LABioMed has no IRB or any of the three conditions
4979             (3) stated above are not satisfied, then the Executive Committee may elect
4980             to:
4981
4982                      11.10-1.2-a appoint the members and officers of the Committee
4983                         which shall be broadly representative as described above and
4984                         composed, inter alia, of such Association members and County
4985                         personnel as deemed necessary by the Executive Committee
4986                         and mandated by Federal regulations and in compliance with
4987                         LABioMed’s federalwide assurance or
4988
4989                      11.10-1.2-b grant LABioMed, at its discretion, permission to use
4990                         properly accredited extramural IRBs.
4991
4992   11.10-2 Duties: The Committee shall:


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4993
4994          11.10-2.1 Review and approve or disapprove all requests for the performance of
4995            any type of medical research involving human subjects to be performed within
4996            the Medical Center including, but not limited to, protocols concerned with the
4997            use of investigational or experimental drugs, or determine that such research
4998            is exempt from further review, and, if approved, indicate whether such
4999            research must be performed in accordance with any stated conditions. Such
5000            review and approval shall be subject to any additional review and/or approval
5001            by other persons or bodies as required under a County contract or by the
5002            Association;
5003
5004          11.10-2.2 Perform ongoing review of all medical research approved by the
5005            Committee and require and receive from time to time written progress reports
5006            on all approved medical research;
5007
5008          11.10-2.3 Assure compliance with all Federal and State laws and regulations
5009            applicable to the approval, performance, and ongoing review of all medical
5010            research involving human subjects including, without limitation, oversight by
5011            an institutional review board as required by Federal and State laws and
5012            regulations; and
5013
5014          11.10-2.4 Make an annual written report to the Governing Body, not later than
5015            twelve (12) months following the end of each County fiscal year, stating the
5016            medical research accomplished, the medical research in progress, and a
5017            description of the source and dollar amount of all funds expended at the
5018            Medical Center for medical research during the County's previous fiscal year.
5019
5020   11.10-3   Requests to Conduct Medical Research Involving Human Subjects
5021
5022      No Association member or other person shall conduct any type of medical research
5023      involving human subjects to be performed at the Medical Center without first
5024      obtaining the approval of the Human Subjects Committee and any other person or
5025      body whose approval is required under a County contract. No such medical
5026      research shall be approved unless the research will contribute to or benefit health
5027      care for County patients. All requests for permission to conduct such medical
5028      research in the Medical Center must be in writing and in such form as may be
5029      required by the Committee and shall be accompanied by the written approval of the
5030      chair of each department involved.
5031
5032   11.10-4 Meetings: The Committee shall meet as necessary but not less than quarterly,
5033      shall maintain a permanent record of its proceedings and actions, and shall submit at
5034      least a quarterly report (meeting minutes will suffice for this purpose) to the Chief
5035      Medical Officer, who will then forward this report to the Executive Committee, the
5036      Chief Executive Officer, and the Governing Body on its activities and
5037      recommendations.
5038
5039   11.11 RESEARCH COMMITTEE

5040   The Research Committee is intended to serve in an advisory role to review research
5041   activities on the LA BioMed/Harbor-UCLA campus, recognizing the unique relationship



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5042   and mutual prioritization of biomedical research among all stakeholders.

5043   11.11-1 Composition

5044
5045   11.11-1.1 The Association's Research Committee refers to the Research Committee of
5046   the Los Angeles Biomedical Research Institute at Harbor-UCLA Medical Center
5047   (hereafter "LABioMed"), and the proceedings and actions of the LABioMed Research
5048   Committee shall constitute the proceedings and actions of the Association's Research
5049   Committee.

5050   11.11-1.1-a The Research Committee shall be a broadly representative body;

5051   11.11-1.1-b A majority of the Research Committee members shall be County personnel
5052   or LABioMed employees; and

5053   11.11-1.1-c LABioMed, in consultation with the Chief Medical Officer, shall appoint all
5054   Research Committee members in a manner that is equitable and representative of
5055   mutual interests..

5056   11.11-1.2 In the event that LABioMed has no Research Committee or any of the three
5057   (3) conditions stated above are not satisfied, then the Executive Committee may elect to:

5058   11.11-1.2-a serve as the Association's Research Committee;

5059   11.11-1.2-b appoint the members and officers of the Committee which shall be broadly
5060   representative and composed of such Association members and County personnel as
5061   deemed necessary by the Executive Committee; or

5062   11.11-1.2-c remove a member or officer of the Committee when deemed necessary.

5063   11.11-2 Requests to Conduct Medical Research: No Association member or other
5064   person shall conduct any type of medical research to be performed on the
5065   LABioMed/Harbor-UCLA campus without first obtaining the approval of the Association's
5066   Research Committee. All requests for permission to conduct such medical research on
5067   the LABioMed/Harbor-UCLA campus must be in writing and in such form as may be
5068   required by the Committee and shall be accompanied by the written approval of the chair
5069   of each department involved through the use of a Proposal Review, Approval and
5070   Compliance Certification (PRACC) form.

5071   The Committee shall:

5072   11.11-2.1 Review and approve or disapprove all requests for the performance of any
5073   type of medical research to be performed on the LABioMed/Harbor- UCLA campus and,
5074   if approved, indicate whether such research must be performed in accordance with any
5075   stated conditions other than those normally required by federal or local agencies, and/or
5076   institutional review groups such as the IRB or IACUC. The Research Committee may
5077   elect to delegate such review to relevant committees (e.g., IRB, IACUC) or authorized
5078   peer review groups (e.g., NIH, DOD, etc.). Such review and approval shall be subject to
5079   any additional review and/or approval by other persons or bodies as required under a
5080   County contract or by the Association;



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5081   11.11-2.2 Perform ongoing review of all medical research approved by the Committee
5082   and require and receive from time to time written progress reports on all approved
5083   medical research;

5084   11.11-2.3 Advise the Executive Committee on the development and implementation of
5085   research policies; and

5086   11.11-2.4 LA BioMed will submit an annual detailed written report to the Governing
5087   Body, not later than twelve (12) months following the end of each County fiscal year,
5088   summarizing the medical research accomplished, via a list of publications and a financial
5089   report detailing research expenditures during the previous fiscal year.

5090
5091   11.12 BYLAWS COMMITTEE
5092
5093   11-12.1   Composition: The Bylaws Committee shall consist of at least three (3)
5094      members of the Association including at least the Vice President and Immediate Past
5095      President. Committee membership shall be restricted to Association members.
5096
5097   11.12-2    Duties: The duties of the Bylaws Committee shall include:
5098
5099          11.12-2.1 Conducting an annual review of the Association bylaws, as well as the
5100             rules and regulations if any, policies and forms promulgated by the
5101             Association, its departments and divisions; and
5102
5103          11.12-2.2 Developing and submitting recommendations to the Association for
5104             changes in Association documents and operations as necessary to reflect or
5105             improve current Association practices.
5106
5107   11.12-3 Meetings: The Committee shall meet as often as necessary at the call of its
5108      chair but at least annually, shall maintain a permanent record of its proceedings and
5109      actions, and shall submit at least an annual report (meeting minutes will suffice for
5110      this purpose) to the Executive Committee (or the Association at the annual meeting)
5111      on its activities and recommendations.
5112
5113   11.13 SURGICAL CASE REVIEW COMMITTEE
5114
5115   11.13-1 Composition: The Surgical Case Review Committee shall consist of at least
5116      one (1) member each from the departments of Pathology and Laboratory Medicine,
5117      Surgery, and Obstetrics and Gynecology; the Chair of the PROC, and members from
5118      other departments as desired.
5119
5120   11.13-2 Duties: To review tissue and non-tissue cases performed in the operating room
5121      and in outpatient areas for:
5122
5123          11.13-2.1 Appropriateness of procedure;
5124
5125          11.13-2.2 Appropriateness for lack of tissue (a screening mechanism based upon
5126             pre-established criteria may be used);
5127



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5128          11.13-2.3 Significant discrepancies between pre- and postoperative (including
5129             pathologic) diagnoses; and
5130
5131          11.13-2.4 Adequate follow-up of unexpected findings.
5132
5133   11.13-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5134      permanent record of its proceedings and actions and the results of actions taken,
5135      and shall submit at least a quarterly report (meeting minutes will suffice for this
5136      purpose) to the Executive Committee through the Clinical Data Monitoring Panel on
5137      its activities and recommendations.
5138
5139   11.14 CONTINUING MEDICAL EDUCATION COMMITTEE
5140
5141   11.14-1 Composition: The Continuing Medical Education Committee shall consist of at
5142      least one (1) member from each department that participates in continuing medical
5143      education; at least one (1) representative from the Los Angeles Biomedical Research
5144      Institute at Harbor-UCLA Medical Center; the Medical Center's Medical Staff
5145      Coordinator; the Medical Center's Director of Library Services; and the Chair of the
5146      Professional Performance Panel. The Associate Medical Director for Medical
5147      Education or designee shall serve as chair.
5148
5149   11.14-2 Duties:
5150
5151          11.14-2.1 To formulate policies and standards of continuing medical education;
5152
5153          11.14-2.2 To plan and approve continuing medical education activities proposed
5154             by the various departments by evaluating for the:
5155
5156                      11.14-2.2-a identification of educational needs and practice gaps for
5157                         licensed physicians;
5158                      11.14-2.2-b identification of desirable physician attributes and
5159                         competencies to be improved by the activity;
5160                      11.14-2.2-c formulation of clear statements of objectives for each
5161                         activity;
5162                      11.14-2.2-d assessment of the effectiveness of each activity;
5163                      11.14-2.2-e choice of appropriate teaching methods and
5164                         knowledgeable faculty for each activity;
5165                      11.14-2.2-f documentation of staff attendance at each activity; and
5166                      11.14-2.2-g assurance of compliance with the Institute of Medical
5167                         Quality’s accreditation standards for each activity;
5168
5169          11.14-2.3 To cooperate with the medical community as a resource for quality
5170             continuing medical education;
5171
5172          11.14-2.4 To develop continuing medical education programs based on the
5173             results of quality improvement studies and related institutional goals;
5174
5175          11.14-2.5 To ensure that the Medical Center’s continuing medical education
5176             program is in compliance with the Institute of Medical Quality’s CME
5177             accreditation standards;
5178


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5179          11.14-2.6 To make recommendations to the Executive Committee regarding
5180             library needs of the Association; and
5181
5182          11.14-2.7 To advise the Chief Executive Officer of the financial needs of the
5183             continuing medical education program.
5184
5185   11.14-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5186      permanent record of its proceedings and actions, and shall submit at least a
5187      quarterly report (meeting minutes will suffice for this purpose) to the Executive
5188      Committee on its activities and recommendations.
5189
5190   11.15 WELL BEING OF PRACTITIONERS COMMITTEE
5191
5192   11.15-1 Composition: The Well Being of Practitioners Committee shall consist of at
5193      least five (5) members selected from any of the departments. Insofar as possible,
5194      members of this committee shall not serve as active participants on other peer
5195      review or quality assessment and improvement committees while serving on this
5196      committee.
5197
5198   11.15-2 Duties:
5199
5200          11.15-2.1 To recommend policies and procedures for recognizing practitioners
5201             who have problems with substance abuse and/or physical or mental illness
5202             which may impair their ability to practice safely and effectively;
5203
5204          11.15-2.2 To consider general matters related to the health and well-being of the
5205             medical staff and develop educational programs or related activities; and
5206
5207          11.15-2.3 To receive reports related to the physical and mental health, well-
5208             being, or impairment (e.g., substance abuse, physical or mental illness) of
5209             Association members and, as it deems appropriate, to evaluate such reports
5210             and assist such practitioners to obtain necessary rehabilitation services,
5211             including recommending to the Executive Committee that the practitioner be
5212             required to submit to a medical or psychological examination in order to
5213             assure that the practitioner will practice safely, at the practitioner’s expense, if
5214             deemed appropriate by the Executive Committee. The applicant or member
5215             may select the examining physician from an outside panel of three (3)
5216             physicians chosen by the Executive Committee. With respect to matters
5217             involving individual Association applicants or members, the committee may,
5218             on a voluntary basis, provide such advice, counseling, or referrals as may
5219             seem appropriate. Such activities shall be confidential. However, in the event
5220             information received by the Committee clearly demonstrates that the health
5221             or known impairment of an Association applicant or member poses an
5222             unreasonable risk of harm to patients, that information may be referred for
5223             corrective action.
5224
5225   11.15-3 Meetings: The Committee shall meet as needed, shall maintain a permanent
5226      record of its proceedings and actions as it deems advisable, and shall submit at least
5227      a quarterly report (meeting minutes will suffice for this purpose) to the Executive
5228      Committee through the Professional Performance Panel on its activities.
5229


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5230   11.16 BLOOD AND TISSUE UTILIZATION COMMITTEE
5231
5232   11.16-1 Composition: The Blood and Tissue Utilization Committee shall consist of at
5233      least one (1) member from each of the departments of Surgery, Medicine, Obstetrics
5234      and Gynecology, Pediatrics and Anesthesiology; one (1) member from the Nursing
5235      Department; and the Chair of the Professional Performance Panel. The Director of
5236      the Medical Center's Blood and Tissue Bank shall be the Chair of the Committee.
5237
5238   11.16-2 Duties:
5239
5240      The Committee shall address the major processes involved in blood and tissue
5241      usage such as storing, qualifying vendors, ordering, distributing, handling,
5242      dispensing, administering and monitoring the product's effect on patients. The
5243      Committee shall also perform the following specific functions:
5244
5245          11.16-2.1 Reviewing, revising and approving policies and procedures on storing,
5246             ordering, distributing, handling, dispensing, and administering blood, blood
5247             components and tissue;
5248
5249          11.16-2.2 Evaluating periodically the appropriateness and usage of selected
5250             blood and tissue components;
5251
5252          11.16-2.3 Evaluating blood and tissue wastage statistics;
5253
5254          11.16-2.4 Reviewing transfusion reactions and other adverse reactions; and
5255
5256          11.16-2.5 Making appropriate recommendations for improvement.
5257
5258   11.16-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5259      permanent record of its proceedings and actions and the results of actions taken,
5260      and shall submit at least a quarterly report (meeting minutes will suffice for this
5261      purpose) to the Executive Committee through the Clinical Data Monitoring Panel on
5262      its activities and recommendations.
5263
5264   11.17 HEALTH CARE INFORMATION COMMITTEE
5265
5266   11.17-1 Composition: The Health Care Information Committee shall be a
5267      multidisciplinary team comprised of at least one (1) representative from each of the
5268      following departments: Medicine, Surgery, Family Medicine, Emergency Medicine,
5269      Neurology, Pediatrics and Radiology; one (1) from Nursing Department; one (1) from
5270      Medical Center Administration; one (1) from Clinical Social Services; one (1) from the
5271      Health Information Management Department; one (1) from Quality Assessment
5272      Resource Management; one (1) from Utilization Review; and other physician and
5273      non-physician members as deemed necessary.
5274
5275   11.17-2 Duties:
5276
5277          11.17-2.1 To review and approve all       Medical Center policies and procedures
5278             related to paper-based medical         records and electronic health record
5279             documents, including completion,       forms and formats, appropriate chart
5280             organization, printing of electronic   documents, availability and methods of


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5281             enforcement;
5282
5283          11.17-2.2 To assure that the security, privacy, confidentiality and integrity of
5284             paper-based medical records and electronic health record documents are
5285             consistent with laws and regulations;
5286
5287          11.17-2.3 To review medical records brought to the attention of the Committee by
5288             the Health Information Management Department which do not meet accepted
5289             criteria;
5290
5291          11.17-2.4 To develop measures for and assess findings from monitoring activities
5292             and take actions to improve identified deficiencies. The monitoring activities
5293             shall include, but not be limited to:
5294
5295                      11.17-2.4-a Timeliness of completion of history and physical
5296                         examinations, operative reports and discharge summaries;
5297
5298                      11.17-2.4-b Completeness and accuracy of paper-based and
5299                         electronic health record entries;
5300
5301                      11.17-2.4-c Proper description of the patient’s condition, diagnosis
5302                         and progress during hospitalization and at the time of discharge;
5303
5304                      11.17-2.4-d Documentation of treatment and tests provided and the
5305                         results thereof;
5306
5307                      11.17-2.4-eThe adequate identification of individuals responsible for
5308                         orders given and treatment rendered;
5309
5310                      11-17-2.4-f Availability of paper-based medical records and/or
5311                         electronic health records in patient care areas; and
5312
5313                      11.17-2.4-g Organization and contents of the medical record.
5314
5315            11.17-2.5 To assure that the Medical Center meets The Joint Commission’s
5316            requirements related to paper-based medical records and electronic health
5317            records.
5318
5319   11.17-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5320      permanent record of its proceedings and actions and the results of actions taken,
5321      and shall submit at least a quarterly report (meeting minutes will suffice for this
5322      purpose) to the Executive Committee through the Clinical Data Monitoring Panel on
5323      its activities and recommendations.
5324
5325   11.18 MULTIDISCIPLINARY TRAUMA SYSTEMS / OPERATIONS COMMITTEE
5326   (MTSOC)
5327
5328   11.18-1 Composition: The Multidisciplinary Trauma Systems / Operations Committee
5329      (MTSOC) shall consist of at least six (6) members from the departments of
5330      Emergency Medicine, Surgery (General Surgery and Neurosurgery), Orthopedic
5331      Surgery, Radiology, and Anesthesiology; at least one (1) representative each from


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5332      the Nursing Department, Trauma Service staff and Medical Center
5333      Administration; and other physician and non-physician members as deemed
5334      necessary.
5335
5336   11.18-2 Duties:
5337
5338          11-18-2.1 Establish policies and procedures for the management of trauma
5339            patients at the Medical Center;
5340
5341          11.18-2.2 Collect and provide multidisciplinary review of data regarding the
5342            management of trauma patients; and
5343
5344          11.18-2.3 Monitor performance within the community-wide and national trauma
5345            systems.
5346
5347   11.18-3 Meetings: The Committee shall meet monthly, shall maintain a permanent
5348   record of its proceedings and actions, and shall submit at least a quarterly report
5349   (meeting minutes will suffice for this purpose) to the Surgery Quality Improvement
5350   Committee and the Executive Committee through the Performance Review Oversight
5351   Committee on its activities and recommendations and shall share findings and
5352   recommendations with individual clinical departments or divisions as deemed necessary.
5353
5354   11.19 BIOETHICS COMMITTEE
5355
5356   11.19-1 Composition: The Bioethics Committee shall consist of at least ten (10)
5357      members from the departments of Pediatrics, Neurology, Emergency Medicine,
5358      Surgery, Obstetrics and Gynecology, Medicine, Family Medicine, and Psychiatry; at
5359      least one (1) from the Nursing Department; one (1) from Clinical Social Services; one
5360      (1) from Medical Center Administration; and such other members as the Executive
5361      Committee may deem appropriate. It may include lay representatives, clergy,
5362      representatives from the Governing Body, ethicists, and attorneys, although a
5363      majority shall be physician members of the Association.
5364
5365   11.19-2 Duties:
5366
5367          11.19-2.1 Establish bioethical policy guidelines for the Medical Center;
5368
5369          11.19-2.2 Retrospectively review treatment decisions for the purpose of refining
5370             bioethical policy guidelines;
5371
5372          11.19-2.3 Facilitate communication and education among departments regarding
5373             the bioethical consequences of treatment decisions;
5374
5375          11.19-2.4 Provide a forum for discussion of bioethical questions when they arise;
5376             and
5377
5378          11.19-2.5 Serve in an educational role for faculty, housestaff, and nursing staff
5379             concerning current ethical issues.
5380
5381   11.19-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5382      permanent record of its proceedings and actions, and shall submit at least a


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5383      quarterly report (meeting minutes will suffice for this purpose) to the Executive
5384      Committee on its activities and recommendations.
5385
5386   11.20 OPERATING ROOM COMMITTEE
5387
5388   11.20-1 Composition: The Operating Room Committee shall consist of members from
5389      the departments of Surgery, Anesthesiology, Obstetrics and Gynecology; Orthopedic
5390      Surgery; Radiology; and Pathology and Laboratory Medicine; and representatives
5391      from the Nursing Department and Medical Center Administration.
5392
5393   11.20-2 Duties:
5394
5395          11.20-2.1 To develop policies and procedures for the effective operation of the
5396             Operating Room Suites including the 7th floor Operating Room and the
5397             Endovascular Room in the Patient Care Diagnostic Center; and
5398
5399          11.20-2.2 To monitor overall Operating Room performance and utilization.
5400
5401   11.20-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5402      permanent record of its proceedings and actions, and shall submit at least a
5403      quarterly report (meeting minutes will suffice for this purpose) to the Executive
5404      Committee through the Clinical Data Monitoring Panel on its activities and
5405      recommendations.
5406
5407   11.21 MEDICOLEGAL COMMITTEE
5408
5409   11.21-1 Composition: The Medicolegal Committee shall consist of at least four (4)
5410      Association members and at least one (1) representative each from the Nursing
5411      Department, the Health Information Management Department, Medical
5412      Administration; the Hospital Risk Manager, the Chief Quality Officer, the Peer
5413      Review Oversight Committee; and other members as desired.
5414
5415   11.21-2 Duties:
5416
5417          11.21-2.1 To review all cases in which there is actual or potential risk of medical
5418             malpractice liability to ensure that systems issues that may need correction
5419             are identified;
5420
5421          11.21-2.2 To review medicolegal issues and make recommendations relating to
5422             policies and procedures of the Medical Center;
5423
5424          11.21-2.3 To develop strategies for educating Medical Center staff on medico-
5425             legal and risk management issues; and
5426
5427         11.21-2.4 To have the physician members of the Committee meet in
5428            Executive Session, upon request of an Association member, to review
5429            and assure that an apportionment determination is reasonable, accurate,
5430            consistent with the law, and protective of peer review confidentiality.
5431
5432   11.21.-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5433      permanent record of its proceedings and actions, and shall submit at least a


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5434      quarterly report (meeting minutes will suffice for this purpose) to the Executive
5435      Committee through the PSA Review Committee on its activities and
5436      recommendations.
5437
5438   11.22 CANCER COORDINATING COMMITTEE
5439
5440   11.22-1 Composition: The Cancer Coordinating Committee shall consist of at least the
5441      following:
5442
5443          11.22-1.1 one medical oncologist;
5444          11.22-1.2 one general surgeon;
5445          11.22-1.3 one pathologist;
5446          11.22-1.4 one diagnostic radiologist;
5447          11.22-1.5 one radiation oncologist;
5448          11.22-1.6 one pain control/palliative care physician or specialist;
5449          11.22-1.7 physician representatives from Family Medicine, Obstetrics and
5450             Gynecology; Pediatrics and Psychiatry;
5451          11.22-1.8 the Cancer Program Administrator;
5452          11.22-1.9 one oncology nurse;
5453          11.22-1.10 one clinical research data manager or nurse;
5454          11.22-1.11 one clinical social worker or case manager;
5455          11.22-1.12 one certified tumor registrar;
5456          11.22-1.13 one performance improvement professional;
5457          11.22-1.14 the Medical Center’s Director of Library Services;
5458          11.22-1.15 representatives from Health Information Management, Pharmacy,
5459             and Food and Nutrition Services; and
5460          11.22-1.16 other members as needed.
5461
5462   11.22-2 Duties:
5463
5464          11.22-2.1 To develop and evaluate the annual goals and objectives related to
5465             cancer care;
5466
5467          11.22-2.2 To establish cancer conference/tumor board frequency, format and
5468             multidisciplinary attendance requirements;
5469
5470          11.22-2.3 To ensure that the required number of cases are discussed at the
5471             cancer conference/tumor board;
5472
5473          11.22-2.4 To evaluate and document cancer conference/tumor board frequency,
5474             attendance, and total and prospective case presentations;
5475
5476          11.22-2.5 To supervise the activities of the Medical Center's Tumor Registry
5477             including, but not limited to:
5478
5479                      11.22-2.5-a Establishing and implementing a plan to evaluate the
5480                         quality of cancer registry data and activity;
5481
5482                      11.22-2.5-b Ensuring accurate and timely collection of cancer
5483                         patient data;
5484


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5485                       11.22-2.5-c Analyzing patient outcomes and disseminating results
5486                          of the analysis;
5487
5488                       11.22-2.5-d Identifying opportunities for improvement; and
5489
5490                       11.22-2.5-e Evaluating the quality of abstracting, staging and
5491                          reporting;
5492
5493          11.22-2.6 To designate coordinators for the following cancer program activities:
5494
5495                       11.22-2.6-a Cancer conference/tumor board
5496
5497                       11.22-2.6-b Quality of cancer registry data
5498
5499                       11.22-2.6-c Quality improvement
5500
5501                       11.22-2.6-d Community education and outreach
5502
5503          11.22-2.7 To designate a Commission on Cancer (CoC) Cancer Liaison
5504             Physician;
5505
5506          11.22-2.8 To promote advancement in cancer treatment through provision of
5507             clinical trial information and patient accrual to cancer-related clinical trials;
5508
5509          11.22-2.9 To ensure that patients have access to consultative services in all
5510             disciplines;
5511
5512          11.22-2.10 To ensure that supportive services, prevention and early detection
5513             opportunities are provided to cancer patients and their families;
5514
5515          11.22-2.11 To promote increased knowledge through educational programs.
5516             Conferences and other clinical activities covering the entire spectrum of
5517             cancer care;
5518
5519          11.22-2.12 To ensure that cancer services, care and patient outcomes are
5520             evaluated and improved so that care meets or exceeds patient expectations
5521             and the standards of the American College of Surgeons Commission on
5522             Cancer;
5523
5524          11.22-2.13 To audit data provided to the Committee to evaluate the cancer
5525             program and trends in the treatment of cancer patients at the Medical Center;
5526             and
5527
5528          11.22.2.14 To assist the Medical Center in complying with the CoC Cancer
5529             Program Standards and triennial survey requirements in order to achieve and
5530             maintain certification as a Teaching Hospital Cancer Program by the CoC.
5531
5532   11.22-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5533      permanent record of its proceedings and actions, and shall submit at least a
5534      quarterly report (meeting minutes will suffice for this purpose) to the Executive



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5535      Committee through the Clinical Data Monitoring Panel on its activities and
5536      recommendations.
5537
5538   11.23 GRADUATE MEDICAL EDUCATION COMMITTEE
5539
5540   11.23-1 Composition: The Committee shall consist of the Harbor-UCLA Medical
5541      Center's postgraduate training program directors of Internal Medicine, Pediatrics,
5542      General Surgery, Psychiatry, Anesthesiology, Emergency Medicine, Obstetrics and
5543      Gynecology, Radiology, Family Medicine, Neurology, Pathology and Laboratory
5544      Medicine and Orthopedic Surgery; and at least three (3) peer-selected residents; the
5545      Administrative Director for Graduate Medical Education; a representative from the
5546      professional schools; and one (1) representative from Medical Center Administration.
5547      The Associate Medical Director for Medical Education shall serve as Chair of the
5548      Committee and is also appointed as the Designated Institutional Official.
5549
5550   11.23-2 Duties:
5551
5552          11.23-2.1 To establish Medical Center policies for postgraduate medical
5553             education such as quality assessment and improvement, resident supervision
5554             and working environment, ancillary support, conditions of resident
5555             employment, and counseling and support services;
5556
5557          11.23-2.2 To assure that postgraduate training programs comply with
5558             accreditation standards and policies and procedures of the Accreditation
5559             Council for Graduate Medical Education (ACGME), the American Board of
5560             Obstetrics and Gynecology (ABOG) and the Council on Dental Accreditation
5561             (CODA);
5562
5563          11.23-2.3 To review and approve all official communication with accreditation
5564             agencies including:  progress reports, request for change in resident
5565             complement, appointment of program director, major changes in curriculum,
5566             etc.;
5567
5568          11.23-2.4 To develop interinstitutional agreements for the purpose of enhancing
5569             postgraduate medical education programs, including liaison with institutions
5570             and faculty participating in programs sponsored by the Medical Center;
5571
5572          11.23-2.5 To regularly review all postgraduate training programs in relation to
5573             their compliance with Medical Center policies and ACGME, ABOG or CODA
5574             requirements;
5575
5576          11.23-2.6 To advise and monitor all aspects of postgraduate medical education
5577             which include, but are not limited to:
5578
5579                      11.23-2.6-a The establishment and implementation of policies and
5580                         procedures for the selection, evaluation, promotion and
5581                         dismissal of residents;
5582
5583                      11.23-2.6-b Making recommendations regarding the establishment
5584                         and implementation of Medical Center policies for discipline and
5585                         the review of complaints and grievances relevant to the graduate


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5586                          medical education programs;
5587
5588                      11.23-2.6-c The appropriate and equitable funding for resident
5589                         positions including benefits and support services;
5590
5591                      11.23-2.6-d The working conditions and duty hours of residents; and
5592
5593                      11.23-2.6-e Reviewing the ethical, socioeconomic, risk management
5594                         and cost-containment issues that affect postgraduate medical
5595                         education; and
5596
5597          11.23-2.7 To present an Annual Report to the Executive Committee before
5598             September 15th of each year for approval prior to submission to the
5599             Governing Body and all Major Participating Institutions.
5600
5601   11.23-3 Meetings: The Committee shall meet bimonthly, shall maintain a permanent
5602      record of its proceedings and actions, and shall submit at least a bimonthly report
5603      (meeting minutes will suffice for this purpose) to the Executive Committee on its
5604      activities and recommendations.
5605
5606   11.24 PATIENT SAFETY COUNCIL
5607
5608   11.24-1 Composition: The Patient Safety Council shall consist of representatives from
5609      Medical Center Administration, Medical Administration, Nursing Administration,
5610      Clinical Quality and Safety, Risk Management, as well as the Patient Safety Officer,
5611      the Coordinator of Nursing Quality Improvement, a representative of the Environment
5612      of Care Committee, and other clinical and administrative representatives as needed.
5613      The Council is co-chaired by the Patient Safety Officer and another Council member.
5614
5615   11.24-2 Duties:
5616
5617          11.24-2.1 To provide oversight and coordination of the Patient Safety Program;
5618
5619          11.24-2.2 To review the National Patient Safety Goals and provide   oversight for
5620             implementation facility-wide;
5621
5622          11.24-2.3 To work collaboratively with other bodies to identify opportunities for
5623             improvement as related to patient safety including, but not limited to,
5624             performing patient safety rounds and receiving reports from Failure Mode
5625             Effects Analysis (FMEA) teams;
5626
5627          11.24-2.4 To receive and analyze patient and staff recommendations
5628             regarding patient safety;
5629
5630          11.24-2.5 To sponsor or make recommendations to the appropriate body(s) for
5631             initiatives to support ongoing patient safety that are consistent with the
5632             strategic direction of the organization;
5633
5634          11.24-2.6 To facilitate team involvement and performance improvement
5635             initiatives based on findings when indicated;
5636


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5637          11.24-2.7 To sponsor educational programs for staff to improve patient safety;
5638
5639          11.24-2.8 To review statistics on event notification and claims reports;
5640
5641          11.24-2.9 To provide for the integration of patient safety into the hospitalwide
5642             quality improvement program; and
5643
5644          11.24-2.10 To communicate improvements to clinical and administrative
5645             leadership as well as facility staff as appropriate.
5646
5647          11.24-2.11 To annually review the patient safety section of the Harbor-UCLA
5648             Quality and Patient Safety Plan.
5649
5650   11.24-3 Meetings: The Council shall meet at least quarterly, shall maintain a
5651      permanent record of its proceedings and actions, and shall submit at least a
5652      quarterly report (meeting minutes will suffice for this purpose) to the Executive
5653      Committee through the PSA Review Committee on its activities and
5654      recommendations.
5655
5656   11.25 CLINICAL LABORATORY COMMITTEE
5657
5658   11.25-1 Composition: The Clinical Laboratory Committee shall have two Co-Chairs,
5659      one of whom is a pathologist and the other who is a faculty physician from a clinical
5660      department. Members of the Committee shall include, but not be limited to, faculty
5661      physician representatives from at least three (3) of the departments of Internal
5662      Medicine, Pediatrics, Obstetrics and Gynecology, Emergency Medicine and
5663      Anesthesiology and at least one (1) housestaff physician representative from Internal
5664      Medicine, Pediatrics and/or Pathology and Laboratory Medicine. The Committee
5665      shall also include representatives from Medical Center Administration, Health
5666      Information Management, Nursing, Quality Improvement and Pathology and
5667      Laboratory Medicine Administration.
5668
5669   11.25-2 Duties:
5670
5671          11.25-2.1 To discuss laboratory performance data and to provide input regarding
5672             resolution of problems and/or improvement of services;
5673
5674          11.25-2.2 To recommend which tests require critical value reporting and levels at
5675             which test results should be considered critical values;
5676
5677          11.25-2.3 To periodically review tests which may be overutilized or obsolete and
5678             recommend changes;
5679
5680          11.25-2.4 To review and approve or disapprove requests to perform Point of
5681             Care Testing;
5682
5683          11.25-2.5 To recommend addition of new tests when indicated;
5684
5685          11.25-2.6 To assist the laboratory in cost containment by recommending
5686             reductions in specific in-house tests or reference laboratory send-out tests;
5687             and


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5688
5689          11.25-2.7 To discuss any problems concerning laboratory services.
5690
5691   11.25-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5692      permanent record of its proceedings and actions, and shall submit at least a
5693      quarterly report (meeting minutes will suffice for this purpose) to the Executive
5694      Committee through the Clinical Data Monitoring Panel on its activities and
5695      recommendations.
5696
5697   11.26 CRITICAL CARE COMMITTEE
5698
5699   11.26-1 Composition: The Critical Care Committee shall have two Co-Chairs, one of
5700      whom is a physician and the other a nurse. Members of the Committee shall
5701      include, but not be limited to, the medical directors and nurse managers of each
5702      critical care unit; a broad representation of the specialties using the critical care units;
5703      and at least one representative each from Anesthesiology, Medical Center
5704      Administration and Clinical Social Work.
5705
5706   11.26-2   Duties:
5707
5708          11.26-2.1 To provide a forum for Association members and Medical Center
5709             personnel to discuss issues related to critical care;
5710
5711          11.26-2.2 To recommend policies, procedures and process improvements for
5712             appropriate delivery of critical care services including formulation of physician
5713             order sets;
5714
5715          11.26-2.3 To collect data on important critical care processes, analyze the data
5716             and make recommendations for improvement in patient care;
5717
5718          11.26-2.4 To assess equipment needs; and
5719
5720          11.26-2.5 To participate in the long-range planning and physical development of
5721             the critical care units.
5722
5723
5724   11.26-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5725      permanent record of its proceedings and actions, and shall submit at least a
5726      quarterly report (meeting minutes will suffice for this purpose) to the Executive
5727      Committee through the Clinical Data Monitoring Panel on its activities and
5728      recommendations.
5729
5730   11.27 PEDIATRIC CRITICAL CARE COMMITTEE
5731
5732   11.27-1 Composition: The Pediatric Critical Care Committee shall consist of at least
5733      physician representatives from the Neonatal Intensive Care Unit, the Pediatric
5734      Intensive Care Unit, the Pediatric Emergency Department and Anesthesiology;
5735      Nurse Managers from the Neonatal Intensive Care Unit, the Pediatric Intensive Care
5736      Unit, the Pediatric Emergency Department and the Pediatric Ward; Clinical Nurse
5737      Specialists assigned to the Neonatal Intensive Care Unit, Pediatric Intensive Care
5738      Unit and Pediatric Emergency Department; representatives from Pharmacy and


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5739      Respiratory Therapy Services; and other clinical and administrative representatives
5740      as needed. The Committee is co-chaired by one of the physician representatives
5741      and one of the Nurse Managers.
5742
5743   11.27-2 Duties
5744
5745          11.27-2.1 To propose, develop, revise and/or implement procedures and policies
5746             for improving care of neonates, infants and children;
5747
5748          11.27-2.2 To review actions proposed by other Committees, both those within the
5749             Institution and within DHS, analyze how these will impact the care of
5750             neonates, infants and children and make recommendations as needed;
5751
5752          11.27-2.3 To improve communication among the various services and units that
5753             provide care for neonates, infants and children;
5754
5755          11.27-2.4 To review policies that impact the care of neonates, infants and
5756             children;
5757
5758          11.27-2.5 To work with other Committees to improve the care of neonates,
5759             infants and children; and
5760
5761          11.27-2.6 To analyze specific patient safety issues, sharing findings with
5762             appropriate bodies and taking corrective action when indicated.
5763
5764   11.27-3 Meetings: The Pediatric Critical Care Committee shall meet at least once
5765      quarterly, shall maintain a permanent record of its proceedings and actions, and shall
5766      submit at least a quarterly report (meeting minutes will suffice for this purpose) to the
5767      Pediatrics Quality Improvement Committee and the Executive Committee through
5768      the Clinical Data Monitoring Panel on its activities and recommendations.
5769
5770   11.28 CARDIOPULMONARY RESUSCITATION COMMITTEE
5771
5772   11.28-1 Composition: The Cardiopulmonary Resuscitation Committee shall include at
5773      least two (2) members of the Association, at least one (1) of whom is a specialist in
5774      critical care or emergency medicine, and at least one (1) representative from
5775      Nursing.
5776
5777   11.28-2 Duties:
5778
5779          11.28-2.1 To collect data on those patients for whom Code Blue and Code White
5780             calls are made;
5781
5782          11.28-2.2 To use the data on individual codes to evaluate the processes taken in
5783             managing resuscitation efforts including the appropriateness of care provided
5784             and documentation;
5785
5786          11.28-2.3 To refer individual cases to departments for peer review when the
5787             findings indicate more intensive analysis is required;
5788



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5789          11.28-2.4 To make recommendations for improvement in systems problems
5790             identified from the review of codes; and
5791
5792          11.28-2.5 To assess resuscitation equipment needs and make recommendations
5793             if any deficiencies are identified.
5794
5795   11.28-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5796      permanent record of its proceedings and actions, and shall submit at least a
5797      quarterly report (meeting minutes will suffice for this purpose) to the Executive
5798      Committee through the Clinical Data Monitoring Panel on its activities and
5799      recommendations.
5800
5801   11.28 NUTRITION COMMITTEE
5802
5803   11.29-1 Composition: The Nutrition Committee shall consist of at least one (1)
5804      member each from Medicine, Surgery, Pediatrics, Family Medicine and Obstetrics
5805      and Gynecology and at least one (1) representative from Nursing, Pharmacy and
5806      Medical Center Administration, and at least two (2) representatives from
5807      contractor(s) who provide nutritional services. The members are selected to
5808      represent the major clinical departments as well as ambulatory, inpatient and
5809      intensive care areas. In general, Committee members have special interest and
5810      expertise in nutritional support.
5811
5812   11.29-2 Duties: The duties of the Committee include, but are not necessarily limited to
5813      the following:
5814
5815          11.29-2.1 To oversee provision of food for patients, Medical Center staff and the
5816             public;
5817
5818          11.29-2.2 To formulate institutional standards of care and cost-effectiveness
5819             policies and guidelines for nutritional services including the use of parenteral
5820             and enteral nutrition;
5821
5822          11.29-2.3 To integrate and review policies and procedures for all departments
5823             that participate in the provision of food, nutrition services and education;
5824
5825          11.29-2.4 To provide resources for educating Association and Medical Center
5826             staff about nutritional science, including parenteral and enteral nutrition
5827             therapy;
5828
5829          11.29-2.5 To evaluate and approve parenteral and enteral products (“Nutrition
5830             Formulary”) as well as delivery systems for use in the Medical Center;
5831
5832          11.29-2.6 To participate in performance improvement activities and maintain a
5833             reporting structure to identify and resolve issues related to nutrition; and
5834
5835          11.29-2.7 To assist Medical Center Administration in reviewing proposals and
5836             making recommendations for provision of contract nutritional services;
5837
5838   11.29-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5839      permanent record of its proceedings and actions, and shall submit at least a


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5840      quarterly report (meeting minutes will suffice for this purpose) to the Executive
5841      Committee through the Clinical Data Monitoring Panel on its activities and
5842      recommendations.
5843
5844   11.30 ORGAN AND TISSUE DONOR COUNCIL
5845
5846   11.30-1 Composition
5847
5848      The Organ and Tissue Donor Council is a multi-disciplinary committee comprised of
5849      individuals who work together to facilitate end-of-life decisions and the organ
5850      donation process. Representatives from each of the following disciplines are
5851      represented:
5852
5853         11.30-1.1 Physicians from each critical care unit of the Medical Center, the
5854            Trauma Service, and the Emergency Department;
5855         11.30-1.2 Transplant Nephrology;
5856         11.30-1.3 Nursing Management from the areas listed above and the Operating
5857            Room;
5858         11.30-1.4 Medical Center Administration
5859         11.30-1.5 Quality Assessment Resource Management;
5860         11.30-1.6 Clinical Social Work;
5861         11.30-1.7 Ethics;
5862         11.30-1.8 Tissue Bank/Pathology and Laboratory Medicine; and
5863         11.30-1.9 Organ Procurement Organization (OPO)
5864
5865   11.30-2 Purpose
5866
5867      The purpose of the Council is to oversee the organ, eye, and tissue donation process
5868      at the Medical Center with these specific aims:
5869
5870         11.30-2.1 Optimizing the donor process to maximize organ recovery with the
5871            ultimate goal of saving recipient lives;
5872
5873         11.30-2.2 Ensuring compliance with state and national guidelines for tissue and
5874            organ donation;
5875
5876         11.30-2.3 Making donation a priority and part of the fabric and culture of the
5877            Medical Center;
5878
5879         11.30-2.4 Providing education regarding organ donation to Medical Center staff,
5880            patients, and families; and
5881
5882         11.30-2.5 Fostering a humane, supportive end of life process for grieving
5883            families.
5884
5885   11.30-3 Duties and Responsibilities:
5886
5887         11.30-3.1 Providing leadership for the organ donation process at the Medical
5888            Center;
5889



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5890          11.30-3.2 Ensuring that donation practices are in compliance with standards set
5891             by the Center for Medicare/ Medicaid Services, Joint Commission, FDA,
5892             United Network for Organ Sharing (UNOS), Los Angeles County Department
5893             of Health Services and California Health and Safety codes;
5894
5895          11.30-3.3 Reviewing the Medical Center’s compliance with OPO referrals for all
5896             patient mortalities. Data is benchmarked to national best practices with the
5897             aims of continued quality improvement of the organ donation process;
5898
5899          11.30-3.4 Reviewing all cases where an organ donation approach is performed
5900             (whether it proceeds to donation or not). The social aspects and clinical
5901             management of each case are analyzed to ensure smoothness in the
5902             process and/or identify areas of care which could be improved;
5903
5904          11.30-3.5 Becoming familiar with clinical best practices for the management of
5905             the potential organ donor and working to ensure these practices are upheld at
5906             the Medical Center;
5907
5908          11.30-3.6 Spearheading educational efforts related to organ donation. This
5909             includes the ongoing education of medical staff, providing CME and CEU
5910             opportunities, orienting new employees, and organizing or promoting local
5911             educational conferences;
5912
5913          11.30-3.7 Serving as the community liaison for the Medical Center and helping to
5914             promote National Donate Life Month and community events celebrating
5915             donors and their families; and
5916
5917          11.30-3.8 Working to provide support for grieving families in conjunction with the
5918             Medical Center’s Palliative Care program as needed.
5919
5920   11.30-4 Meetings
5921
5922      The Council shall meet at least quarterly, shall maintain a permanent record of its
5923      proceedings and actions, and shall submit at least a quarterly report (meeting
5924      minutes will suffice for this purpose) to the Executive Committee through the Clinical
5925      Data Monitoring Panel on its activities and recommendations.
5926
5927   11.31 END STAGE RENAL DISEASE COMMITTEE
5928
5929   11.31-1 Composition: The End Stage Renal Disease Committee shall consist of at
5930      least two (2) members from the Division of Nephrology and at least one (1)
5931      representative each from the Dialysis Unit, Nursing, Clinical Social Work, the Urology
5932      and Vascular Surgery divisions, Medical Center Administration and Nutrition
5933      Services.
5934
5935   11.31-2 Duties:
5936
5937          11.31-2.1    Serve as a forum for discussing issues related to end stage renal
5938             disease, chronic dialysis management and transplantation;
5939



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5940          11.31-2.2   Collect and analyze data related to chronic dialysis treatment
5941             performed in the Medical Center;
5942
5943          11.31-2.3     Make recommendations for improvement of care given to patients
5944             including, but not limited to, vascular access, temporary dialysis catheters,
5945             peritoneal dialysis catheters and dialysis treatments (including nutritional
5946             management, blood pressure control, and dialysis water cultures);
5947
5948          11.31-2.4 Collect and analyze data related to the living and deceased donor
5949             renal transplant program including the initial three (3) month care rendered to
5950             patients, complications of surgery and medications, transplant evaluations,
5951             transplant workups in progress, and re-evaluations of listed patients; and
5952
5953          11.31-2.5 Review, analyze and make recommendations for improvement related
5954             to the OPO reports of organ donations at the Medical Center, donors
5955             referred, donors recovered, educational activities and other quality
5956             improvement studies.
5957
5958   11.31-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5959      permanent record of its proceedings and actions, and shall submit at least a
5960      quarterly report (meeting minutes will suffice for this purpose) to the Executive
5961      Committee through the Clinical Data Monitoring Panel on its activities and
5962      recommendations.
5963
5964   11.32 MULTIDISCIPLINARY TRAUMA PEER REVIEW COMMITTEE
5965
5966   11.32-1 Composition: The Trauma Performance Improvement Committee shall consist
5967      of at least eight (8) members from the departments of Emergency Medicine
5968      (Pediatric and Adult), Surgery (General Surgery and Neurosurgery), Orthopaedic
5969      Surgery, Radiology and Anesthesiology; at least one (1) representative each from
5970      the Nursing Department, Trauma Service staff and Medical Center Administration;
5971      and other physician and non-physician members as deemed necessary.
5972
5973   11.32-2 Duties:
5974
5975          11.32-2.1 Collect and provide multidisciplinary review of data regarding the
5976            management of trauma patients;
5977
5978          11.32-2.2 Develop and discuss methods to improve both the process and
5979            outcomes of care of trauma patients at the Medical Center in a
5980            multidisciplinary fashion; and
5981
5982          11.32-2.3 Monitor performance within the community-wide and national trauma
5983            system.
5984
5985   11.32-3 Meetings: The Committee shall meet at least quarterly, shall maintain a
5986      permanent record of its proceedings and actions, shall submit at least a quarterly
5987      report (meeting minutes will suffice for this purpose) to the Surgery Quality
5988      Improvement Committee and the Executive Committee through the Professional
5989      Performance Panel on its activities and recommendations and shall share findings



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5990      and recommendations with and refer issues for peer review to individual clinical
5991      departments or divisions as deemed necessary.
5992
5993   11.33 AMBULATORY CARE QUALITY IMPROVEMENT COMMITTEE
5994
5995   11.33-1 Composition: The Ambulatory Care Quality Improvement Committee shall
5996      consist of at least the Associate Medical Director for Ambulatory Care, who shall
5997      serve as chair, representative clinic medical directors, representative clinic nurse
5998      managers, the Ambulatory Care Quality Improvement Coordinator, and a
5999      representative from Hospital Information Management.
6000
6001   11.33-2 Duties: The Committee has oversight responsibility for the Medical Center’s
6002      Ambulatory Care Quality Improvement Plan. The Committee receives, reviews and
6003      analyzes ambulatory care performance improvement findings.
6004
6005   11.33-3 Meetings: The Committee meets at least quarterly, shall maintain a permanent
6006      record of its proceedings and actions, and shall submit at least a quarterly report
6007      (meeting minutes will suffice for this purpose) to the Executive Committee through
6008      the Clinical Data Monitoring Panel on its activities and recommendations.
6009
6010   11.35 INTERDISCIPLINARY PRACTICES COMMITTEE
6011
6012   11.35-1 Composition: The Interdisciplinary Practices Committee (IDPC) shall consist
6013      of, at a minimum, the Chief Nursing Officer or his/her designee, the Chief Executive
6014      Officer or designee, and an equal number of physicians appointed by the Executive
6015      Committee and registered nurses appointed by the Chief Nursing Officer, each of
6016      whom shall have a vote. Licensed or certified health professionals other than
6017      registered nurses who perform functions requiring standardized procedures or who
6018      are granted service authorizations shall be included in the Committee with vote only
6019      for matters under the scope of their license. The chair of the Committee shall be a
6020      physician member of the Active Staff.
6021
6022   11.35-2 Duties:
6023
6024          11.35-2.1 To recommend policies and procedures for the granting of expanded
6025             practice privileges including, but not limited to, the following:
6026
6027                      11.35-2.1-a evaluating the need for and appropriateness of the
6028                         performance of in-hospital services by allied health professionals
6029                         (AHPs);
6030
6031                      11.35-2.1-b determining which disciplines will be allowed to practice
6032                         in the expanded roles;
6033
6034                      11.35-2.1-c developing departmental procedures for reviewing
6035                         credentials and granting or rescinding practice privileges;
6036
6037                      11.35-2.1-d identifying functions and/or procedures which require
6038                         the formulation and adoption of standardized procedures under
6039                         Section 2725 of the Business and Professions Code in order for
6040                         them to be performed by expanded role practitioners;


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6041
6042                    11.35-2.1-e securing recommendations from members of the
6043                       Association in the medical specialty, or clinical field of practice
6044                       under review, and from persons in the appropriate non-physician
6045                       category who practice in the clinical field or specialty under
6046                       review when developing and evaluating practice protocols; and
6047
6048                    11.35-2.1-f maintaining clear lines of responsibility of the
6049                       Department of Nursing for nursing care of patients of the
6050                       Association for medical services in the Medical Center;
6051
6052        11.35-2.2 To encourage and initiate the preparation and approval of standardized
6053           procedures by appropriate groups in each department;
6054
6055        11.35-2.3 To review standardized procedures and recommend approval by the
6056           Credentials and Executive Committees;
6057
6058        11.35-2.4 To ensure the appropriate monitoring, evaluation and documentation of
6059           clinical competency of expanded role practitioners by the departments;
6060
6061        11.35-2.5 To evaluate and make recommendations regarding:
6062
6063                    11.35-2.5-a the mechanism for evaluating the qualifications and
6064                       credentials of AHPs who are eligible to apply for and provide in-
6065                       hospital services;
6066
6067                    11.35-2.5-b the minimum standards of training, education,
6068                       character, competence, and overall fitness of AHPs eligible to
6069                       apply for the opportunity to perform in-hospital services;
6070
6071                    11.35-2.5-c identification of in-hospital services which may be
6072                       performed by an AHP, or category of AHPs, as well as any
6073                       applicable terms and conditions thereon; and
6074
6075                    11.35-2.5-d the professional responsibilities of AHPs who have
6076                       been determined eligible to perform in-hospital services.
6077
6078        11.35-2.6 To evaluate and report on whether in-hospital services proposed to be
6079           performed or actually performed by AHPs are inconsistent with the rendering
6080           of quality medical care and with the responsibilities of members of the
6081           Association;
6082
6083        11.35-2.7 To evaluate and report on the effectiveness of supervision
6084           requirements imposed upon AHPs who are rendering in-hospital services;
6085
6086        11.35-2.8 To periodically evaluate and report on the efficiency and effectiveness
6087           of in-hospital services performed by AHPs; and
6088
6089        11.35-2.9 To perform additional functions consistent with the requirements of law
6090           and regulation.
6091


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6092   11.35-3 Meetings: The IDPC shall meet at least quarterly, shall maintain a permanent
6093      record of its proceedings and actions, and shall submit at least a quarterly report
6094      (meeting minutes will suffice for this purpose) to the Executive Committee through
6095      the Credentials Committee on its activities and recommendations.
6096
6097   11.36 MEDICAL STAFF CONTRACTS REVIEW COMMITTEE
6098
6099   11.36-1 Composition
6100
6101      The Medical Staff Contract Review Committee shall be composed of no less than
6102      three (3) members of the Active Staff who do not hold exclusive contracts, including
6103      at least one officer.
6104
6105   11.36-2 Duties
6106
6107          11.36-2.1 The Committee shall review and make recommendations to the
6108             Governing Body regarding quality of care issues related to exclusive
6109             arrangements for physician and/or professional services, prior to any decision
6110             being made, in the following situations:
6111
6112                      11.36-2.1-a the decision to execute an exclusive contract in a
6113                         previously open department or service;
6114
6115                      11.36-2.1-b the decision to renew or modify an exclusive contract in
6116                         a particular department or service;
6117
6118                      11.36-2.1-c the decision to terminate an exclusive contract in a
6119                         particular department or service.
6120
6121          11.36-2.2 The Committee shall also review and make recommendations to the
6122             Governing Body regarding quality of care issues related to the selection,
6123             performance evaluation, and any change in retention or replacement of
6124             physicians with whom the hospital has a contract. Prior to any decision being
6125             made, the Governing Body shall be required to review and approve the
6126             recommendations of the Committee regarding these contracts, which
6127             approval shall not be unreasonably withheld.
6128
6129          11.36-2.3 When reviewing contracts within the purview of the Medical Staff
6130             Contracts Review Committee, the Committee shall request the Medical
6131             Center to present to it evidence of the need for a contract by:
6132
6133                         11.36-2.3-a identifying in writing the patient care needs to be met
6134                            by the contract;
6135
6136                         11.36-2.3-b discussing with the affected Association department,
6137                            division or committee potential alternatives to a contract that
6138                            may be equally effective in meeting patient care needs, and if
6139                            none are acceptable to the Administration;
6140




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6141                         11.36-2.3-c inviting the chairs of the affected Association
6142                            departments, divisions or committees to the Committee
6143                            meeting to discuss the need for a contract.
6144
6145          11.36-2.4 The Committee shall report on the status of its work at each annual
6146             Association meeting.
6147
6148   11.36-3 Meetings
6149
6150      The Committee shall hold meetings at such intervals as the chair or the Executive
6151      Committee may deem appropriate, shall maintain a permanent record of its
6152      proceedings and actions, and shall submit a report (meeting minutes will suffice for
6153      this purpose) to the Executive Committee on its activities and recommendations.
6154
6155   11.37 PROCEDURAL SEDATION OVERSIGHT COMMITTEE
6156
6157   11.37-1 Composition: The Procedural Sedation Committee shall consist of at least
6158   physician representatives from the Departments of Anesthesiology, Emergency
6159   Medicine, Medicine, Pediatrics, Surgery and Radiology, Pharmacy and at least one
6160   representative from the Department of Nursing. The Committee is chaired by a
6161   representative from the Department of Anesthesiology.
6162
6163   11.37-2 Duties
6164
6165      11.37-2.1 To propose, develop, revise and/or implement procedures and policies for
6166         procedural sedation;
6167
6168      11.37-2.2 To review actions related to procedural sedation proposed by other
6169         Committees, both those within the Institution and within DHS, analyze how these
6170         will impact patient care and make a recommendation;
6171
6172      11.37-2.3 To review and approve resident and faculty training for procedural
6173         sedation;
6174
6175      11.37-2.4 To delineate the criteria for privileging procedural sedation;
6176
6177      11.37-2.5 To monitor procedural sedation in the Medical Center, including any
6178         complications related to procedural sedation and make recommendations as
6179         appropriate; and
6180
6181      11.37-2.6 To analyze specific procedural sedation patient safety issues and sharing
6182         findings with other Medical Staff Committees, including the Department of
6183         Anesthesiology Quality Improvement Committee.
6184
6185      11.37-3 Meetings
6186
6187          The Procedural Sedation Committee shall meet at least once quarterly, shall
6188          maintain a permanent record of its proceedings and actions, and shall submit
6189          reports to the Clinical Data Monitoring Panel on its activities. The Committee will
6190          also provide a report regarding the complications of procedural sedation to the
6191          Department of Anesthesiology Quality Improvement Committee.


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6192
6193
6194   11.38 OTHER COMMITTEES
6195
6196   The President and/or Executive Committee, in mutual consultation, may establish and
6197   appoint other standing committees and/or special or ad hoc committees when deemed
6198   necessary. The appointment of such committees shall include the following:
6199
6200   11.38-1 The members of the committee and its chair;
6201
6202   11.38-2 The exact charge for which the committee is formed;
6203
6204   11.38-3 To whom and when the committee shall report concerning its deliberations
6205      and/or actions and recommendations; and
6206
6207   11.38-4 The duration of service of the committee.
6208
6209
6210                                                ARTICLE XII
6211
6212                                                 MEETINGS
6213
6214   12.1   ANNUAL ASSOCIATION MEETING
6215
6216   12.1-1 Notice
6217
6218      There shall be an annual meeting of the members of the Association held annually.
6219      The election of officers of the Association and Association Members at Large shall
6220      take place at this meeting. Notice of this meeting and its agenda items (including
6221      reference to executive session but excluding the items to be discussed) shall be
6222      given to the members at least ten (10) days prior to the meeting.
6223
6224   12.1-2 Agenda
6225
6226      The agenda for the annual meeting shall be determined by the President and
6227      Executive Committee and shall include, insofar as feasible:
6228
6229          12.1-2.1 Call to order;
6230
6231          12.1-2.2 Acceptance of the minutes as amended, if needed, of the last annual
6232             and of all intervening special meetings;
6233
6234          12.1.2-3 Unfinished business;
6235
6236          12.1-2.4 Report from the Chief Medical Officer and/or Chief Executive Officer;
6237
6238          12.1-2.5 Report from the President;
6239
6240          12.1-2.6 Report from the Secretary-Treasurer;
6241
6242          12.1-2.7 Reports on the overall results of quality review;


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6243
6244          12.1-2.8 Adoption and amendment of bylaws and other Association documents,
6245             as needed;
6246
6247          12.1-2.9 New business;
6248
6249          12.1-2.10     Election of officers and Association Members at Large; and
6250
6251          12.1-2.11     Adjournment
6252
6253      Where the Association is being asked to consider or review a document, a copy of
6254      the document shall be appended to the agenda accompanying the notice of the
6255      annual or special Association meeting. Drafts of any documents considered or to be
6256      considered at any Association meeting shall be available to any Association member
6257      upon request.      Further, any proposal considered at the meeting shall be
6258      accompanied by a clear explanation as to the source of the proposal and why that
6259      proposal is needed.
6260
6261      Except as otherwise stated in these Bylaws, no business shall be transacted at any
6262      Association meeting unless it is identified in the agenda accompanying the notice
6263      calling the meeting. In the event an emergent or urgent issue arises after the
6264      agenda is set, and action on that issue is necessary, any action taken shall be
6265      ratified by the Association at the next properly constituted meeting.
6266
6267   12.2   SPECIAL ASSOCIATION MEETINGS
6268
6269   12.2-1 Calling of Special Meeting
6270
6271          Special meetings of the Association may be called at any time by the President or
6272          the Executive Committee. The President shall call a special meeting within thirty
6273          (30) days after receipt by him/her of a written request for same signed by at least
6274          twenty percent (20%) of Active Staff members addressed to the President and
6275          stating the purpose for such meeting. Notice including the stated purpose of the
6276          meeting shall be provided as in Section 12.4 below. No business shall be
6277          transacted at any special meeting except that stated in the notice calling the
6278          meeting.
6279
6280   12.2-2 Agenda
6281
6282          The agenda at a special meeting shall be:
6283
6284              12.2-2.1 Reading of the notice calling the meeting;
6285
6286              12.2-2.2 Transaction of business for which the meeting was called; and
6287
6288              12.2-2.3 Adjournment.
6289
6290   12.3 COMMITTEE AND DEPARTMENT MEETINGS
6291
6292   12.3-1 Regular Meetings
6293


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6294      Committees and departments may, by resolution, provide the time for holding regular
6295      meetings, and no notice other than such resolution shall then be required. Each
6296      department shall hold regular meetings at least quarterly to review and evaluate the
6297      clinical activities of the department.
6298
6299   12.3-2 Special Meetings
6300
6301      A special meeting of any committee or department may be called by, or at the
6302      request of, the chair thereof, the President, or by one-third of the group's current
6303      members eligible to vote but not less than two (2) members.
6304
6305   12.4 NOTICE OF MEETINGS
6306
6307   Except as otherwise specified in these bylaws, written or printed notice stating the place,
6308   day, and hour of any Association meeting or of any committee or department meeting
6309   not held pursuant to resolution shall be delivered either personally or by email, facsimile,
6310   United States mail or County mail to each person entitled to be present no less than
6311   seven (7) days nor more than twenty (20) days before the date of such meeting, except
6312   that notice of the annual Association meeting shall be delivered at least ten (10) days
6313   prior to the meeting. If mailed by email, the notice of the meeting shall be deemed
6314   delivered when the email is submitted and addressed to any identified or preferred email
6315   address submitted by the member on file in the Association Office. If sent by facsimile,
6316   the notice of the meeting shall be deemed delivered when the facsimile is submitted and
6317   directed to the facsimile number on file in the Association Office. If mailed by United
6318   States mail, the notice of the meeting shall be deemed delivered when deposited,
6319   postage prepaid, in the United States mail addressed to each person entitled to such
6320   notice at his/her address as it appears on file in the Association Office. If mailed by
6321   County mail, the notice of the meeting shall be deemed delivered when deposited in the
6322   Medical Center Mail Distribution Center addressed to each person entitled to such notice
6323   at his/her address as it appears on the records of the Medical Center
6324
6325   12.5 QUORUM
6326
6327   12.5-1 Amending these Bylaws
6328
6329      The presence of ten (10) Association members accorded the right to vote as
6330      described in Article III responding in person at any annual or special meeting of the
6331      Association shall be required for the purpose of amending these bylaws pursuant to
6332      the procedure described in Article XIX.
6333
6334   12.5-2 Election or Removal of Officers or Association Members at Large
6335
6336      The presence of ten (10) Association members accorded the right to vote as
6337      described in Article III responding in person at any annual or special meeting of the
6338      Association shall be required for the purpose of the election or removal of
6339      Association officers pursuant to the procedures described in Sections 9.4, 9.7 or
6340      11.2-3.
6341
6342   12.5-3 Reduction or Elimination of Dues or Assessments
6343



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6344      The presence of ten (10) Association members accorded the right to vote as
6345      described in Article III responding in person at any special meeting of the Association
6346      shall be required for the purpose of reducing or eliminating any dues or assessments
6347      pursuant to the procedures described in Section 15.4.
6348
6349   12.5-4 Actions at Executive and Credentials Committees
6350
6351      The presence of at least 50% of the voting members shall be required for any actions
6352      taken at the Credentials or Executive Committees.
6353
6354   12.5-5 Actions at Other Meetings
6355
6356      Except as provided for in Subsections 12.5-1 through 12.5-4, the presence of at least
6357      three (3) voting members of the Association shall constitute a quorum for all actions
6358      taken at Association, department or committee meetings.
6359
6360   12.6 CONDUCT OF MEETINGS
6361
6362   All meetings shall be conducted according to these bylaws. Where not otherwise
6363   specified, the latest edition of Robert’s Rules of Order or The Standard Code of
6364   Parliamentary Procedure, the choice of which to be at the discretion of the presiding
6365   officer of the meeting, shall prevail, provided that any technical departure from such
6366   rules, as determined in the sole judgment of the presiding officer, shall not invalidate any
6367   action taken at a meeting.
6368
6369   12.7 VOTING AND MANNER OF ACTION
6370
6371   12.7-1 Voting
6372
6373      Unless otherwise specified in these bylaws, only members of the Association
6374      accorded the right to vote as described in Article III may vote in Association or
6375      department elections and at Association, department and committee meetings
6376      except as may otherwise be specified in these bylaws. With the exception for
6377      matters voted upon by the Executive Committee, voting may be accomplished by
6378      email or other electronic and/or telephone means where permitted by the chair of the
6379      meeting, so long as adequate precautions are in place to ensure authentication and
6380      security.
6381
6382   12.7-2 Manner of Action
6383
6384      Except as otherwise specified in these bylaws, the action of a majority of the voting
6385      members present and voting at any meeting at which a quorum is present shall be
6386      the action of the group. Members may be present at a meeting by electronic or
6387      telephonic means where permitted by the chair of the meeting. A meeting at which a
6388      quorum is initially present may continue to transact business notwithstanding the
6389      withdrawal of members, if any action taken is approved by at least a majority of the
6390      required quorum for such meeting, or such greater number as may be specifically
6391      required by these bylaws. Committee action may be conducted by telephone
6392      conference or other electronic communication which shall be deemed to constitute a
6393      meeting for the matters discussed in that telephone or virtual conference.
6394


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6395   12.8 MINUTES
6396
6397   Minutes of all meetings shall be prepared and maintained in a permanent record and
6398   shall include a record of attendance and the vote taken on each matter. Further, the
6399   minutes shall include the names of those who disclosed potential conflicts of interest and
6400   those who recused themselves. Minutes of all Association meetings (except the minutes
6401   relating to peer review and matters discussed in executive session), shall be available to
6402   any Association member upon request. The minutes shall be signed by the presiding
6403   officer and forwarded to the Executive Committee. The Association Office shall maintain
6404   a permanent file of the minutes of Association and committee meetings, and each
6405   department shall maintain a permanent file of the minutes of department meetings.
6406
6407   12.9 ATTENDANCE REQUIREMENTS
6408
6409   12.9-1 Association Meetings
6410
6411      The representatives of each department or the representative's alternate, as
6412      appointed pursuant to Section 10.4-1.22, shall be required to attend all annual and
6413      special Association meetings during their term of office. They shall have the duty of
6414      reporting to their departments on the proceedings and actions of such meetings. All
6415      other Association members are encouraged to attend all annual and special
6416      Association meetings. Other interested persons may also attend at the discretion of
6417      the President. Attendance via web conferencing or electronic means shall be
6418      accepted.
6419
6420   12.9-2 Committee and Department Meetings
6421
6422      Each member in the Active Staff category and each member in the Provisional Staff
6423      category who
6424
6425             1. is employed at least forty (40) hours per week as a County Civil Service
6426                employee, whether classified or unclassified;
6427
6428             2. provides health services at the Medical Center at least forty (40) hours per
6429                week under a contract which he/she has entered into with the County to
6430                provide health services at the Medical Center; or
6431
6432             3. provides health services at the Medical Center at least forty (40) hours per
6433                week under a contract of a non-County entity to provide health services at
6434                the Medical Center
6435
6436      shall be required to attend not less than fifty (50) percent of all meetings of each
6437      committee or department of which he/she is a member in each Association Year.
6438
6439   12.9-3 Absence from Meetings
6440
6441      Any member so required to attend who is compelled to be absent from any
6442      Association, committee, department or division meeting shall submit to the presiding
6443      officer thereof the reason for such absence. Failure to meet the attendance
6444      requirements of Subsections 12.9-1 or 12.9-2, unless excused by such presiding
6445      officer for good cause shown, may be grounds for corrective action as set forth in


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6446      Article VI, and including, in addition, removal from such committee, department or
6447      division. Presiding officers of such meetings shall report all such failures to the
6448      Executive Committee. Reinstatement of an Association member whose membership
6449      has been revoked because of absence from meetings shall be made only on
6450      application, and any such application shall be processed in the same manner as an
6451      application for initial appointment.
6452
6453      12.9-4 Special Appearance
6454
6455      At the discretion of the chair or presiding officer, when a member’s practice or
6456      conduct is scheduled for discussion at a committee, department or division meeting,
6457      the member shall be so notified by the committee or department chair or division
6458      chief and shall be required to attend. Whenever apparent or suspected deviation
6459      from standard clinical practice is involved, the notice to the member shall so state,
6460      shall state the time and place of the meeting, shall be given by certified mail, return
6461      receipt requested, at least seven (7) days prior to the meeting, and shall include a
6462      statement that his/her attendance at the meeting at which the alleged deviation is to
6463      be discussed is mandatory. The member shall be provided access to clinical
6464      information relating to the meeting no later than five (5) days before any such
6465      meeting.
6466
6467      Failure of a member to attend any meeting with respect to which he/she was given
6468      notice that attendance is mandatory, unless excused by the President or the
6469      Executive Committee upon a showing of good cause, shall be a basis for corrective
6470      action. If the practitioner makes a written request for postponement, which is
6471      received by the President within five (5) days after the date of the notice and which is
6472      supported by an adequate showing that his/her absence will be unavoidable, his/her
6473      attendance and presentation may be excused and postponed by the committee or
6474      department chair or division chief, or by the President if the chair or chief is the
6475      practitioner involved, until not later than the next regular committee, department or
6476      division meeting; otherwise, the pertinent clinical information shall be presented and
6477      discussed as scheduled.
6478
6479   12.10 EXECUTIVE SESSION
6480
6481   Executive session is a meeting of an Association committee, department, or division, or
6482   of the Association as a whole which only voting members of the relevant committee,
6483   department, division or Association as a whole who are members of the Association
6484   attend, unless others are expressly requested to attend by the member presiding at the
6485   meeting. Executive session may be called by the presiding member at the request of any
6486   Association member and shall be called by the presiding member pursuant to a duly
6487   adopted motion. Executive session may be called to discuss peer review issues,
6488   personnel issues, or any other sensitive issues requiring confidentiality.
6489
6490                                                  ARTICLE XIII
6491
6492                              CONFIDENTIALITY, IMMUNITY AND RELEASES
6493
6494   13.1 SPECIAL DEFINITIONS
6495
6496   For the purposes of this Article, the following definitions shall apply:


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6497
6498   13.1-1 INFORMATION means records of proceedings, minutes, records, files,
6499      communications, reports, memoranda, statements, recommendations, data and
6500      other disclosures, whether in written or oral form, relating to professional
6501      qualifications, clinical ability, judgment, character, adequate physical and mental
6502      health status, emotional stability, professional ethics, or any other matter that might
6503      directly or indirectly affect patient care.
6504
6505   13.1-2 REPRESENTATIVE means Los Angeles County and any officer, employee or
6506      agent thereof; the Association and any member, officer, department, division,
6507      service, board, council or committee thereof; any other medical staff organization
6508      and any member, officer, department, service, division, board, council, or committee
6509      thereof; any other health care facility or organization and any officer, department,
6510      service, division, board, council, or committee thereof; and any person authorized by
6511      any of the foregoing to perform specific information gathering or disseminating
6512      functions.
6513
6514   13.1-3 THIRD PARTY means any person or organization providing information to any
6515      representative.
6516
6517   13.2 AUTHORIZATIONS AND CONDITIONS
6518
6519   By applying for, or exercising, clinical privileges or providing specified patient care
6520   services within the Medical Center, a practitioner:
6521
6522   13.2-1 Authorizes representatives of the County of Los Angeles, the Medical Center, and
6523      the Association to solicit, provide and act upon any information bearing upon, or
6524      reasonably believed to bear upon, his/her professional ability and qualifications;
6525
6526   13.2-2 Authorizes representatives and third parties to provide any information, including
6527      otherwise privileged or confidential information, concerning the practitioner to the
6528      Medical Center and the Association;
6529
6530   13.2-3 Agrees to be bound by the provisions of this Article and to waive all legal claims
6531      against any representative of the Association or third party who acts in accordance
6532      with the provisions of this Article and would be immune from liability under Section
6533      13.3; and
6534
6535   13.2-4 Acknowledges that the provisions of this Article are express conditions to his/her
6536      application for, and acceptance of, Association membership, the continuation of such
6537      membership and the exercise of clinical privileges or provision of specified patient
6538      care services at the Medical Center.
6539
6540   13.3 IMMUNITY FROM LIABILITY
6541
6542   13.3-1 For Action Taken
6543
6544      Each representative of the County of Los Angeles, the Medical Center, or the
6545      Association, and all third parties, shall, to the fullest extent permitted by law, be
6546      indemnified and held harmless by the County of Los Angeles from any liability to any
6547      practitioner for any damages or other relief for any action taken or statements or


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6548      recommendations made within the scope of his/her duties exercised as a
6549      representative of the County of Los Angeles, the Medical Center, or the Association.
6550
6551   13.3-2 For Providing Information
6552
6553      Each representative of the County of Los Angeles, the Medical Center, or the
6554      Association, and all third parties, shall, to the fullest extent permitted by law, be
6555      indemnified and held harmless by the County of Los Angeles from any liability to any
6556      practitioner for any damages or other relief by reason of providing information, within
6557      the scope of his/her duties exercised as a representative of the County of Los
6558      Angeles, the Medical Center, or the Association, to a representative of the County of
6559      Los Angeles, the Medical Center, or the Association, or to any other health care
6560      facility or organization or medical staff organization concerning any practitioner who
6561      is, or has been, an applicant to or member of the Association or who did, or does,
6562      exercise clinical privileges or provide specified patient care services at the Medical
6563      Center.
6564
6565   13.4   CONFIDENTIALITY OF INFORMATION
6566
6567   13.4-1 General
6568
6569      Association, Department, Division or Committee minutes, files and records, including
6570      information regarding any member or applicant to this Association, shall, to the fullest
6571      extent permitted by law, be confidential. Dissemination of such information and
6572      records shall only be made where expressly required by law, or as otherwise
6573      provided in these bylaws.
6574
6575   13.4-2 Breach of Confidentiality
6576
6577      Inasmuch as effective peer review, the consideration of the qualifications of
6578      Association members and applicants to perform specific procedures, and the
6579      evaluation and improvement of the quality of patient care rendered in the Medical
6580      Center must be based on free and candid discussions, any breach of confidentiality
6581      of the discussions or deliberations of the Association, departments, divisions, or
6582      committees, except in conjunction with another medical staff organization or health
6583      care facility, professional society or licensing authority, is outside appropriate
6584      standards of conduct for the Association, violates the Association bylaws and shall
6585      be deemed disruptive to the operations of the Association and the Medical Center. If
6586      it is determined that such a breach has occurred or is likely to occur, the Medical
6587      Center or the Executive Committee may undertake such corrective action as it
6588      deems appropriate.
6589
6590   13.4-3 Activities and Information Covered
6591
6592      The confidentiality and immunity provisions of this Article shall apply to all acts,
6593      communications, reports, recommendations, and disclosures of any kind performed
6594      or made in connection with the activities of the Medical Center, the Association, or
6595      any other health care facility or organization or medical staff organization,
6596      concerning, but not limited to:
6597



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6598          13.4-3.1 Applications for appointment, clinical privileges, or specified patient care
6599             services;
6600
6601          13.4-3.2 Periodic reappraisals for reappointment, clinical privileges or specified
6602             patient care services;
6603
6604          13.4-3.3 Corrective action;
6605
6606          13.4-3.4 Hearings and appellate reviews;
6607
6608          13.4-3.5 Performance data from the quality assessment and improvement
6609             program;
6610
6611          13.4-3.6 Utilization reviews;
6612
6613          13.4-3.7 Other Medical Center, Association, department, division, or committee
6614             activities related to monitoring and/or maintaining quality patient care and
6615             appropriate professional conduct; and
6616
6617          13.4-3.8 Queries and reports concerning the National Practitioner Data Bank,
6618             peer review organizations, the Medical Board of California, and similar
6619             queries and reports.
6620
6621   13.5 RELEASES
6622
6623   Each applicant or member shall, upon request of the Association or Medical Center,
6624   execute general and specific releases in accordance with the express provisions and
6625   general intent of this Article. Execution of such releases shall not be deemed a
6626   prerequisite to the effectiveness of this Article.
6627
6628   13.6 INDEMNIFICATION OF THE ASSOCIATION
6629
6630   Los Angeles County and the Medical Center shall indemnify, defend and hold harmless
6631   the Association and its individual members from and against losses and expenses
6632   (including attorneys’ fees, judgments, settlements, and all other costs, direct or indirect)
6633   incurred or suffered by reason of or based upon any threatened, pending or completed
6634   action, suit, proceeding, investigation, or other dispute relating or pertaining to any
6635   alleged act or failure to act within the scope of peer review or quality assessment
6636   activities including, but not limited to,
6637
6638   13.6-1 acting as a member of or witness for an Association department, division,
6639      committee or hearing panel;
6640
6641   13.6-2 acting as a member of or witness for the Medical Center or any Medical Center or
6642      governing body task force, group, or committee; and
6643
6644   13.6-3 acting as a person providing information to any Association or Medical Center
6645      group, officer, Governing Body member or employee for the purpose of aiding in the
6646      evaluation of the qualifications, fitness or character of an Association member or
6647      applicant.
6648


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6649   The Association or member may seek indemnification for such losses and expenses
6650   under this bylaws provision, statutory and case law, any available liability insurance or
6651   otherwise as the Association or member sees fit, and concurrently or in such sequence
6652   as the Association or member may choose. Payment of any losses or expenses by the
6653   Association or member is not a condition precedent to Los Angeles County’s or the
6654   Medical Center’s indemnification obligations hereunder.
6655
6656   The County shall retain responsibility for the sole management and defense of any such
6657   claims, suits, investigations or other disputes against Indemnities including, but not
6658   limited to, the selection of legal counsel to defend against any such action. The
6659   indemnity set forth in this section 13.6 is expressly conditioned on Indemnities' good faith
6660   belief that their actions and/or communications are reasonable and warranted and in
6661   furtherance of the Association's peer review, quality assurance or quality improvement
6662   responsibilities in accordance with the purpose of the Association as set forth in these
6663   bylaws. In no event will the County indemnify any Indemnity for acts or omissions taken,
6664   or not taken, in bad faith or in pursuit of the Indemnities’ private economic interests.
6665
6666                                                ARTICLE XIV
6667
6668                               RULES AND REGULATIONS AND POLICIES
6669
6670   14.1 ASSOCIATION RULES AND REGULATIONS
6671
6672   14.1-1 Two Ways for Approval of Rules and Regulations
6673
6674      Upon the request of a member of the Executive Committee, the President, any
6675      Association committee or Medical Center Administration, consideration shall be given by
6676      the Executive Committee to the adoption, amendment, or repeal of the Association rules
6677      and regulations subject to the approval of the Governing Body. Alternatively, upon
6678      timely written petition signed by at least thirty percent (30%) of the members of the
6679      Association in good standing who are entitled to vote as described in Article III,
6680      consideration shall be given at the next annual Association meeting or at a special
6681      meeting of the Association called for such purpose pursuant to Section 12.2-1, to the
6682      adoption, amendment, or repeal of the Association rules and regulations subject to the
6683      approval of the Governing Body.
6684
6685   14.1-2 Nature of Rules and Regulations
6686
6687      Such rules and regulations shall be limited to procedural details and processes
6688      implementing these bylaws, shall not affect the organizational structure of the
6689      Association to be self-governing and shall not be inconsistent with these bylaws,
6690      Association policies or other policies of the Medical Center approved by the
6691      Executive Committee.
6692
6693   14.1-3 Notification of Association Prior to Creating or Amending Rule
6694
6695      Except as provided in Section 14.1-4, prior to the approval of an amendment to the rules
6696      and regulations, the Association members shall be notified and given an opportunity to
6697      review and comment on the proposed rule. This review and comment opportunity may
6698      be accomplished by posting proposed Rules in Association common areas such as
6699      Association offices, dining rooms and lounges, and on the Association website at


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6700      least ten (10) days prior to the scheduled Executive Committee meeting together
6701      with instructions how interested members may communicate comments. All
6702      comments shall be summarized and provided to the Executive Committee prior to
6703      Executive Committee action on the proposed Rule.
6704
6705   14.1-4 Urgent Amendment to Rules
6706
6707      When there is a documented need for an urgent amendment to the rules and regulations
6708      in order to comply with law or regulation, the Executive Committee may provisionally
6709      adopt and the Governing Body may provisionally approve an urgent amendment without
6710      prior notification to Association members. When such urgent amendment to the rules
6711      and regulations has been provisionally approved, the Association members shall be
6712      notified immediately and offered an opportunity to request a special meeting of the
6713      Association pursuant to the procedure provided in Section 12.2-1 to discuss the
6714      provisionally approved amendment. If there is no conflict between the Association
6715      and the Executive Committee regarding the provisional amendment, the amendment
6716      shall stand. If there is conflict over the provisional amendment, the members present
6717      at the special meeting of the Association entitled to vote shall vote to keep the
6718      amendment as stated or to modify the amendment and submit it to the Governing
6719      Body for action.
6720
6721   14.1-5 Rule Generated by Petition
6722
6723      Executive Committee approval is required to adopt, amend, or repeal such rules and
6724      regulations of the Association unless the proposed rule is one generated by petition
6725      of at least thirty-three (33) percent of the voting members of the Association. In this
6726      latter circumstance, if the Executive Committee fails to approve the proposed Rule, it
6727      shall notify the Association. The Executive Committee and the Association shall
6728      each have the option of invoking or waiving the conflict management provisions of
6729      Section 15.10. In the event of conflict between the Executive Committee and the
6730      Association (as represented by written petition signed by at least thirty-three (33)
6731      percent of the voting members of the Association) regarding a rule or policy
6732      proposed or adopted by the Executive Committee, the procedure described in
6733      Section 15.10-1 shall be followed.
6734
6735         14.1-5.1 If conflict management is not invoked within thirty (30) days, it shall be
6736            deemed waived. In this circumstance, the Association’s proposed Rule shall
6737            be submitted for vote, and, if approved by the Association, the proposed Rule
6738            shall be forwarded to the Governing Body for action. The Executive
6739            Committee may forward comments to the Governing Body regarding the
6740            reasons it declined to approve the proposed Rule.
6741
6742         14.1.-5.2 If conflict management is invoked, the proposed Rule shall not be voted
6743            upon or forwarded to the Governing Body until the conflict management
6744            process has been completed, and the results of the conflict management
6745            process shall be communicated to the Governing Body.
6746
6747         14.1-5.3 With respect to proposed Rules generated by petition of the Association,
6748            approval of the Association requires the affirmative vote of a majority of the
6749            Association members eligible to vote voting on the matter by mailed secret
6750            ballot, provided at least ten (10) days advance written notice, accompanied


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6751              by the proposed Rule, has been given, and at least a number in excess of
6752              fifty (50) percent of the eligible votes has been cast.
6753
6754   14.1-6 Governing Body Approval
6755
6756      Following Executive Committee action, or whenever an Association rule or regulation
6757      has been adopted, amended, or repealed by the Association pursuant to the procedure
6758      described in Section 14.1-5, such rules and regulations shall become effective upon
6759      approval of the Governing Body, which approval shall not be withheld unreasonably, or
6760      automatically after thirty (30) days if no action is taken by the Governing Body. In the
6761      latter event, the Governing Body shall be deemed to have approved the rule(s) and
6762      regulation(s) adopted by the Association.
6763
6764   14.1-7 Communication of Rule Changes to Members
6765
6766      If changes are made in the rules and regulations, as determined by the Executive
6767      Committee, then the Association members and other persons with clinical privileges
6768      shall be provided with revised texts.
6769
6770   14.1-8 Periodic Review of Rules
6771
6772      Rules and regulations shall be reviewed and may be revised if necessary every two (2)
6773      years at a minimum. The mechanism described herein shall be the sole method for the
6774      initiation, adoption, amendment, or repeal of the Association rules and regulations.
6775
6776
6777   14.2 POLICIES RELATED TO ASSOCIATION MATTERS
6778
6779   Upon the request of the President, an Association Committee, or Medical Center
6780   Administration, consideration shall be given by the Executive Committee to the adoption,
6781   amendment, or repeal of Association policies including departmental policies and policies
6782   related to Association matters. If approved by the Executive Committee, such policies
6783   shall become official policies of the Association. Alternatively, upon timely written petition
6784   signed by at least thirty (30) percent of the members of the Association in good standing
6785   who are entitled to vote as described in Article III, consideration shall be given at the next
6786   annual Association meeting or at a special meeting of the Association called for such
6787   purpose pursuant to Section 12.2-1 to the adoption, amendment, or repeal of Association
6788   policies. Following approval by the Executive Committee or the Association, such
6789   policies shall become effective after which they are communicated to Association
6790   members.
6791
6792   Medical Center policies related to providing or monitoring patient care shall be submitted
6793   to the Executive Committee for approval. If approved by the Executive Committee, such
6794   policies shall become official policies of the Medical Center. Following approval by the
6795   Executive Committee, such policies shall become effective after which they are
6796   communicated to Association members.
6797
6798   14.3 EFFECT OF ASSOCIATION RULES AND REGULATIONS, ASSOCIATION
6799   POLICIES AND MEDICAL CENTER POLICIES APPROVED BY THE EXECUTIVE
6800   COMMITTEE
6801


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6802   Applicants and members of the Association shall be governed by properly initiated and
6803   adopted Association rules and regulations, Association policies and Medical Center policies
6804   approved by the Executive Committee. If there is any conflict between the bylaws and the
6805   rules and regulations or Association or Medical Center policies approved by the Executive
6806   Committee, the bylaws shall prevail. If there is any conflict between the rules and
6807   regulations and Association or Medical Center policies approved by the Executive
6808   Committee, the rules and regulations shall govern. If there is any conflict between
6809   Association policies and Medical Center policies approved by the Executive Committee,
6810   the Association policies shall prevail.
6811
6812   14.4 DEPARTMENTAL RULES AND REGULATIONS OR POLICIES
6813
6814   Subject to the approval of the Executive Committee and the Governing Body, each
6815   department shall adopt, amend, or repeal its own rules and regulations or policies for the
6816   conduct of its affairs and the discharge of its responsibilities. Such rules and regulations
6817   and policies shall not be inconsistent with these bylaws, the rules and regulations or
6818   policies of the Association, or other policies of the Medical Center approved by the
6819   Executive Committee. If there is any conflict between these bylaws, the Association
6820   Rules and Regulations or Association policies and such departmental rules and
6821   regulations or policies, the bylaws, Association Rules and Regulations or Association
6822   policies shall govern.
6823
6824                                                ARTICLE XV
6825
6826                                          GENERAL PROVISIONS
6827
6828   15.1 CONSTRUCTION OF TERMS AND HEADINGS
6829
6830   Words used in these bylaws shall be read as the masculine or feminine gender and as
6831   the singular or plural, as the context requires. The captions or headings in these bylaws
6832   are for convenience only and are not intended to limit or define the scope or effect of any
6833   provision of these bylaws.
6834
6835   15.2 EXECUTIVE COMMITTEE ACTION
6836
6837   Whenever these bylaws require or authorize action by the Executive Committee, such
6838   action may be taken by the PSA Review Committee or any other subcommittee of the
6839   Executive Committee to which the Executive Committee has delegated the responsibility
6840   and authority to act for it on the particular subject matter, activity or function involved.
6841
6842   15.3 AUTHORITY TO ACT
6843
6844   Action of the Association in relation to any person other than the members thereof shall
6845   be expressed only through the President or the Executive Committee or their designee,
6846   and they shall first confer with the Chief Executive Officer. Any member who acts in the
6847   name of the Association without proper authority shall be subject to such disciplinary
6848   action as the Executive Committee may deem appropriate.
6849
6850   15.4 DUES OR ASSESSMENTS
6851
6852   15.4-1 Annual Determination of Dues or Assessments


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6853
6854      The Executive Committee shall have the power to determine the amount, if any, of
6855      the annual dues or special assessments for each Department and/or for each
6856      category of Association membership and to determine the manner of expenditure of
6857      such funds received. Such power shall include the ability to assess dues or
6858      assessments for each Department and/or member on a sliding scale basis,
6859      depending on the level of participation in Association activities by the Association
6860      member. The amount of annual dues charged will not exceed $100 per member for
6861      each 2-year re-application cycle without convening a Special Meeting of the PSA
6862      with a vote supporting such action. The President shall notify all members of any
6863      approved dues or special assessments in writing, which will become effective thirty
6864      (30) days from the date of the President’s letter unless the President receives a
6865      written request for a special meeting of the Association pursuant to the procedure
6866      provided in Section 12.2-1 to discuss the dues or assessments prior to the date they
6867      are scheduled to be effective. In that event, the dues or assessment will become
6868      effective on the day following the special meeting unless at that meeting, at which a
6869      quorum is achieved as described in Section 12.5-3, a simple majority of members
6870      present vote to reduce or eliminate the dues or assessment or to modify the sliding
6871      scale basis.
6872
6873   15.4-2 Prompt Payment of Dues or Assessments
6874
6875      Each Department member of the Association shall promptly pay annual dues or
6876      special assessments to the Association, if any dues or special assessments are
6877      approved and assessed pursuant to these bylaws.
6878
6879   15.4-3 Control of Association Funds
6880
6881      Association funds, regardless from what source (i.e., Association dues/assessments,
6882      Medical Center funds) shall be under the sole control of the Association. The
6883      Executive Committee shall collect all dues/assessments and shall deposit all
6884      dues/assessments and other funds in an account in a financial institution located in
6885      California to assure the Association the financial ability to solely administer those
6886      functions required under the bylaws. All Association members may at all reasonable
6887      times copy and inspect all bank statements and the quarterly financial statements
6888      prepared pursuant to Section 9.8-4.5.
6889
6890      The Association, through the Executive Committee, shall expend dues/assessment
6891      funds only for Association purposes as deemed appropriate and approved by the
6892      Executive Committee, provided that all expenditures of dues/assessment funds shall
6893      require the signature of the President or an individual authorized by the Executive
6894      Committee and, for expenditures over $1,000, the Secretary-Treasurer, if any, or a
6895      second individual authorized by the Executive Committee.
6896
6897   15.5 ASSOCIATION REPRESENTATION BY LEGAL COUNSEL
6898
6899   Notwithstanding any other provision of these bylaws,
6900
6901   15.5-1 Upon the authorization of the Association, or of the Executive Committee acting
6902      on its behalf, the Association may retain and be represented by independent legal
6903      counsel of its own choosing when necessary in order for the Association to exercise


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6904      its rights, obligations or responsibilities as described in California Business and
6905      Professions Code Section 2282.5. Such counsel, to the extent practicable, shall not
6906      be employed by a law firm representing the Medical Center or the County;
6907
6908   15.5-2 The Association shall enter into a written engagement letter with the individual
6909      selected to be independent legal counsel affirming that the Association, not the
6910      Medical Center or the County, is the counsel’s client, that the counsel represents
6911      solely the interests of the Association, and that the attorney-client privilege of
6912      confidentiality applicable to all communications between the counsel and the
6913      Association is held solely by the Association, regardless of whether the Association
6914      or a third party pays the counsel’s fees. In the event the counsel is paid for by a third
6915      party, the counsel shall also provide a written assurance to the Association that
6916      he/she will permit no interference by the third party with his/her independence of
6917      professional judgment or with the attorney-client relationship, as required by State
6918      Bar of California Rules of Professional Conduct, Rule 3-310;
6919
6920   15.5-3 The Association shall be solely liable and responsible for the independent legal
6921      counsel, including, without limitation, for payment of all related attorney fees, costs
6922      and expenses; and
6923
6924   15.5-4 The County of Los Angeles shall have no liability or responsibility for the
6925      independent legal counsel, including, without limitation, for payment of any related
6926      attorney fees, costs and expenses.
6927
6928   15.6 NOTICES
6929
6930   Except where specific notice provisions are otherwise provided in these bylaws, any and
6931   all notices, demands, requests required or permitted to be mailed shall be in writing
6932   properly sealed, and shall be sent through the United States Postal Service, first-class
6933   postage prepaid. An alternative delivery mechanism may be used if it is reliable, as
6934   expeditious, and if evidence of its use is obtained. Notice to the Association or officers or
6935   committees thereof shall be addressed as follows:
6936            Name and proper title of addressee, if known or applicable
6937            Name of department, division or committee
6938            [c/o Medical Staff Office, President]
6939            Harbor-UCLA Medical Center
6940            1000 West Carson Street, Box 2
6941            Torrance, California 90502
6942   Mailed notices to a member, applicant or other party, shall be to the addressee at the
6943   address as it last appears in the official records of the Association or the Medical Center.
6944
6945   15.7 DISCLOSURE OF INTEREST AND CONFLICT OF INTEREST RESOLUTION
6946
6947   For the purposes of these bylaws, CONFLICT OF INTEREST means a personal or
6948   financial interest or conflicting fiduciary obligation that makes it impossible, as a practical
6949   matter, for the individual to act in the best interests of the Association without regard to the
6950   individual's private or personal interest. Such an interest may also be held by an
6951   immediate family member of that individual, including that individual's spouse, domestic
6952   partner, child or parent.
6953
6954   15.7-1 Conflict Resolution


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6955
6956         15.7-1.1 Not all disclosures of a potential conflict of interest require the member’s
6957            abstention or recusal. However, a member may abstain from voting on any
6958            issue. A member shall recuse himself/herself if the member reasonably
6959            believes that his/her ability to render a fair and independent decision is or may
6960            be affected by a conflict of interest. A recused member shall not be counted in
6961            determining the quorum for that vote but may answer questions or otherwise
6962            provide information about the matter after disclosing the conflict. A recused
6963            member must not be present for the remainder of the deliberations or the vote.
6964
6965         15.7-1.2 If a member has not voluntarily recused him/herself and a majority of
6966            voting members of the committee or in the staff meeting vote that the member
6967            should be excused from discussion or voting due to conflict of interest, the chair
6968            shall excuse the member.
6969
6970         15.7-1-3 If a member discloses a potential conflict of interest and requests a vote
6971            regarding excusing that member, the member shall leave the room while the
6972            issue is being discussed and voted upon.
6973
6974         15.7-1.4 The minutes of the meeting shall include the names of those who
6975            disclosed potential conflicts and those who abstained and/or recused
6976            themselves.
6977
6978   15.7-2 Corrective Action
6979
6980      Association members who fail to comply with all provisions of these bylaws concerning
6981      actual or potential conflicts of interest shall be subject to corrective action under these
6982      bylaws including, but not limited to, removal from the Association position.
6983
6984   15.8 ASSOCIATION CREDENTIALS AND PEER REVIEW FILES
6985
6986   15.8-1 Location of Association Credentials Files and Peer Review Files
6987
6988         15.8-1.1 Association Credentials File
6989
6990             The Credentials File, paper or electronic, for each member of the Association
6991             shall be kept in the Association Office and/or in peer review and Association
6992             electronic databases. These files shall be part of the records of the
6993             Credentials Committee.
6994
6995         15.8-1.2 Association Peer Review File
6996
6997             A separate Association Peer Review File(s), paper or electronic, for each
6998             member of the Association shall be kept in the office of the chairperson(s) of
6999             the member’s assigned department and other departments in which the
7000             member holds privileges and/or in peer review and Association electronic
7001             databases except that the chairperson’s own paper Peer Review File shall be
7002             kept in the Association Office. These files shall be part of the records of the
7003             Credentials Committee.
7004



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7005   15.8-2 Information to be Included in Association Credentials Files and Peer
7006      Review Files
7007
7008         15.8-2.1 Association Credentials File
7009
7010             Information to be included in each member’s Credentials Files shall consist
7011             of:
7012
7013                        15.8-2.1-a The completed and verified application for Association
7014                           membership including, but not limited to, current licensure or
7015                           section 2113 certification, Drug Enforcement Administration
7016                           (DEA) registration, National Practitioner Data Bank
7017                           documents, state licensing board(s) documents, and
7018                           information on training, experience, physical and mental health
7019                           status, references, previous and current professional liability
7020                           claims, and request for clinical privileges.
7021
7022                        15.8-2.1-b Evidence that the Association evaluated and acted
7023                           upon the information in a. above.
7024
7025                        15.8-2.1-c Evidence that the Association evaluated and acted
7026                           upon the findings from proctoring for initial membership and for
7027                           additional privileges.
7028
7029                        15.8-2.1-d Specific and current clinical privileges recommended
7030                           by the Association and approved by the Governing Body.
7031
7032                        15.8-2.1-e Information pertinent to reappraisal and reappointment
7033                           including, but not limited to, completed and verified
7034                           reapplication form, current licensure, Drug Enforcement
7035                           Administration registration, National Practitioner Data Bank
7036                           documents, state licensing board(s) documents, and
7037                           information on additional training, current experience,
7038                           continuing medical education, attendance at required
7039                           meetings, physical and mental health status, professional
7040                           liability claims, special professional commendations, honors
7041                           and awards, and, where appropriate, compelling evidence of
7042                           public-spirited, health-related activities and dedication to the
7043                           welfare and interest of the community.
7044
7045                        15.8-2.1-f Evidence that OPPE was completed and FPPE
7046                           performed, if applicable.
7047
7048                        15.8-2.1-g Evidence that the Association evaluated all the above
7049                           information as well as assessed the current clinical
7050                           competence for membership and privileges requested, and
7051                           evidence that appropriate action was taken on reappointment
7052                           and renewal of privileges.
7053




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7054                         15.8-2.1-h Evidence of any corrective action initiated including a
7055                            summary by the Executive Committee of the resultant findings,
7056                            recommendations and final outcome.
7057
7058         15.8-2.2 Peer Review File
7059
7060             Information to be included in each member’s Peer Review File(s) shall
7061             consist of:
7062
7063                         15.8-2.2-a Practitioner-specific data from Association monitoring
7064                            and evaluation of clinical care which may include, but is not
7065                            limited to, the member’s statistical clinical activity profile,
7066                            findings from peer review activities, outcome from clinical
7067                            indicator review, blood and drug use review, medical record
7068                            documentation and completeness reports, surgical indications
7069                            monitoring, and individual proctoring reports.
7070
7071                         15.8-2.2-b All records, including, but not limited to, letters, notices,
7072                            reports, exhibits, transcripts, findings, and recommendations,
7073                            relating to any corrective action instituted pursuant to Article VI
7074                            (Evaluation and Corrective Action) of these bylaws.
7075
7076                         15.8-2.2-c All records, including, but not limited to, letters, notices,
7077                            reports, exhibits, transcripts, findings, and recommendations,
7078                            relating to any hearing and appellate review instituted pursuant
7079                            to Article VII (Hearing and Appellate Review Procedure) of
7080                            these bylaws.
7081
7082                         15.8-2.2-d Other information deemed pertinent by the
7083                            chairperson(s) of the member’s assigned department and
7084                            other departments in which the member holds privileges or the
7085                            President including, but not limited to, complaints or other
7086                            adverse information related to the professional competence or
7087                            professional conduct of a member, departmental findings and
7088                            recommendations concerning such complaints or adverse
7089                            information and results of member satisfaction surveys and
7090                            managed care site reviews.
7091
7092                         15.8-2.2-e OPPE documentation and, if applicable, FPPE reports.
7093
7094                         15.8-2.2-f Statements provided by the member responding to any
7095                            information contained in his/her Peer Review File(s).
7096
7097   15.8-3 Insertion of Adverse Information into Credentials and Peer Review Files
7098
7099      The following applies to actions relating to requests for insertion of adverse
7100      information into the member’s Credentials or Peer Review File(s):
7101
7102         15.8-3.1 As described in Section 6.2-3, any person may provide information to
7103            the Association about the conduct, performance or competence of its
7104            members.


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7105
7106         15.8-3.2 When a request is made for insertion of adverse information into the
7107            Association member’s Credentials or Peer Review File, the respective
7108            department chair and President shall review such a request.
7109
7110         15.8-3.3 After such review, a decision will be made by the respective department
7111            chair and President to:
7112
7113                        15.8-3.3-a not insert the information;
7114
7115                        15.8-3.3-b notify the member of the adverse information by a
7116                           written summary and offer the opportunity to rebut this adverse
7117                           information before it is entered into the member’s file; or
7118
7119                        15.8-3.3-c insert the information along with a notation that a
7120                           request has been made to the Executive Committee for an
7121                           investigation as outlined in Section 6.2-3 of these bylaws.
7122
7123         15.8-3.4 This decision shall be reported to the Executive Committee. The
7124            Executive Committee, when so informed, may either ratify or initiate contrary
7125            actions to this decision by a majority vote.
7126
7127         15.8-3.5 If corrective action is deemed appropriate in light of the information to be
7128            included in the file, then the procedures in Article VI of these bylaws shall be
7129            followed.
7130
7131   15.8-4 Review of Adverse Information in the Credentials File and Peer Review
7132      File(s) at the Time of Reappointment
7133
7134      The following applies to the review of adverse information in a member’s Credentials
7135      File and Peer Review File(s) at the time of reappointment.
7136
7137         15.8-4.1 Following the procedures in Section 4.4 of these Bylaws, the member’s
7138            department chairperson(s), as part of his/her/their reappraisal function, or the
7139            President, if the member is the department chairperson, shall review
7140            information in the member’s Credentials File and Peer Review File(s) before
7141            making recommendations regarding reappointment and delineation of
7142            privileges to the Credentials Committee.
7143
7144         15.8-4.2 If there is adverse information in the member’s Credentials File or Peer
7145            Review File(s), this shall be included in the report to the Credentials
7146            Committee.
7147
7148         15.8-4.3 Prior to its recommendation on reappointment, the Credentials
7149            Committee shall review any adverse information in the Credentials or Peer
7150            Review File(s) and determine whether documentation in the file warrants
7151            further action. With respect to such adverse information, if it does not appear
7152            that an investigation and/or adverse action at the time of reappointment is
7153            warranted, the Credentials Committee shall so inform the Executive
7154            Committee. However, if an investigation and/or adverse action at the time of



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7155             reappointment is warranted, the Credentials Committee shall so inform the
7156             Executive Committee.
7157
7158          15.8-4.4 No later than sixty (60) days following the Credentials Committee report
7159             to the Executive Committee on the member’s reappointment, the Executive
7160             Committee shall, except as provided in 6) below:
7161
7162                         15.8-4.4-a initiate a request for corrective action, based on such
7163                            adverse information and on the Credentials Committee
7164                            recommendation relating thereto, or
7165
7166                         15.8-4.4-b cause the substance of such adverse information to be
7167                            summarized and disclosed to the member.
7168
7169          15.8-4.5 The member shall have the right to respond thereto in writing, and the
7170             Executive Committee may elect to remove such adverse information on the
7171             basis of such response.
7172
7173          15.8-4.6 In the event that adverse information is not utilized as the basis for a
7174             request for corrective action, or disclosed to the members as provided herein,
7175             it shall be removed from the file and discarded, unless the Executive
7176             Committee, by a majority vote, determines that such information is required
7177             for continuing evaluation of the member’s:
7178
7179                         15.8-4.6-a character;
7180
7181                         15.8-4.6-b current competence; or
7182
7183                         15.8-4.6-c professional performance.
7184
7185   15.8-5 Confidentiality
7186
7187      The following applies to records of the Association and its departments, divisions and
7188      committees responsible for the evaluation and improvement of patient care:
7189
7190          15.8-5.1 The records of the Association and its departments and committees
7191             responsible for the evaluation and improvement of the quality of patient care
7192             rendered in the Medical Center shall be maintained as confidential. These
7193             records include, but are not limited to, the Association Credentials Files and
7194             the Peer Review Files.
7195
7196          15.8-5.2 Access to such records of the Association shall be limited to duly
7197             appointed officers and committees of the Association for the sole purpose of
7198             discharging Association responsibilities and subject to the requirement that
7199             confidentiality be maintained.
7200
7201                         15.8-5.2-a Access to information in a member’s Credentials File
7202                            shall be limited to:
7203
7204                                15.8-5.2-a.1 the chairperson(s) of the member’s assigned
7205                                   department and other departments in which the


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7206                                 member holds privileges; the President or his/her
7207                                 designee; the Credentials Committee; the Executive
7208                                 Committee; the Chair, Professional Performance
7209                                 Panel; and the Governing Body for the sole purpose of
7210                                 discharging Association responsibilities as determined
7211                                 by the President or the Executive Committee subject to
7212                                 the requirement that confidentiality shall be maintained,
7213
7214                             15.8-5.2-a.2 the particular member subject to the
7215                                provisions in Section 15.8-5.3, and
7216
7217                             15.8-5.2-a.3 other persons or entities as required by law.
7218
7219                      15.8-5.2-b Access to information in a member’s Peer Review
7220                         File(s) shall be limited to:
7221
7222                             15.8-5.2-b.1 the chairperson(s) of the member’s assigned
7223                                department and other departments in which the
7224                                member holds privileges; the President or his/her
7225                                designee; the Credentials Committee; the Executive
7226                                Committee; and the Chair, Professional Performance
7227                                Panel for the sole purpose of discharging Association
7228                                responsibilities as determined by the President or the
7229                                Executive Committee subject to the requirement that
7230                                confidentiality shall be maintained,
7231
7232                             15.8-5.2-b.2 the particular member subject to the
7233                                provisions in Section 15.8-5.3, and
7234
7235                             15.8-5.2-b.3 other persons or entities as required by law.
7236
7237        15.8-5.3 A member shall be granted access to his/her own Credentials File or
7238           Peer Review File(s), subject to the following provisions:
7239
7240                      15.8-5.3-a The member shall provide thirty (30) days prior written
7241                         notice to the President or designated officer.
7242
7243                      15.8-5.3-b The member may review, and receive a copy of, only
7244                         those documents provided by or addressed personally to the
7245                         member. In addition, the member may review his/her
7246                         statistical clinical activity profile, statistics provided by the
7247                         Quality Assessment Resource Management Department, and
7248                         medical record deficiency reports. A summary of all other
7249                         information, including, but not limited to, Association
7250                         committee findings, letters of reference, proctoring reports,
7251                         and complaints, shall be provided to the member, in writing, by
7252                         the designated officer of the Association within thirty (30) days
7253                         of the member’s written request. Such summary shall disclose
7254                         the substance, but not the source, of the information
7255                         summarized.
7256


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7257                      15.8-5.3-c The review by the member shall take place in the
7258                         Association Office during normal work hours with an
7259                         Association officer or his/her designee present.
7260
7261                      15.8-5.3-d In the event a notice of action or proposed action is
7262                         filed against a member, access to the member’s Credential
7263                         and Peer Review File(s) shall be governed by Section 7.5-1.
7264
7265        15.8-5.4 Information which is disclosed to the Governing Body or its appointed
7266           representatives—in order that the Governing Body may discharge its lawful
7267           obligations and responsibilities—shall be maintained by that body as
7268           confidential.
7269
7270                      15.8-5.4-a Routine Reporting by Association Leadership
7271
7272                          During the regular quarterly Joint Conference Committee
7273                          meetings as described in Section 11.4, there will be a verbal
7274                          report by the Association of its quality assessment and
7275                          improvement activities including peer review. The quarterly
7276                          report regarding the peer review process will include
7277                          aggregate information on the number of cases or events
7278                          reviewed broken down by department, the number of external
7279                          reviews conducted, conclusions from these reviews broken
7280                          down by categories, the number of practitioners for whom a
7281                          focused review or investigation was performed, and the
7282                          outcome of any such focused reviews or investigations
7283                          completed during the quarter.
7284
7285                      15.8-5.4-b Association Leadership Response to Inquiry by
7286                         Governing Body
7287
7288                          In the event the Governing Body should have concerns
7289                          whether the Association has failed to fulfill a substantive duty
7290                          or responsibility in matters pertaining to the quality of care in
7291                          peer review, the Governing Body shall send a request to the
7292                          President for information regarding the peer review activities
7293                          regarding a specific physician or event(s) identified.
7294
7295                          The President and/or his/her designee(s) shall meet with the
7296                          Governing Body to address the specific concerns, describe the
7297                          process involved in the peer review and respond to questions
7298                          regarding the process and outcome of peer review. This
7299                          meeting shall be held in closed session with the Governing
7300                          Body as a subcommittee of the Joint Conference Committee.
7301
7302                             15.8-5.4-b.1 The President shall report on such
7303                                procedural events as relevant and may include some
7304                                or all of the following:
7305
7306                                     15.8-5.4-b.1-a Complaints, event reports or
7307                                        surveillance screen triggers received;


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7308
7309                                  15.8-5.4-b.1-b Whether cases were reviewed;
7310
7311                                  15.8-5.4-b.1-c Whether ongoing professional
7312                                     practice evaluation, focused professional
7313                                     practice evaluation, investigation or any other
7314                                     review of a practitioner took place;
7315
7316                                  15.8-5.4-b.1-d Whether department, division or
7317                                     Executive Committee meetings considered the
7318                                     issues; and
7319
7320                                  15.8-5.4-b.1-e The description and outcome of the
7321                                     peer review process; e.g., written or verbal
7322                                     counseling, corrective actions done, policy
7323                                     changes enacted, etc.
7324
7325                          15.8-5.4-b.2 Questions by the Governing Body might
7326                             include:
7327
7328                                  15.8-5.4-b.2-a Whether certain facts were available
7329                                     to the reviewers;
7330
7331                                  15.8-5.4-b.2-b Whether certain events occurred,
7332                                     e.g., outside review of cases; and
7333
7334                                  15.8-5.4-b.2-c Whether certain procedures were
7335                                     followed, e.g., departmental review
7336
7337                          15.8-5.4-b.3 Such questions shall not require the
7338                             disclosure of peer review confidential information.
7339     .
7340                    15.8-5.4-c Concerns of Governing Body Regarding Peer Review
7341                       Activities
7342
7343                       In the event the review of the peer review process, including
7344                       after any follow-up meetings, does not resolve the question of
7345                       whether the Governing Body has reasonable concerns
7346                       regarding whether the Association has failed to fulfill a
7347                       substantive duty or responsibility in matters pertaining to the
7348                       quality of patient care in peer review, an independent review
7349                       shall be conducted.
7350
7351                       The Governing Body will convey in writing the failure to fulfill a
7352                       substantive duty or responsibility that is the subject for its
7353                       concern and the basis upon which this conclusion was formed.
7354                       These written concerns will be the bases for independent
7355                       review.
7356
7357                       The independent review shall be performed by an individual
7358                       acceptable to both the Governing Body and the Association


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7359                            and shall be a physician licensed to practice medicine in
7360                            California with expertise in peer review and, if appropriate, be
7361                            a specialist in the area of medicine related to the Governing
7362                            Body’s concern. The independent reviewer must qualify for
7363                            and be appointed to the Adhoc Staff of the Association prior to
7364                            performing the review. The reviewer shall have access to
7365                            Association Credentials and Peer Review Files.
7366
7367                            The reviewer shall report verbally to the Governing Body.
7368                            Specifically, the report shall be limited to a discussion of the
7369                            process, response to questions about the process and an
7370                            opinion as to whether the Association has either fulfilled or
7371                            failed to fulfill a substantive duty or responsibility in matters
7372                            pertaining to the quality of patient care in peer review. The
7373                            reviewer shall provide a similar report both verbally and in
7374                            writing to the Association which may also include identified
7375                            opportunities and recommendations to improve the peer
7376                            review process.
7377
7378                        15.8-5.4-d Actions By Governing Body When Association Fails to
7379                           Fulfill Substantive Duty Related to Peer Review
7380
7381                            If the independent reviewer concludes that the Association has
7382                            failed to fulfill a substantive duty or responsibility in matters
7383                            pertaining to the quality of patient care in peer review, the
7384                            Governing Body shall act in conformance with California
7385                            Business and Professions Code Sections 809.05(c) and
7386                            2282.5
7387
7388         15.8-5.5 Confidential information contained in the credentials file of any member
7389             may be disclosed with the member’s consent to any medical staff or professional
7390             licensing board. However, any disclosure outside of the Association shall require
7391             the authorization of the President.
7392
7393         15.8-5.6 Members of the secretarial support staff and the Medical Center’s
7394            Quality Assessment Resource Management Department who may have
7395            access to this information in performing their duties shall be informed of the
7396            confidential nature of the information and shall follow a procedure to assure
7397            their confidentiality.
7398
7399   15.8-6 Member’s Opportunity to Request Correction/Deletion of and to Make
7400      Addition to Information in His/Her Association Credentials File and Peer
7401      Review File(s)
7402
7403         15.8-6.1 After a member has received notification of the insertion of information
7404            in his/her Credentials File or Peer Review File(s) as provided in Section
7405            15.8-3.3, or has reviewed information in his/her Credentials File or Peer
7406            Review File(s) as provided in Section 15.8-5.3, he/she may address to the
7407            President a written request for correction or deletion of information in his/her
7408            file(s). Such request shall include a statement of the specific information
7409            concerned and the basis for the action requested.


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7410
7411          15.8-6.2 The President shall review such a request within thirty (30) days and
7412             shall recommend to the Executive Committee whether or not to make the
7413             correction or deletion requested. The Executive Committee, when so
7414             informed, shall either ratify or initiate action contrary to this recommendation
7415             by a majority vote.
7416
7417          15.8-6.3 The member shall be notified promptly, in writing, of the decision of the
7418             Executive Committee.
7419
7420          15.8-6.4 In any case, a member shall have the right to add to his/her Credentials
7421             File or Peer Review File(s), upon written request to the Executive Committee,
7422             a statement responding to any information contained in the File.
7423
7424   15.9 RETALIATION PROHIBITED
7425
7426   15.9-1 Prohibition
7427
7428      Neither the Association, its members, committees or department heads, the
7429      Governing Body, its Chief Administrative Officer, the Chief Medical Officer, Chief
7430      Executive Officer, Director or any other employee or agent of the Medical Center or
7431      Association, may engage in any punitive or retaliatory action against any member of
7432      the Association because that member claims a right or privilege afforded by, or
7433      seeks implementation of any provision of, these Association bylaws.
7434
7435   15.9-2 Public Policy for Advocacy
7436
7437      The Association recognizes and embraces that it is the public policy of the State of
7438      California that a physician and surgeon be encouraged to advocate for medically
7439      appropriate health care for his or her patients. To advocate for medically appropriate
7440      health care includes, but is not limited to, the ability of a physician to protest a decision,
7441      policy, or practice that the physician, consistent with that degree of learning and skill
7442      ordinarily possessed by reputable physicians practicing according to the applicable
7443      legal standard of care, reasonably believes impairs the physician’s ability to provide
7444      medically appropriate health care to his or her patients. No person, including, but not
7445      limited to, the Association, the Medical Center, its employees, agents, or members of the
7446      Governing Body, shall retaliate against or penalize any member for such advocacy or
7447      prohibit, restrict, or in any way discourage such advocacy, nor shall any person prohibit,
7448      restrict, or in any way discourage a member from communicating to a patient information
7449      in furtherance of medically appropriate health care.
7450
7451   15.9-3 Corrective Action Not Precluded
7452
7453      This Section 15.9 does not preclude corrective and/or disciplinary action as
7454      authorized by these Association bylaws.
7455
7456   15.10 CONFLICT MANAGEMENT
7457
7458   15.10-1 In the event of a conflict between the Executive Committee and the Association
7459      (as represented by written petition signed by at least thirty-three (33) percent of the
7460      voting members of the Association) regarding a proposed or adopted Rule, policy or


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7461      other issue of significance to the Association, the President shall convene a meeting
7462      with the petitioners’ representative(s). The foregoing petition shall include a
7463      designation of up to five voting members of the Association who shall serve as the
7464      petitioners’ representative(s). The Executive Committee shall be represented by an
7465      equal number of Executive Committee members. The Executive Committee’s and
7466      the petitioners’ representative(s) shall exchange information relevant to the conflict
7467      and shall work in good faith to resolve differences in a manner that respects the
7468      positions of the Association, the leadership responsibilities of the Executive
7469      Committee, and the safety and quality of patient care at the Medical Center.
7470      Resolution at this level requires a majority vote of the Executive Committee’s
7471      representatives at the meeting and a majority vote of the petitioner’s representatives.
7472      Unresolved differences shall be submitted to a vote of the Association, with at least a
7473      majority of voting members necessary to overrule the Executive Committee’s
7474      decision with respect to the proposed Rule, policy, or issue.
7475
7476   15.10-2 Except for matters involving access to peer review documents which is
7477      managed following the procedures described in Section 15.8-5.4, in the event of a
7478      dispute between the Association and the Governing Body relating to the independent
7479      rights of the Association, as further described in California Business & Professions
7480      Code Section 2282.5, the following procedures shall apply
7481
7482          15.10-2.1 Invoking the Dispute Resolution Process
7483
7484                        15.10-2.1-a The Executive Committee may invoke formal dispute
7485                           resolution, upon its own initiative, or upon written request of
7486                           twenty-five (25) percent of the voting members of the
7487                           Association.
7488
7489                        15.10-2.1-b In the event the Executive Committee declines to
7490                           invoke formal dispute resolution, such process shall be
7491                           invoked upon written petition of fifty (50) percent of the voting
7492                           members of the Association.
7493
7494          15.10-2.2 Dispute Resolution Forum
7495
7496                        15.10-2.2-a Ordinarily, the initial forum for dispute resolution shall
7497                           be the Joint Conference Committee, which shall meet and
7498                           confer as further described in Section 11.4.
7499
7500                        15.10-2.2-b However, upon request of at least two-thirds (2/3) of
7501                           the members of the Executive Committee, the meet and confer
7502                           will be conducted by a meeting of the full Executive Committee
7503                           and the full Governing Body. A neutral mediator acceptable to
7504                           both the Governing Body and the Executive Committee may
7505                           be engaged to further assist in dispute resolution upon request
7506                           of:
7507
7508                                15.10-2.2-b.1 At least a majority of the Executive
7509                                   Committee plus two (2) members of the Governing
7510                                   Body; or
7511


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7512                                 15.10-2.2-b.2 At least a majority of the Governing Body
7513                                    plus two (2) members of the Executive Committee.
7514
7515                         15.10-2.2-c The parties’ representatives shall convene as early as
7516                            possible, shall gather and share relevant information, and shall
7517                            work in good faith to manage and, if possible, resolve the
7518                            conflict. If the parties are unable to resolve the dispute, the
7519                            Governing Body shall make its final determination giving great
7520                            weight to the actions and recommendations of the Executive
7521                            Committee. Further, the Governing Body determination shall
7522                            not be arbitrary or capricious, and shall be in keeping with its
7523                            legal responsibilities to act to protect the quality of medical
7524                            care provided and the competency of the Association, and to
7525                            ensure the responsible governance of the Medical Center.
7526
7527
7528                                                ARTICLE XVI
7529
7530                                            FEES AND PROFITS
7531
7532   16.1   GENERAL RULES
7533
7534   Except as otherwise provided by County contract, no member of the Association shall
7535   bill, accept, or receive any fee or gratuity for any type of service rendered to any patient
7536   under the jurisdiction of the Medical Center, except as to those patients who are
7537   designated as private patients of that member upon admission, or where that member is
7538   called as a consultant for a private patient of another member.
7539
7540   16.2   DIVISION OF FEES
7541
7542   The practice of the division of fees under any guise whatsoever is forbidden, and any
7543   such division of fees shall be cause for expulsion or exclusion from the Association.
7544
7545   16.3   RESEARCH
7546
7547   No member of the Association shall receive any direct pecuniary gain from any patient or
7548   sources on behalf of any patient as a result of any research conducted in the Medical
7549   Center.
7550
7551
7552                                               ARTICLE XVII
7553
7554                                   INDEMNIFICATION AND INSURANCE
7555
7556   17.1   INDEMNIFICATION OF THE COUNTY
7557
7558   Notwithstanding any other provision of these bylaws, each practitioner (other than a
7559   practitioner who (1) provides health services to a patient at the Medical Center within the
7560   scope of his/her employment as a County Civil Service employee, whether classified or
7561   unclassified, (2) provides health services to a patient at the Medical Center within the
7562   scope of a contract which he/she has entered into with the County and which has been


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7563   approved by the Governing Body, or (3) provides health services to a patient at the
7564   Medical Center within the scope of a contract which has been entered into between a
7565   non-County entity and the County and which has been approved by the Governing
7566   Body) who renders services to and bills patients in the Medical Center shall indemnify,
7567   defend and hold harmless County, and its Special Districts, elected and appointed
7568   officers, employees, and agents from and against any and all liability, including, but not
7569   limited to, demands, claims, actions, fees, costs, and expenses (including attorney and
7570   expert witness fees), arising from or connected with practitioner’s acts and/or omissions
7571   arising from and/or relating to the services provided to such patients by such practitioner.
7572
7573   17.2   GENERAL INSURANCE REQUIREMENTS
7574
7575   Without limiting any such practitioner's indemnification of County, each such practitioner
7576   shall provide and maintain the programs of insurance specified in this Article XVII. Such
7577   insurance shall be primary to and not contributing with any other insurance or self-
7578   insurance programs maintained by County, and such coverage shall be provided and
7579   maintained at the practitioner’s own expense.
7580
7581   17.2-1 Evidence of Insurance
7582
7583      Certificate(s) or other evidence of coverage satisfactory to County shall be delivered
7584      to the Chief Medical Officer prior to any such practitioner rendering any services to
7585      any patient at the Medical Center. Such certificates or other evidence shall:
7586
7587          17.2-1.1 Specifically reference these bylaws;
7588
7589          17.2-1.2 Clearly evidence all required coverages;
7590
7591          17.2-1.3 Contain the express condition that County is to be given written notice
7592             by mail at least thirty (30) days in advance of cancellation for all policies
7593             evidenced on the certificate of insurance;
7594
7595          17.2-1.4 Include copies of the additional insured endorsement to the commercial
7596             general liability policy, adding the County of Los Angeles, its Special Districts,
7597             its officials, officers and employees as additional insureds for all activities
7598             arising from and/or relating to the services provided by the practitioner; and
7599
7600          17.2-1.5 Identify any deductibles or self-insured retentions for County’s approval.
7601             The County retains the right to require the practitioner to reduce or eliminate
7602             such deductibles or self-insured retentions as they apply to County or require
7603             the practitioner to provide a bond guaranteeing payment of all such retained
7604             losses and related costs including, but not limited to, expenses or fees, or
7605             both, related to investigations, claims administrations, and legal defense.
7606             Such bond shall be executed by a corporate surety licensed to transact
7607             business in the State of California.
7608
7609   17.2-2 Insurer Financial Ratings
7610
7611      Insurance shall be provided by an insurance company acceptable to the County with
7612      an A.M. Best rating of not less than A:VII, unless otherwise approved by County.
7613


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7614   17.2-3 Failure to Maintain Coverage
7615
7616      Any failure by any such practitioner to provide and maintain the required insurance,
7617      or to provide evidence of insurance coverage acceptable to County, shall constitute a
7618      material violation of these bylaws and shall result in the immediate and automatic
7619      suspension of the practitioner’s Association membership and clinical privileges as
7620      provided in Section 6.4-5. County, at its sole option, may obtain damages from the
7621      practitioner resulting from such breach.
7622
7623   17.2-4 Notification of Incidents, Claims or Suits
7624
7625      Each such practitioner shall notify the County, or its authorized claims
7626      representative, by Department of Health Services Event Notification Report of any
7627      occurrence of disease, illness, death, injury to persons or destruction of property, or
7628      any malpractice, error, or event that is potentially compensable (e.g., any adverse
7629      event related to hospitalization or treatment, any deviation from expected outcomes).
7630      If a claim is made or suit is brought against the practitioner and/or the County, the
7631      practitioner shall immediately forward to the County, or its authorized claims
7632      representative, copies of every demand, notice, summons or other process received
7633      by him/her or his/her representative. In addition, each such practitioner shall
7634      cooperate with and assist the County, or its authorized representatives, in
7635      accordance with County and Medical Center procedures.
7636
7637   17.2-5 Compensation for County Costs
7638
7639      In the event that any such practitioner fails to comply with any of the indemnification
7640      or insurance requirements of these bylaws, and such failure to comply results in any
7641      costs to County, the practitioner shall pay full compensation to County for all costs
7642      incurred by County.
7643
7644   17.3 INSURANCE COVERAGE REQUIREMENTS:
7645
7646   17.3-1 Workers’ Compensation and Employers’ Liability insurance providing workers’
7647      compensation benefits, as required by the Labor Code of the State of California or by
7648      any other state, and for which such practitioner is responsible. This insurance also
7649      shall include Employers’ Liability coverage with limits of not less than the following:
7650
7651      Each Accident:                     $1 million
7652      Disease - policy limit:            $1 million
7653      Disease - each employee:           $1 million
7654
7655   17.3-2 Professional Liability Insurance covering liability arising from any error, omission,
7656      negligent or wrongful act of the practitioner, its officers or employees with limits of not
7657      less than $1 million per occurrence and $3 million aggregate. The coverage also
7658      shall provide an extended two year reporting period commencing upon termination or
7659      cancellation of clinical privileges.
7660
7661                                                ARTICLE XVIII
7662
7663                                 CONFLICT OF INTERESTS IN RESEARCH
7664


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7665   Investigators at the Medical Center must avoid conflicts of interest with respect to their
7666   research. Claims of either fraud or conflicts of interest related to research shall be
7667   determined by the Office of Compliance of the Los Angeles Biomedical Research
7668   Institute at Harbor-UCLA (LABioMed) and the appropriate committee(s) of LABioMed.
7669   The President and the Chief Medical Officer shall be advised of all claims of fraud or
7670   conflict of interest and shall be apprised of the investigation and findings of the
7671   LABioMed determination.
7672
7673
7674                                                ARTICLE XIX
7675
7676                                        AMENDMENT OF BYLAWS
7677
7678   19.1 PROCEDURE
7679
7680   Upon the request of (1) the Executive Committee, (2) the President or (3) upon timely
7681   written petition signed by at least thirty percent (30%) of the Association members in
7682   good standing entitled to vote as described in Article III, consideration shall be given to
7683   the adoption, amendment or repeal of these Bylaws.
7684
7685   19.2 APPROVAL
7686
7687   These bylaws may be amended at any annual or special meeting of the Association,
7688   provided that notice of such business is sent to all members no later than ten (10) days
7689   before such meeting. The notice shall include the exact wording of the proposed
7690   amendment(s) and the time and place of the meeting. The wording may be sent in
7691   electronic form. To be adopted, an amendment shall require an affirmative majority vote
7692   of those present and eligible to vote, provided that a quorum exists as described in
7693   Section 12.5-1. Amendments shall be effective only if and when approved by the
7694   Governing Body, which approval shall not be withheld unreasonably. If approval is
7695   withheld, the reasons for doing so shall be specified by the Governing Body, in writing,
7696   and shall be forwarded to the President, the Executive Committee and the Bylaws
7697   Committee.
7698
7699   19.3 EXCLUSIVITY
7700
7701   The mechanism described herein shall be the sole method for the initiation, adoption,
7702   amendment, or repeal of the Association bylaws.
7703
7704   19.4    EFFECT OF THE BYLAWS
7705
7706   19.4-1 Contractual Relationship
7707
7708      Upon adoption and approval as provided in this Article XIX, in consideration of the
7709      mutual promises and agreements contained in these bylaws, the Medical Center and
7710      the Association, intending to be legally bound, agree that these bylaws shall
7711      constitute part of the contractual relationship existing between the Medical Center
7712      and the Association members, both individually and collectively.
7713
7714   19.4-2 Prohibition Against Unilateral Amendment
7715


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7716      These bylaws may not be unilaterally amended or repealed by the Association or the
7717      Governing Body.
7718
7719      No Association governing document and no Medical Center corporate bylaws or other
7720      Medical Center governing document shall include any provision purporting to allow
7721      unilateral amendment of the Association bylaws or other Association governing
7722      document.
7723
7724   19.4-3 Conflicting Governing Body or Medical Center Bylaws or Policies
7725
7726      Medical Center corporate bylaws, policy, rules, or other Medical Center requirements
7727      that conflict with Association bylaw provisions, rules, regulations and/or policies and
7728      procedures, shall not be given effect and shall not be applied to the Association or its
7729      individual members
7730
7731   19.5   SUCCESSOR IN INTEREST
7732
7733   19.5-1 Successor in Interest
7734
7735      These bylaws, and privileges of individual members of the Association accorded
7736      under these bylaws, will be binding upon the Association and the Governing Body of
7737      any successor in interest in this Medical Center, except where hospital medical staffs
7738      are being combined. In the event that the staffs are being combined, the medical
7739      staffs shall work together to develop new bylaws which will govern the combined
7740      medical staffs, subject to the approval of the Governing Body or its successor in
7741      interest. Until such time as the new bylaws are approved, the existing bylaws of each
7742      institution will remain in effect.
7743
7744   19.5-2 Affiliations
7745
7746      Affiliations between the Medical Center and other hospitals, health care systems or
7747      other entities shall not, in and of themselves, affect these bylaws.
7748
7749   19.6   CONSTRUCTION OF TERMS AND HEADINGS
7750
7751   The captions or headings in these bylaws are for convenience only and are not intended
7752   to limit or define the scope of or affect any of the substantive provisions of these bylaws.
7753   These bylaws apply with equal force to both genders wherever either term is used.




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